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1                            UNITED STATES DISTRICT COURT

2                     FOR THE EASTERN DISTRICT OF CALIF<2,._RNIA                                      __

3                                                                      ~ FILED-~--
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     Stanley Zhong, Nan Zhong and
                                                                               FEB 11 2025
     SWORD (Students Who Oppose
     Racial Discrimination),                                                                          "
                            Plaintiffs,

     V.

     The Regents of the University of
     California, in their official capacity as
     the governing body of the University of
     California; Michael V. Drake, in their
     official capacity as President of the
     University of California; Katherine S.            COMPLAINT
     Newman, in their official capacity as
     Provost and Executive Vice President
     of Academic Affairs of the University of
                                                       JURY TRIAL DEMANDED
     California; Han Mi Yoon-Wu,
     individually and in their official capacity
     as Associate Vice Provost and
     Executive Director of Undergraduate
     Admissions of the University of
     California; Erwin Chemerinsky,
     individually and in their official capacity
     as Dean of the Law School of the
     University of California at Berkeley;
     The University of California at
     Davis; Robert Penman, in their official
     capacity as Executive Director of
     Undergraduate Admissions of the
     University of California at Davis; Dipak
     Ghosal, in their official capacity as
     Chair of the Department of Computer
     Science of the University of California
     at Davis; The University of California
     at Berkeley; Olufemi Ogundele, in



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 their official capacity as Director of
 Undergraduate Admissions of the
 University of California at Berkeley;
 Claire J. Tomlin, in their official
 capacity as Chair of the Department of
 Computer Science of the University of
 California at Berkeley; The University
 of California at Santa Barbara; Lisa
 Przekop, in their official capacity as
 Executive Director of Admissions of the
 University of California at Santa
 Barbara; Divyakant Agrawal, in their
 official capacity as Chair of the
 Department of Computer Science of
 the University of California at Santa
 Barbara; The University of California
 at Los Angeles; Gary Clark, in their
 official capacity as Director of
 Undergraduate Admissions of the
 University of California at Los Angeles;
 Todd Millstein, in their official capacity
 as Chair of the Department of
 Computer Science of the University of
 California at Los Angeles; The
 University of California at San
 Diego; Blia Yang, in their official
 capacity as Executive Director of
 Undergraduate Admissions of the
 University of California at San Diego;
 Sorin Lerner, in their official capacity
 as Chair of the Department of
 Computer Science of the University of
 California at San Diego; Other
 persons Does 1-10 acting in concert
 with those named above; The U.S.
 Department of Education,

                        Defendants.




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 1         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND

 2                                          DAMAGES


 3 I. INTRODUCTION



 4       1. Plaintiffs Stanley Zhong ("Stanley"), Nan Zhong ("Nan"), and Students

 5          Who Oppose Racial Discrimination ("SWORD"), represented by Nan

 6          Zhong on behalf of its members and all others similarly situated,

 7          collectively referred to as "Plaintiffs," bring this civil rights action against

 8          the University of California ("UC") and the named UC officials (collectively,

 9          "Co-Defendant UC") for engaging in racially discriminatory admissions

10          practices that disadvantage highly qualified Asian-American applicants,

11          including Stanley and members of SWORD.


12      2. Despite Stanley's exceptional academic achievements and remarkable

13          professional accomplishments at a young age, his applications to

14          undergraduate programs at five University of California campuses were

15          either rejected or waitlisted. These results stand in stark contrast to his

16          receipt of a full-time job offer from Google for a position requiring a Ph.D.

17          degree or equivalent practical experience.


18      3. Stanley's experience is emblematic of a broader pattern of racial

19          discrimination against highly qualified Asian-American applicants at UC.

20          These admissions practices violate the Fourteenth Amendment to the

21          United States Constitution, Title VI of the Civil Rights Act of 1964, and the




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 1          California Constitution's prohibition on racial discrimination in public

 2          education.


 3      4. Plaintiffs also assert claims against the U.S. Department of Education

 4          ("ED"), named herein as a Co-Defendant ("Co-Defendant ED"),

 s          challenging the use of numeric racial targets in its federal grant programs,

 6          which not only violates the Fifth Amendment but also incentivizes

 1          violations of the Fourteenth Amendment and Title VI of the Civil Rights Act

 a          of 1964.


 9      5. Plaintiffs further assert claims against Co-Defendant ED for its failure to

10          properly investigate and address UC's racially discriminatory practices, in

11          violation of the Administrative Procedure Act (APA).


12 II. JURISDICTION AND VENUE



13      6. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331,

14          as this action arises under the Constitution and laws of the United States,

1s          including Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d.


16      7. Venue is proper in this district under 28 U.S.C. § 1391(b) because a

11          substantial part of the events or omissions giving rise to the claim

1s          occurred in this district.




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 1 Ill. PARTIES



 2      A. Plaintiffs


 a      A 1. Co-plaintiff Stanley Zhong


 4       8. Co-plaintiff Stanley Zhong, born in 2005, is an Asian-American residing in

 s          California. Stanley's parents are first-generation immigrants to the United

 6          States from China. Stanley Zhong is a US citizen.


 1       9. As a self-taught programmer, Stanley has distinguished himself in various

 s          coding contests, ranking highly enough to receive an invitation from

 9          Google for a full-time job interview in 2019, without Google realizing he

10          was only 13 years old. Upon disclosure of his age, the interview was

11          canceled due to Google's policy against hiring minors (See Exhibit 1 for

12          email exchanges with a Google recruiter).


1a       10. Competing against top professionals from around the world, Stanley

14          advanced to the Google Code Jam Coding Contest semi-final in 2021

1s          (See Exhibit 2).


16       11. Competing against top professionals from around the world, Stanley

11          advanced to the Meta (Facebook) Hacker Cup semi-final in 2023 (See

1s          Exhibit 3).


19       12.Stanley won the 2nd place in MIT (Massachusetts Institute of Technology)

20          Battlecode's global high school division twice (2nd place and 1st place in




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 1          the US, respectively) (See Exhibit 4). He was invited to MIT with expenses

 2          paid.


 3       13. Stanley won the 2nd Place in CMU (Carnegie Mellon University)

 4          cybersecurity competition picoCTF (See Exhibit 5). He was invited to CMU

 s          with expenses paid.


 6       14. Stanley won the 6th place in Stanford Proco (See Exhibit 6).


 1       15. Stanley advanced to the USA Computing Olympiad (USACO) Platinum

 a          Division (See Exhibit 7).


 9       16. In April 2020, after seeing an NPR news story that the unemployment

10          office's system programmed in COBOL was not keeping up with the

11          workload caused by COVID (See Exhibit 8), Stanley taught himself

12          COBOL, sent his sample code on GitHub (See Exhibit 9) to COBOL

13          Cowboys featured in the news story, and volunteered to help. Mr. Bill

14          Hinshaw, COBOL Cowboys CEO, graciously called Stanley and offered

1s          encouraging words (although he did mention putting a 14-year-old in front

16          of his clients would probably freak them out). (See Exhibit 1O for the email

11          exchange with Mr. Bill Hinshaw to set up the call.)


1s      17.After the attempt to volunteer for COBOL Cowboys fell through, Stanley

19          saw news reports about surging demand fore-signing services caused by

20          the COVID lockdown. Stanley was unhappy that DocuSign didn't provide




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 1           any relief. So, he launched an unlimited free e-signing service named

 2           RabbitSign in 2021 (See Exhibit 11).


 3       18. Built on Amazon Web Services (AWS), RabbitSign was designed and

 4           implemented so well that AWS's Well-Architected Review concluded that it

 s          was "one of the most efficient and secure accounts" they'd ever reviewed

 6          (See Exhibit 12).


 1       19. To showcase RabbitSign's exemplary use of AWS Serverless and

 a          compliance services, AWS decided to feature it in a case study-a

 9          prestigious recognition that is notoriously difficult to attain, even for

10          seasoned professionals (See Exhibit 13).


11       20. Shortly before Stanley turned 18, five randomly selected full-time Google

12          engineers, who were specifically trained and qualified to evaluate

13          candidates, devoted no less than ten hours collectively to evaluating

14          Stanley's skills, including his technical expertise and soft skills, such as

1s          teamwork. Based solely on their assessments, without any external

16          influence, these Google engineers concluded that Google should hire

11          Stanley for an L4 position, which requires a Ph.D. degree or equivalent

1a          practical experience. Consequently, Google made an offer for a full-time

19          L4 position to Stanley in September 2023, shortly after Stanley turned 18

20          (See Exhibit 14).




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 1       21. Google's compensation structure is tied to the level of its employees'

 2          positions, creating a natural disincentive to over-assess an employee's

 a          qualifications.


 4       22. In January 2025, Stanley received his performance evaluation as a

 s          Google employee for the entirety of 2024, with a rating and manager

 6          assessment indicating that he fully met the expectations for his position at

 1          Google and demonstrated a strong growth trajectory.


 s      23. Because of his groundbreaking work to provide the world's only unlimited

 9          free HIPAA-compliant e-signing service to help lower America's healthcare

10          cost, Stanley received an inbound interview request from Viewpoint with

11          Dennis Quaid, a series of short documentaries on innovations aired on

12          CNBC, Fox Business, Bloomberg, and public TV stations across the US.

1a          Their past guests included President George H.W. Bush, Secretary Colin

14          Powell, and Fortune 500 CEOs. (See Exhibit 15 for the industry news

1s          coverage for RabbitSign's free HIPAA-compliant e-signing. See Exhibit 16

16          for the episode of Viewpoint with Dennis Quaid featuring RabbitSign and

11          Stanley.)


1s      24. Stanley's high school grade point average was 3.97 (unweighted) and

19          4.42 (weighted) (See Exhibit 17).


20      25.Although Stanley's high school does not publish individual student

21          rankings based on grade point average, he is confirmed to be within the

22          top 9% of his class, as he qualified for the UC's "Eligibility in the Local



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 1           Context" (ELC). (See Exhibit 18 for Stanley's ELC qualification.) ELC

 2          guarantees admission to a UC campus for California high school students

 3          who rank in the top 9% of their class, as determined by their GPA in

 4          UC-approved coursework completed in the 10th and 11th grades.


 s       26. Stanley also satisfied UC's A-G subject requirements. In fact, UC Merced

 6          offered him admission even though he did not apply, as UC policy requires

 1          admitting students who qualify for ELC to at least one of its campuses.


 a      27. U.S. News and World Report ranks Stanley's high school (Henry Gunn

 9          High School) #14 in California and #135 nationally (See Exhibit 19).


10       28. Niche ranks Stanley's high school (Henry Gunn High School) #1 best

11          public high school in San Francisco Bay Area and #4 best public high

12          school in California (See Exhibit 20).


13      29. Stanley achieved a maximum PSAT score without any preparation (See

14          Exhibit 21 ).


1s      30.Stanley scored 1590 (out of 1600) on the SAT with only a few nights of

16          self study without any paid test prep (See Exhibit 21 as well). He took the

11          SAT only once.


1a      31. Stanley was a National Merit Scholarship finalist (See Exhibit 22).


19      32. While in high school, Stanley participated in and led numerous

20          extracurricular and volunteer activities.




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 1       33. Stanley served as a founding officer and president of the competitive

 2           programming club at his high school (See Exhibit 23).


 3       34. Stanley co-founded and served as the 2nd president of a nonprofit named

 4           OpenBrackets, which brought free coding lessons to 500+ kids in

 s           underserved communities in California, Washington, and Texas over 2

 6          years (See Exhibit 24). It received positive feedback from Stackoverflow

 1          co-founder, Mr. Jeff Atwood.


 a       35. Because of his work at OpenBrackets, Stanley received the highest level

 9          of the President's Volunteer Service Award (See Exhibit 25).


10       36. Stanley's college application essay was pretty much captured in the

11          Viewpoint interview mentioned supra. It discussed why he created

12          RabbitSign, how he overcame rejections to eventually find a partner to

13          provide free HIPAA-compliant e-signing to help lower America's healthcare

14          cost, and how RabbitSign is the first Activism Corporation created to

1s          counter corporate greed.


16       37. For enrollment in fall 2023, Stanley applied to the undergraduate

11          Computer Science programs at five UC campuses, namely the University

1a          of California at Davis, the University of California at Berkeley, the

19          University of California at Santa Barbara, the University of California at

20          Los Angeles, and the University of California at San Diego.




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 1       38. Stanley's applications to all five UC campuses were either rejected or

 2          waitlisted.


 3       39. In direct connection with UC's rejection of his applications, Stanley Zhong

 4          suffered emotional distress.


 s      40. Stanley's story was reported in national news in October 2023 (See

 6          Exhibit 26) and cited in a congressional hearing in September 2023 (See

 1          Exhibit 27).


 s      41. After Stanley's story hit the news in October 2023, multiple college

 9          admission counselors examined his application, including his essay. None

10          of them could figure out a legitimate reason why Stanley was rejected.

11          Some of them offered to serve as expert witnesses in a trial.


12      42. Stanley was denied the opportunity to compete for admission to UC on

13          equal footing with other applicants on the basis of race or ethnicity due to

14          UC's discriminatory admissions policies and practices.


1s      43. Stanley is ready, able and intends to apply to UC when it ceases its

16          intentional discrimination against Asian-Americans.


11      44. Stanley, Nan and SWORD reached out to multiple legal resources and

1s          entities for representation. However, these entities either declined to take

19          the case or failed to respond. Consequently, Stanley is compelled to

20          represent himself as a prose litigant.




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 1      A2. Co-plaintiff Nan Zhong


 2       45. Co-plaintiff, Nan Zhong, an Asian-American resident of California, is

 3           Stanley Zhong's father.


 4       46. A first-generation immigrant from China, Nan has a direct and personal

 s          stake in this matter due to the discriminatory practices of UC's admissions

 6          process.


 1      47. The 2024 decision of the Second Circuit Court of Appeals in Chinese

 a          American Citizens Alliance of Greater New York (CACAGNY) v. Adams,

 9           116 F.4th 161, affirms that an "equal protection claim can be asserted by

10          individuals alleging they suffered harm from the discriminatory policy or

11          law, as well as other individuals (such as a parent or guardian) or

12          organizations that also have standing to sue."


13      48. Nan suffered financial loss as a result of UC's rejection of Stanley's

14          applications, necessitating preparations to bear the significantly higher

1s          costs of out-of-state tuition at alternative institutions. Additionally, the

16          rejection caused him emotional distress. These harms, directly tied to

11          UC's discriminatory policies, establish his standing to bring this claim.


1s      49. Nan's children intend to apply for admission to UC but will be denied the

19          opportunity to compete on equal footing with other applicants due to UC's

20          discriminatory admissions policies. As a result, they may face rejection

21          based on race or ethnicity rather than merit. Additionally, Nan may be




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 1          forced to pay higher out-of-state tuition should his children need to attend

 2          college elsewhere. These personal impacts further establish Nan's

 3          standing to bring this claim.


 4      50. Beyond personal impact, Nan is acutely aware of the chilling effect that

 s          Asian-American students face when asserting their legal rights in college

 6          admissions. Public hostility toward such efforts is well-documented,

 1          particularly on college campuses.


 a      51. For example, during the SFFA v. Harvard trial, widespread protests

 9          erupted against SFFA's challenge to race-conscious admissions (See

10          Exhibit 28). Even after the Supreme Court ruled against Harvard,

11          then-president Claudine Gay responded with open defiance, stating, "We

12          will comply with the court's decision. But it doesn't change our values."

13          (See Exhibit 29.) While the first half of her statement reflects legal

14          necessity, the latter half unmistakably signals defiance. Notably, following

1s          the Supreme Court's ruling in SFFA, not a single Harvard administrator

16          apologized for the harm their policies inflicted on Asian-American

11          applicants.


1s      52. Academics such as Professor Janelle Wong and Professor Viet Thanh

19          Nguyen publicly asserted that no Asian-American had suffered

20          discrimination in the college admissions process, misleading the public

21          with statements like, "Not a single Asian-American student has testified

22          that they faced discrimination in the high-profile Harvard case." (See




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 1           Exhibit 30.) Such assertions are demonstrably inaccurate and serve to

 2           suppress legitimate grievances. On November 4, 2024, Nan challenged

 3           both Professor Janelle Wong and Professor Viet Thanh Nguyen to a public

 4           debate. Neither replied as of the filing of this lawsuit.


 s       53. This hostile climate has a direct, suppressive effect on potential plaintiffs.

 6           Many Asian-American applicants rejected by UC initially expressed

 1           interest in joining SWORD's lawsuit. However, after spending just a few

 s           months on college campuses as freshmen, most withdrew.


 9       54. A particularly striking example occurred at a panel discussion following a

10           screening of the MSNBC documentary Admission Granted in San

11           Francisco on May 9, 2024. The reaction of the audience, a few hundred

12           people strong, vividly illustrated this bias. When the moderator introduced

13          a Harvard student advocating for race-conscious admissions, the room

14          erupted in thunderous applause and cheers. In contrast, the

1s          Asian-American student whose case launched the SFFA lawsuit received

16          only sparse clapping-approximately a quarter of which likely came from

11          Nan alone.


1s       55. This pervasive social hostility-manifesting in microaggressions and overt

19          hostility-creates a profound chilling effect that discourages

20          Asian-American students from challenging discriminatory policies,

21          effectively silencing those who have been harmed. It is therefore

22          reasonable to infer that numerous Asian-American applicants, either




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 1          already harmed by UC's admissions practices or anticipating future

 2          discrimination, remain silent due to legitimate concerns about retaliation.

 a          Under the chilling effects doctrine, which recognizes that individuals may

 4          refrain from asserting their rights due to fear of reprisal, Nan's standing to

 s          sue is further reinforced.


 6       56. Stanley, Nan and SWORD reached out to multiple legal resources and

 1          entities for representation. However, these entities either declined to take

 a          the case or failed to respond. Consequently, Nan is compelled to

 9          represent himself as a pro se litigant.


10      A3. Co-plaintiff Students Who Oppose Racial Discrimination (SWORD)


11      57. Co-plaintiff, Students Who Oppose Racial Discrimination ("SWORD"), is a

12          voluntary membership organization focused on stopping racial

13          discrimination in college admissions through litigations. It was established

14          in October 2024 by people harmed and outraged by flagrant racial

1s          discrimination in college admissions.


16      58. SWORD is a coalition comprising prospective applicants to higher

11          education institutions, individuals who were denied admission, their

1a          parents, and supporters of the organization's mission to eliminate racial

19          discrimination in higher education admissions.


20      59. Nan Zhong is the President of SWORD.


21      60. SWORD's website is https://sword.education.



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 1       61. SWORD has at least one Asian-American member who applied for and

 2           was denied admission to UC in recent years.


 3       62. SWORD has at least one Asian-American member who is currently in high

 4           school and intends to apply for admission to UC ("Future Applicants").


 s       63. Future Applicants will be denied the opportunity to compete for admission

 6          to UC on equal footing with other applicants on the basis of race or

 1          ethnicity due to UC's discriminatory admissions policies. As a result,

 s           Future Applicants may be denied admission to UC because of these

 9          discriminatory policies and practices.


10       64. SWORD has at least one Asian-American member whose children either

11          intend to apply for admission to UC or applied for but were denied

12          admission to UC in recent years ("Parents").


13       65. Parents' children were or will be denied the opportunity to compete for

14          admission to UC on equal footing with other applicants on the basis of

1s          race or ethnicity due to UC's discriminatory admissions policies. As a

16          result, Parents' children were or may be denied admission to UC because

11          of these discriminatory policies and practices. Consequently, Parents in

1s          California were or may be forced to pay higher out-of-state tuition for their

19          children.


20      66. Under Hunt v. Washington State Apple Advertising Commission, 432 U.S.

21          333 (1977), SWORD qualifies for associational standing because 1)




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 1          SWORD has members who have standing to sue UC themselves, 2) this

 2          lawsuit is germane to SWORD's purpose, and 3) neither the claim

 3          asserted nor the relief requested requires the participation of individual

 4          members in the lawsuit.


 s      67. Stanley is not a member of SWORD.


 6      68. The emotional toll experienced by Stanley and financial loss experienced

 1          by Nan exemplify the broader emotional and economic harms associated

 a          with racially discriminatory admissions practices by UC. Such policies do

 9          not merely affect statistical representation; they impose real-world

10          consequences on a large group of individual applicants.


11      69. Stanley, Nan and SWORD reached out to multiple legal resources and

12          entities for representation. However, these entities either declined to take

13          the case or failed to respond. Consequently, as President of SWORD, Nan

14          is compelled to represent the organization as a prose litigant.


1s      B. Defendants


16      70. Co-Defendant UC is a public university system in the State of California,

11          subject to Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et.

1a          seq.


19      71. Co-Defendant ED administers federal grant programs that involve

20          race-based criteria and policies. Co-Defendant ED's OCR (Office of Civil

21          Rights) is responsible for enforcing federal anti-discrimination laws at UC.



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 1 IV. FACTUAL ALLEGATIONS



 2      A. Asian Applicants Receiving Discriminatory Results Again and Again


 3       72. In 2023, Stanley applied to five UC campuses. Despite his extraordinary

 4          qualifications, he was rejected or waitlisted by all five campuses. These

 s          outcomes defy common sense and contradict expert assessments of his

 6          application. As the Supreme Court noted in Miller v. Johnson, 515 U.S.

 1          900,901 (1995), "bizarreness" can serve as "persuasive circumstantial

 s          evidence that race for its own sake ... was a legislature's dominant and

 9          controlling rationale." Similarly, the stark disparity between Stanley's

10          qualifications and the UC campuses' admissions decisions raises serious

11          concerns about the role of race in UC's admissions process. This striking

12          incongruity strongly suggests that UC's admissions policies are being

13          applied in a discriminatory fashion.


14      73. Plaintiffs believe and allege that Stanley's rejection from these UC

1s          campuses was not based on his qualifications but on his race, as an

16          Asian-American.


11      74. This belief is supported by a pattern of similar rejections experienced by

1s          other Asian-American applicants with outstanding qualifications.


19      B. Widespread Culture of Anti-Asian Discrimination at Elite Universities


20      75. UC has a documented history of discrimination against Asian-Americans.

21          After the state audit in 1987 (See Exhibit 31), UC Berkeley Chancellor Ira



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 1          Michael Heyman publicly apologized in 1989 for admissions policies that

 2          led to a decline in Asian-American undergraduate enrollment (See Exhibit

 3          32).


 4       76. On September 22, 2016, Inside Higher Education released a survey of

 s          admission officers. It revealed 42% of admission officers from private

 6          colleges and 39% of admission officers from public colleges believe that

 1          colleges hold Asian-American applicants to a higher standard (See Exhibit

 8          33).


 9      77. On May 25, 2016, Dr. Michele Hernandez, former Dartmouth admission

10          officer, revealed on Huffington Post "how even the so-called 'holistic

11          process' can discriminate against Asian students" and how Ivy League

12          college admission officers often use racial stereotypes to discriminate

13          against Asian-American applicants (See Exhibit 34).


14      78. Harvard openly gave preferential treatment to some racial groups at the

1s          expense of Asian-American applicants until its practice was ruled illegal by

16          the Supreme Court in SFFA v. Harvard in 2023. Notably, following the

11          Supreme Court's ruling in SFFA, not a single Harvard administrator

1s          apologized for the harm their policies inflicted on Asian-American

19          applicants.


20      79.As documented in the SFFA's legal complaint against Harvard (page 60),

21          Asian-American applicants and their families know that they are being

22          discriminated against by elite universities (See Exhibit 35).



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 1      80. As documented in the SFFA's legal complaint against Harvard (page 57),

 2          college counselors acknowledge discrimination against Asian-Americans

 3          at elite universities (See Exhibit 36).


 4      81. It is well documented that many Asian-American applicants attempt to

 s          appear "less Asian" on their college applications to avoid potential bias

 6          (See Exhibit 37).


 1      82. Admission officers at elite universities have described Asian-American

 s          applicants using derogatory racial stereotypes, such as labeling them as

 9          "yet another textureless math grind" (See Exhibit 39).


10      83. Evidence also shows that elite universities were aware of discriminatory

11          practices but often ignored or denied the issue until confronted with legal

12          challenges. For instance, in 2006, Jian Li, an Asian-American applicant,

13          filed a formal complaint against Princeton University for racial

14          discrimination in admissions. Following this action, Princeton's admission

1s          rate for Asian-American students rose from 14.7% in 2007 to 25.4% in

16          2014 (See Exhibit 38). Similarly, after SFFA sued Harvard in 2015, the

11          percentage of Asian-American admits increased from 17% in 2014 to 22%

1s          in 2016 (See Exhibit 38 as well).


19      84. These patterns demonstrate a troubling reality: institutions were capable

20          of increasing Asian-American enrollment without changing applicant

21          qualifications, suggesting prior suppression of Asian admissions through

22          discriminatory policies. This raises serious legal concerns about UC's own



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 1          admissions practices, especially given its pursuit of numeric racial targets

 2           (See infra). Legal scrutiny is warranted to uncover the extent of UC's

 3          awareness of and complicity in similar practices that have disadvantaged

 4          highly qualified Asian-American applicants.


 s      C. Documented Instances of Race-based Discrimination in UC's

 6 Admissions and Hiring



 1       85. Compiling his Pulitzer Prize-winning reporting into a book titled The Price

 a          of Admission, Daniel Golden documented multiple highly qualified Asian

 9          applicants rejected by UC. For example, UCLA and UC Berkeley rejected

10          Stanley Park, a Korean American student who faced serious adversity

11          (single immigrant parent with cancer and no college degree), while

12          accepting non-Asian students with SAT scores 520 points lower. (See

13          Exhibit 39 for the relevant excerpt from The Price of Admission.)


14       86. In 2003, Mr. John Moores, then chairman of the UC Board of Regents,

1s          accused UC's flagship campus of "blatantly" discriminating against

16          Asian-Americans (See Exhibit 40).


11       87. Following the implementation of a holistic review system, UCLA prohibited

1s          faculty members on its Admissions Committee from accessing admissions

19          data. In response, Professor Tim Groseclose invoked whistleblower

20          protections and resigned from UCLA in protest (See Exhibit 41). In

21          Cheating: An Insider's Report on the Use of Race in Admissions at UCLA,

22          Professor Groseclose described how then-UCLA Chancellor Norm



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 1           Abrams explicitly cited raising African American enrollment as the

 2           motivation behind adopting holistic admissions. In addition, Professor

 3           Groseclose's statistical analysis showed that, for a group of applicants

 4           receiving the same scores from their initial readers, UCL.A admitted 55%

 s           poor African Americans, 38% rich African Americans, 23% poor North

 6          Asians and 18% rich North Asians. Note that rich African Americans were

 1          admitted much more frequently than poor North Asians. UC never

 a          disputed the accuracy of Professor Groseclose's account. (See Exhibit 42

 9          for excerpts from Professor Tim Groseclose's book Cheating.)


10       88.Around 2018, UC refused to fulfill public records requests and litigated

11          against a lawsuit that sought access to its admissions data for research

12          purposes (See Exhibit 43). This was despite having provided similar data

13          in 2008. UC's actions are part of the persistent pattern of concealing

14          admissions data from 3rd-party examinations. The public needs to know

1s          why the UC goes to such extraordinary lengths to hide their admissions

16          data.


11       89. UC insists on implementing both "holistic reviews" and a "test-blind"

1a          admissions policy. However, this position is inherently contradictory. A

19          review cannot be truly holistic if it deliberately excludes objective

20          measures like standardized tests, especially for STEM applicants where

21          such metrics are crucial for assessing academic preparedness. According

22          to the UC Regents' Bylaws, the Academic Senate holds the authority to

23          "set the conditions of admissions." In 2020, the UC Academic Senate



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 1           overwhelmingly voted 51-0, with one abstention, to retain standardized

 2          tests such as the SAT (See Exhibit 44}. Despite this overwhelming

 3          endorsement amid growing applicant pools and widespread grade

 4           inflation, the UC Board of Regents, composed primarily of political

 s          appointees, overruled the recommendation (See Exhibit 45}, raising

 6          significant concerns about their underlying motivations. Although UC

 1          claimed in 2020 that it would develop a "new test," no such test was ever

 a          created, resulting in the complete elimination of standardized testing from

 9          the admissions process. This decision appears to be a calculated move to

10          compromise intellectual honesty and academic integrity, potentially

11          facilitating the concealment of discriminatory practices against

12          Asian-American applicants. Notably, leading institutions like MIT,

13          Dartmouth, Yale, Brown, Harvard, Caltech, Cornell, and the University of

14          Texas at Austin have reinstated standardized testing, further highlighting

1s          the questionable nature of UC's continued "test-blind" policy post-COVID.

16          The UC is increasingly isolated in its stance as an "SAT Denier", where

11          they avoid releasing objective data by refusing to collect it in the first

1a          place. These circumstances necessitate legal scrutiny of UC's policy, its

19          underlying motivations, its disparate impact on Asian-American applicants,

20          and whether UC continues to merit the traditional judicial deference

21          granted to bona fide academic institutions.


22      90. UC San Diego employs a point-based system for admissions to selective

23          majors for continuing students, assigning one point for each of the




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 1          following four criteria: a 3.0 GPA or higher in major screening courses,

 2          California residency, Pell Grant eligibility, and first-generation college

 3          status (See Exhibit 46). Assuming all applicants are California residents,

 4          under this point-based system, a middle-class applicant with a 4.0 GPA

 s          can earn a maximum of only two points. In contrast, an applicant from a

 6          poor family may earn three points even with a 1.0 GPA. This policy

 1          exemplifies UC's decision-making that weighs students' immutable

 a          characteristics far more than academic criteria. When used excessively as

 9          overriding criteria, these immutable characteristics can act as proxies for

10          race, resulting in disparate impacts on Asian-American applicants by

11          "insulat(ing) applicants who belong to certain racial or ethnic groups from

12          the competition for admission." Grutter, 539 U.S. at 334 (citation omitted).

13          This put further doubt on whether UC continues to merit the traditional

14          judicial deference granted to bona fide academic institutions.


1s      91.Admissions and hiring are inherently interconnected and inseparable in

16          the context of racial discrimination within educational institutions. Faculty

11          and administrators play a pivotal role in shaping academic standards,

1a          mentoring students, and influencing the culture and policies of a university,

19          including admissions criteria and practices. A racially biased hiring

20          process can create and perpetuate a discriminatory culture by fostering an

21          environment where certain racial perspectives are prioritized over

22          objective, merit-based considerations. Racially-motivated hiring policies

23          often have a direct ripple effect on student admissions. It is unrealistic and




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 1          unreasonable to assume that a university can operate one process in a

 2          race-conscious manner while keeping the other race-neutral, as both are

 a          fundamentally linked in their goals and execution. Therefore, examining

 4          both admissions and hiring practices is essential to providing a holistic

 s          assessment of whether a university's policies violate constitutional and

 6          statutory protections against racial discrimination.


 1      92. In a public talk to a large audience, Professor Erwin Chemerinsky, the

 s          Dean of UC Berkeley Law School, admitted that his school systematically

 9          considers race in its internal decision-making and actively conceals this

10          practice (See Exhibit 47). As evidenced in the video, when discussing the

11          consideration of race in faculty hiring, Mr. Chemerinsky described and

12          preached the "unstated Affirmative Action" practiced at UC as follows:

1a          "Don't say that [you are considering the candidate's race]. You can think it.

14          You can vote it. .. Don't ever articulate that is what you are doing." He also

1s          said "If I'm ever deposed, I'm going to deny I said this to you." His

16          statements reveal deliberate intent by senior UC administrators to actively

11          conceal their use of race in decision-making. Consequently, the merit of

1s          Plaintiffs' allegations should be evaluated based on whether UC's

19          admissions process has a discriminatory effect on Asian-American

20          applicants, without any further need to establish the discriminatory intent.

21          As Dean Chemerinsky admitted in the video, for student admissions, one

22          should examine "statistical measures" to check for racial discriminations.




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 1           Plaintiffs intend to do exactly that in the discovery phase of the present

 2           lawsuit.


 3       93. In November 2022, The New Yorker staff writer Jay Caspian Kang quoted

 4           Mr. Erwin Chemerinsky as follows:


 s                "What colleges and universities will need to do after affirmative action

 6                is eliminated is find ways to achieve diversity that can't be

 1                documented as violating the Constitution," Mr. Chemerinsky stated.

 a                "So they can't have any explicit use of race. They have to make sure

 9                that their admissions statistics don't reveal any use of race. But they

10                can use proxies for race." (See Exhibit 47 as well.)


11          This statement is a clear acknowledgment that university officials,

12           including those within the University of California system, intend to bypass

13          constitutional and legal prohibitions on racial discrimination by employing

14          indirect methods-namely, "proxies for race"-to achieve the same racial

1s          outcomes that explicit race-based policies ohce facilitated.


16       94. The use of racial proxies to achieve racial balancing is unconstitutional. In

11          Parents Involved in Community Schools v. Seattle School District No. 1,

1a          551 U.S. 701, 743 (2007), the Supreme Court held that racial balancing is

19          not a compelling state interest and that the government may not achieve

20          racial diversity through indirect methods that amount to race-conscious

21          decision-making. Similarly, in SFFA v. Harvard, 600 U.S. 181 (2023), the




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 1          Supreme Court reaffirmed that admissions policies designed to achieve

 2          racial diversity by using proxies for race are equally unconstitutional.


 3      95. The statements made by Professor Chemerinsky provide strong

 4          circumstantial evidence that UC is knowingly and deliberately structuring

 s          its admissions policies to evade legal prohibitions on racial discrimination.


 6      96. As a law professor, Mr. Chemerinsky must know what he was preaching is

 1          illegal. By his own admission, he clearly knew it was illegal. Yet, he

 a          preached it with a sense of pride and braggadocio. It is worth emphasizing

 9          that Mr. Chemerinsky is the Dean, the top administrator, of UC Berkeley

10          Law School. Mr. Chemerinsky's statements happened to be in a public

11          talk, happened to be captured in video, and happened to be shared on the

12          web. What is visible to the public must be only the tip of the iceberg. It is

13          reasonable to infer the preaching and practice of "unstated Affirmative

14          Action" is widespread at UC's admissions and hiring process, which lacks

1s          transparency and accountability.


16      97. The I-am-proud-of-it attitude that Mr. Chemerinsky demonstrated in the

11          video when talking about his action of breaking the law and hiding it

1a          compounded the emotional distress Stanley and Nan have endured.


19      98. Senior UC administrators not only preach and practice "unstated

20          Affirmative Action", they also actively persecute those who advocate for

21          academic excellence over identity politics. From 2022 to 2024, Professor

22          Perry Link, Chancellorial Chair for Teaching Across Disciplines at UC



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 1          Riverside and a leading authority on modern and contemporary Chinese

 2          literature and culture, faced disciplinary action after expressing concerns

 3          during a faculty search committee meeting about prioritizing a Black

 4          candidate's race over qualifications. His comments, which he stated were

 s          intended to caution against elevating race as the "overriding criterion,"

 6          were reported to university officials without his knowledge. Professor Link

 1          was subsequently removed from the search committee and subjected to a

 a          prolonged disciplinary process, including hearings resembling a trial,

 9          where termination was suggested as a penalty. Although a faculty

10          committee unanimously found him innocent of the charges, Chancellor

11          Kim Wilcox issued a formal letter of censure, overriding the committee's

12          recommendation (See Exhibit 48}. Professor Perry Link was accused of

13          making racist comments during the hiring process but was not informed of

14          the specific remarks deemed problematic until nearly a year later. UC

1s          Riverside eventually acquitted him of all charges but allegedly threatened

16          to penalize him if he spoke publicly about the ordeal. Despite UC's threats,

11          Professor Link, a distinguished scholar at age 80, courageously made the

1a          incident public (See Exhibit 49}. If UC has attempted to silence a

19          prominent tenured professor, it is reasonable to infer the tremendous

20          pressure any professor, non-tenured administrator or staff would face if

21          they were to speak up. Therefore it is reasonable to infer that numerous

22          similar cases exist at UC in which victims chose to remain silent, fearing

23          retaliation that could jeopardize their careers and livelihoods. This incident




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 1           highlights senior UC administrators' preoccupation with immutable

 2           characteristics such as race, in clear violation of the California

 3           Constitution. It also demonstrates the great lengths to which they go to

 4          silence any dissidents or whistleblowers. Furthermore, it clearly illustrates

 s          the importance of exercising the chilling effect doctrine when it comes to

 6          the legal standing in lawsuits concerning UC's student admissions and

 1          faculty hiring.


 s       99. Professor Perry Link has agreed to testify when this lawsuit goes to trial.


 9       100.   The Standing Order of UC Regents 101.1 (d) explicitly states: "No

10          political test shall ever be considered in the appointment and promotion of

11          any faculty member or employee." However, UC flagrantly violates this

12          mandate by using diversity statements as a decisive factor in faculty

13          hiring. At certain UC campuses, if a faculty applicant's diversity statement

14          fails to satisfy the diversity bureaucrats, their application is summarily

1s          excluded from consideration without any review of their academic

16          qualifications. In 2016, at least five campuses -       Berkeley, Davis, Irvine,

11          Riverside and Santa Cruz -        decided their hiring committees could

1s          perform an initial screening of candidates based only on diversity

19          statements (See Exhibit 50). For instance, at UC Davis, the vice provost

20          explicitly instructed search committees to disqualify candidates who did

21          not "look outstanding" on diversity, regardless of the quality of their

22          academic research (See Exhibit 50 as well). Similarly, during the 2018-19

23          academic year, UC Berkeley's hiring process for a life sciences position



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 1           narrowed 894 applicants to 214, peremptorily disqualifying 76% of

 2           applicants based solely on diversity statements. According to UC's

 3           summary report, "The LSI [Life Sciences Initiative] Committee conducted a

 4          first review and evaluated candidates based solely on contributions to

 s           diversity, equity and inclusion. Only candidates that met a high standard in

 6          this area were advanced for further review, narrowing the pool down to

 1          214 for serious consideration." Under this faculty hiring system, even

 a           Nobel Prize winners would not be considered if they focused on academic

 9           research instead of diversity. This approach disproportionately affected

10          applicants of different racial groups, increasing the representation of

11          African American candidates in the pool from 2.8% to 6.1 %, while

12          reducing the representation of Asian candidates from 25. 7% to 18. 7%

13          (See Exhibit 51). As a further example, Mr. Yoel lnbar, a noted psychology

14          professor at the University of Toronto, was rejected for a position at UCLA

1s          because his podcast expressed skepticism about the use of diversity

16          statements in hiring (See Exhibit 52). In sum, UC's use of diversity

11          statements in faculty hiring violates academic freedom and the First

1s          Amendment.


19       101.   Given that UC is not conducting itself as a bona fide academic

20          institution for student admissions or faculty hiring, any traditional judicial

21          deference afforded to academic institutions should not apply in lawsuits

22          concerning student admissions or faculty hiring at UC.




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 1       102.   After Dr. Jennifer Lucero took over UCLA medical school admissions in

 2          June 2020, the number of Asian matriculants at UCLA medical school

 3          declined from 84 to 55 from 2019 through 2022, a drop of 35% (See

 4           Exhibit 53). Precipitous changes in admission rates strongly suggest

 s          deliberate conscious race-based directives.


 6       103.   Mr. Steven Dubinett, the dean of UCLA medical school, directs a

 1          center that houses a race-based fellowship. Its web page was deleted

 a          after media exposure (See Exhibit 54), indicating awareness of its

 9          illegality.


10       104.   A New York Times opinion piece by a former UC admissions reader

11          shared her detection of "unspoken directives", questioned whether

12          "Proposition 209 serve(s) merely to push race underground" and

13          described the admission reading process as "an extreme version of the

14          American non-conversation about race." (See Exhibit 55.)


1s      D. Statistical Evidence That UC Discriminates Against Asian-American

16 Applicants



11       105.   In a study commissioned by UCLA, only later obtained through public

1a          records requests, sociology professor Robert Mare documented a

19          consistent pattern of anti-Asian discrimination in admissions at UCLA. His

20          report said, '"North Asian' (Chinese, Japanese, Korean, Indian/Pakistani

21          American) applicants receive somewhat less favorable holistic read scores

22          than applicants in other ethnic identity groups who are otherwise similar in



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 1          measured academic qualifications, personal characteristics, and

 2          measured challenges and hardships." It further indicated that "among

 3          otherwise equivalent applicants, whites, African Americans and Latinos

 4          are overrepresented among those admitted, and Asian-American

 s          applicants are underrepresented." Additionally, the report noted that "the

 6          disadvantages of Asian applicants occur, with' varying magnitudes,

 1          throughout the admissions process." (See Exhibit 56).


 a       106.   Studies comparing the academic qualifications of admitted students by

 9          race fail to fully capture the extent of racial discrimination faced by

10          Asian-American applicants. By rejecting highly qualified Asian-American

11          applicants like Stanley, UC artificially narrows the academic qualification

12          gap between admitted students of different racial groups. As a matter of

13          mathematical fact, the more highly qualified Asian-American applicants

14          the university rejects, the smaller the observed qualification gap among

1s          admitted students becomes. To accurately assess the extent of racial

16          discrimination, it is necessary to compare not only the admitted

11          Asian-American students but also the rejected Asian-American applicants

1s          against admitted students from other racial groups. However, limitations in

19          the publicly available UC admissions data currently prevent such an

20          analysis. The plaintiffs intend to pursue this essential data comparison

21          during the discovery phase of this lawsuit.


22       107.   Following public outcry over the Varsity Blues scandal, California state

23          lawmakers commissioned an audit of the University of California's



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 1          admissions practices. The California State Auditor's 2020 report found that

 2           UC "has allowed for improper influence in admissions decisions, and it has

 3          not treated applicants fairly or consistently." Specifically, the audit revealed

 4          that UC Berkeley and UCLA "admitted thousands of applicants whose

 s          records demonstrated that they were less qualified than other applicants

 6          who were denied admission." (See Exhibit 57).


 1       108.   The audit also identified significant bias within the admissions process.

 a          Despite UC's guidelines excluding personal details such as race, gender,

 9          and birthplace from the 14 official admission factors, several campuses

10          allowed application readers to access such details. For example, UC

11          Berkeley, UCLA, and UC San Diego permitted readers to view students'

12          names and native languages. Additionally, UC Berkeley and UCSD

13          exposed applicants' gender, while UC Berkeley and UCLA displayed

14          applicants' birthplaces. The audit warned that this practice could lead

1s          readers to infer race or ethnicity, introducing bias into decisions (See

16          Exhibit 58).


11       109.   While the audit did not explicitly examine racial preference in UC

1a          admissions-as this fell outside the scope defined by the state

19          legislature-its findings of improper influence and access to personal data

20          underscore the need for a comprehensive investigation. Such an inquiry is

21          necessary to evaluate whether UC's admissions practices comply with

22          constitutional and statutory protections against racial discrimination.




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 1      E. Corruption in UC's Admissions and Untrustworthy Top Management


 2       110.    In response to the Varsity Blues scandal, UC conducted an internal

 3           review of its admissions practices, concluding that only two cases involved

 4           potential improper admissions (See Exhibit 59). However, this

 s          self-assessment was sharply refuted by the findings of the California State

 6          Auditor's report, which identified 64 cases of inappropriate admissions.

 1          These cases involved preferential treatment due to applicants' family

 a          donations and personal connections to campus staff. The report also

 9          warned that the true number of compromised admissions could exceed

10          400 students-a far more pervasive issue than UC acknowledged (See

11           Exhibit 58 as well).


12       111.   The audit highlighted systemic favoritism at UC Berkeley, stating that

13          "UC Berkeley Frequently Gave Preferential Treatment to Relatives and

14          Friends of Faculty, Staff, and Donors". This behavior exemplifies a

1s          disregard for fairness in admissions decisions. In one egregious case, a

16          UC Regent violated university policies by advocating for a waitlisted

11          applicant through a personal letter to the UC Berkeley Chancellor; the

1s          applicant was subsequently admitted (See Exhibit 60). Despite this clear

19          breach of policy, neither the Regent nor the Chancellor faced any

20          consequences.


21       112.   Compounding these concerns, the California State Auditor's report

22          criticized UC's Office of the President for failing to provide adequate




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 1          oversight, which allowed significant procedural weaknesses to persist

 2          across campuses. The report explicitly stated, "The University Has Not

 3          Made Sufficient Changes Following the National College Admissions

 4          Scandal" (See Exhibit 57 as well). This pattern of inadequate

 s          accountability and ineffective self-regulation raises serious doubts about

 6          UC's commitment to integrity and fairness in admissions, warranting

 1          further scrutiny and legal action to enforce compliance with constitutional

 a          and statutory obligations.


 9       113.   Following the release of the California State Auditor's report, UC

10          President Michael V. Drake claimed that UC's internal audit

11          recommendations aligned with those of the state auditor. However, this

12          assertion was publicly refuted by the state auditor, who noted significant

13          differences between the two assessments (See Exhibit 58 and Exhibit 61).

14          The state auditor warned that the entire UC admissions process requires

1s          an overhaul, citing inconsistent standards and practices that allowed

16          applicants to be evaluated on inappropriate reasons. (See Exhibit 58 as

11          well.)


1s       114.   Further reinforcing these concerns, California State Auditor Grant

19          Parks stated in a July 2024 letter to a state lawmaker that UC's actions

20          had failed to adequately address the weaknesses identified in its 2020

21          recommendations. Parks remarked, "We have found [UC's] responses to

22          not address weaknesses we have seen in their implementation of [the

23          2020] recommendation" (See Exhibit 62).



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 1       115.   This ongoing failure to implement meaningful reforms calls into

 2          question UC's commitment to transparency, accountability, and equitable

 a          treatment of all applicants. The discrepancies between UC's internal

 4          audits and the findings of independent oversight bodies demonstrate UC's

 s          systemic unwillingness to acknowledge and correct entrenched problems

 6          within its admissions framework, jointly and severally across its campuses.


 1       116.   UC's admissions process has been repeatedly compromised by

 s          scandals involving favoritism and fraud. In 2007, The Daily Bruin, UCLA's

 9          student newspaper, uncovered significant ethical violations within the

10          orthodontics residency program. The investigation revealed that the

11          program granted preferential admissions to major donors and their

12          relatives, directly contravening UC policies. Internal emails and interviews

13          exposed a systemic practice of advancing donor-affiliated applicants

14          despite lower qualifications, undermining fairness and merit-based

1s          admissions (See Exhibit 63).


16       117.   In 2020, UCLA men's soccer coach Jorge Salcedo was sentenced to

11          eight months in prison for his role in the Varsity Blues scandal. Mr.

1s          Salcedo facilitated the fraudulent admission of students by falsely

19          designating them as recruited athletes with fabricated soccer credentials

20          (See Exhibit 64). Mr. Salcedo's actions would not have been possible

21          without substantial cooperation from the UC Admissions office.




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 1       118.   These cases illustrate a persistent pattern of unethical admissions

 2          practices that prioritize personal connections and financial influence over

 a          academic merit. The breadth and frequency of such incidents point to

 4          systemic flaws within UC's admissions framework, necessitating

 s          comprehensive third-party oversight.


 6       119.   Although UC may invoke autonomy as a shield against external

1           scrutiny, its repeated lapses in admissions integrity demonstrate that its

 a          autonomy cannot supersede the need for transparency, fairness, and

 9          compliance with anti-discrimination laws. Without robust external review

10          mechanisms, the integrity of UC's admissions system remains

11          fundamentally compromised.


12      F. Unconstitutionality of ED's Numeric Racial Targets


1a       120.   The U.S. Department of Education (ED) administers Minority Serving

14          Institution (MSI) grant programs with eligibility requirements tied to

1s          numeric racial targets. Examples include: the Hispanic-Serving Institution

16          (HSI) Program, which requires at least 25% Hispanic enrollment (See

11          Exhibit 65); the Alaska Native-Serving and Native Hawaiian-Serving

1a          Institutions (ANNH) Program, which requires at least 20% Alaska Native

19          or at least 10% Native Hawaiian students; and the Asian American and

20          Native American Pacific Islander-Serving Institutions (AANAPISI)

21          Program, which requires at least 10% enrollment of Asian American or

22          Native American Pacific Islander students.




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 1       121.    These numeric racial thresholds are arbitrary, incentivizing institutions

 2           to manipulate or strategically balance the racial composition of their

 3           student bodies to qualify for federal grant funding (See Exhibit 66).


 4       122.   These numeric racial targets fail to preserve or advance national

 s           security interests.


 6       123.   These numeric racial targets do not remedy specific instances of

 1          federal government discrimination.


 s       124.   Even if racial diversity in the college student body were recognized as

 9          a compelling government interest, these numeric racial targets may not

10           reflect genuine diversity, as any institution meeting the numerical target

11          qualifies, even if its student body remains racially homogeneous beyond

12          that threshold.


13       125.   These numeric racial targets are not narrowly tailored to achieve a

14          compelling government interest. If Minority-Serving Institution (MSI)

1s          programs' primary purpose is to improve educational opportunities for

16          historically underserved communities, that objective could be more

11          effectively and legally achieved through race-neutral alternatives. For

1s          example, reallocating MSI program funding to existing need-based

19          programs, such as the Pell Grant program, would directly support

20          economically disadvantaged students regardless of race, ensuring equal

21          access to higher education without violating constitutional principles.




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 1       126.   These numeric racial targets facially discriminate among institutions

 2           based on the racial and ethnic balances of their student bodies. They are

 3           "a facially discriminatory law or policy that expressly classifies individuals

 4           on the basis of race". See Chinese Am. Citizens All. of Greater N. Y v.

 s          Adams, 116 F.4th 161, 170 (2d Cir. 2024). As the Supreme Court affirmed

 6           in Miller v. Johnson, 515 U.S. 900, 911 (1995), "At the heart of the

 1           Constitution's guarantee of equal protection lies the simple command that

 a          the Government must treat citizens as individuals, not as simply

 9           components of a racial, religious, sexual or national class."


10       127.   These numeric racial targets are inherently rigid and inflexible. They

11          fail to meet the strict scrutiny standard required for race-based

12          government policies, as they are not narrowly tailored to serve a

13          compelling government interest. Consequently, ED's use of such targets

14          violates the Equal Protection principles of the Fifth Amendment and is

1s          unconstitutional.


16       128.   These numeric racial targets incentivize universities to suppress

11          Asian-American enrollment as seen in UC's case infra.


1a      G. UC's Motive and Intent for Racial Balancing its Student Body


19       129.   In June 2020, the UC Board of Regents unanimously endorsed

20          Assembly Constitutional Amendment 5 (ACA 5) and the repeal of

21          Proposition 209, which had banned the consideration of race and gender

22          in admissions decisions since 1996. In a released statement, the Board



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 1          declared, "UC has long been committed to creating and maintaining a

 2          student body that reflects California's laudable cultural, racial, geographic,

 3          and socioeconomic diversity." UC President Janet Napolitano added, "It

 4          makes little sense to exclude any consideration of race in admissions

 s          when the aim of the University's holistic process is to fully understand and

 6          evaluate each applicant through multiple dimensions." (See Exhibit 67.)

 1          While it remains unclear how UC defines its ideal student body

 a          composition-a point Plaintiffs intend to explore during discovery-it is

 9          evident that UC was dissatisfied with the existing demographic makeup of

10          its student population and wants to balance it.


11       130.   In its amicus brief filed with the US Supreme Court in SFFA v. Harvard,

12          UC stated:


13                  "At many of UC's campuses, especially the flagship campuses,

14                  there remain stark differences between the demographics of UC's

1s                  enrolled student population and the demographics of the applicant

16                  pool that UC seeks to serve-that is, California public high school

11                  graduates. To be clear, UC does not maintain any 'specified' racial

1a                  targets based on the demographics of high school graduates or any

19                  other baseline. See Fisher v. University of Texas at Austin, 570 U.S.

20                  297, 311 (2013) ('Fisher IJ (demographic targets constitute

21                  impermissible racial balancing) (citation omitted). Instead, UC looks

22                  at demographics to determine whether there are substantial

23                  demographic disparities of the sort that this Court has recognized



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 1                  can undermine a university's ability to provide the educational

 2                  benefits of diversity." (See Exhibit 68, page 21.)


 3          While UC claims it does not use "specified" racial targets, the brief fails to

 4          explain how it defines or measures "substantial demographic

 s          disparities"-a point Plaintiffs intend to explore during discovery.

 6          Nevertheless, UC's statement reveals its intent to increase enrollment for

 1          certain racial groups, a motive that implicates strict scrutiny under

 e          constitutional law.


 9      131.    The Equal Protection Clause of the Fourteenth Amendment prohibits

10          states from denying any person "the equal protection of the laws." The

11          Clause's "central purpose is to prevent the States from purposefully

12          discriminating between individuals on the basis of race." See Shaw v.

13          Reno, 509 U.S. 630, 642 (1993). Thus, a state law or policy that

14          discriminates on the basis of race is subject to strict scrutiny, regardless of

1s          its intended beneficiaries. See Adarand Constructors, Inc. v. Pena, 515

16          U.S. 200, 227 (1995).

11       132.   As the Supreme Court noted in SFFA v. Harvard, 143 S. Ct. 2141,

1s          2169 (2023), "College admissions are zero-sum. A benefit provided to

19          some applicants but not to others necessarily advantages the former

20          group at the expense of the latter." The distinction between preferential

21          treatment and adverse impact is illusory-both actions are inherently

22          racially motivated and inseparable, representing merely different ways of

23          describing the same net discriminatory conduct. In a zero-sum situation,



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 1           when assessing whether a policy constitutes racial discrimination, courts

 2           should focus on the presence of racial intent, regardless of whether that

 3           intent manifests as preferential treatment or adverse impact. As the

 4           Supreme Court affirmed in SFFA v. Harvard, "[W]hat cannot be done

 s           directly cannot be done indirectly. The Constitution deals with substance,

 6           not shadows," and the prohibition against racial discrimination is "levelled

 1           at the thing, not the name." Cummings v. Missouri, 71 U.S. (4 Wall.) 277,

 s           325, 18 L.Ed. 356 (1867).

 9       133.   Article I, Section 31 of the California Constitution unequivocally states:

10          "The State shall not discriminate against, or grant preferential treatment to,

11          any individual or group on the basis of race, sex, color, ethnicity, or

12          national origin in the operation of public employment, public education, or

13          public contracting." This provision explicitly prohibits both discrimination

14          and preferential treatment on the basis of these characteristics.


1s      H. UC's Action for Racial Balancing its Student Body


16       134.   In addition to its evident motive and intent for racial balancing, UC

11          possesses the means and opportunity to manipulate the racial

1s          composition of its student body under its current "holistic" admissions

19          framework, which has a history of corruption and lacks transparency,

20          independent third-party oversight and accountability. Indeed, UC's intent is

21          matched by its actions.




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 1       135.   Despite claiming it does not maintain racial targets, UC actively

 2          pursues Hispanic-Serving Institution (HSI) status at all its campuses. HSI

 3          designation requires at least 25% Hispanic student enrollment (See

 4          Exhibit 65 as well). In or around 2019, UC Berkeley and UCLA established

 s          task forces led by their respective Chancellors-Carol Christ and Gene

 6          Block-to achieve this racial target (See Exhibit 69). These task forces

 1          demonstrate that UC has adopted policies aimed at meeting specific

 a          numeric racial goals, contradicting its statements in the SFFA v. Harvard

 9          amicus brief. This type of race-based decision-making is subject to strict

10          scrutiny. Under SFFA v. Harvard, it cannot survive strict scrutiny. It also

11          violates the California Constitution.


12       136.   A university policy that amounts to racial balancing is "patently

13          unconstitutional." Gruffer v. Bollinger, 539 U.S. 306, 329 (2003). Racial

14          balancing seeks to ensure a specified percentage of a racial group within

1s          the student body merely due to race or ethnicity. Id. Courts have

16          consistently rejected proportional representation as a constitutional

11          justification for race-based admissions. See Id. at 343.


1a       137.   These actions also raise serious concerns that UC misrepresented

19          material facts to the Supreme Court in its amicus brief to SFFA v. Harvard.


20       138.   The deliberate use of numeric racial goals incentivizes actions that limit

21          Asian-American enrollment despite their growing demographic presence.

22          According to the 2020 U.S. Census, California's Asian population grew by




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 1          25% over the prior decade, making it the fastest-growing ethnic group in

 2          the state (See Exhibit 70). However, Asian student representation at UC

 3          declined from 38% in 2002 to 32% in 2022, with a general decline in

 4          Chinese American enrollment between 2018 and 2024 (See Exhibits 71

 s          and Exhibit 72). At UC Berkeley, one of the most selective campuses of

 6          the UC system, Asian admits trended significantly downward in recent

 1          years. The percentage of Asian applicants admitted by UC Berkeley went

 a          from 18.9% (3,188 out of 16,866) in 2014 to 15.8% (4,416 out of 27,875)

 9          in 2023. (See Exhibit 73. 2023 is the latest year for which the data is

10          publicly available.)


11       139.   The gap between Asian population growth and declining admissions

12          strongly suggests systemic discrimination. As the Court explained in Reno

13          v. Bossier Parish School Board, 520 U.S. 471,487 (1997), the natural

14          consequences of an action often provide probative evidence of intent.

1s          Here, the persistent adverse impact on Asian-American applicants

16          indicates a racially motivated policy, despite UC's denials.


11       140.   The argument that Asian-Americans constitute a plurality of UC's

1a          student body does not negate claims of discrimination. Equal protection

19          requires that individuals be treated as individuals, not as members of a

20          racial class. See Mi/lerv. Johnson, 515 U.S. 900,911 (1995). Even if

21          aggregate Asian enrollment remains relatively high, systemic bias may

22          suppress their numbers below what they would be in a race-neutral

23          system. "[l]nvidious discrimination does not become less so because the



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 1          discrimination accomplished is of a lesser magnitude." See Personnel

 2          Administrator of Massachusetts v. Feeney, 442 U.S. 256, 277 (1979).


 3       141.   The Second Circuit's 2024 decision in Chinese American Citizens

 4          Alliance of Greater New York (CACAGNY) v. Adams supports this case.

 s          The court held that a facially neutral policy driven by racial motives

 6          violates equal protection, even if aggregate enrollment improves. The

 1          ruling states "if discriminatory intent is proven, a negative effect or harm

 s          from that discriminatory policy on individual Asian-American students

9           applying to the SHSs [Specialized High Schools] would be sufficient to

10          trigger strict scrutiny review". The court further held that a policy or a

11          program "is not immunized from strict scrutiny because it underperforms in

12          an unconstitutional mission with respect to a targeted racial group in the

13          aggregate." Therefore, policies aiming to reach HSI designation at

14          UC-whether or not the 25% target has been met-are subject to strict

1s          scrutiny and won't survive it.


16       142.   Moreover, CACAGNY rejected the defense that admitting students to

11          any school within a system negates discrimination claims. The Second

1s          Circuit Court stated that denying a student access to their preferred

19          institution due to race is actionable. Similarly, admitting Asian-American

20          students to less selective UC campuses does not absolve more selective

21          campuses from discrimination claims.




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 1       143.    In CACAGNY, the Second Circuit Court stated that "Applying Supreme

 2           Court precedent, we have generally recognized three types of

 3           discriminatory laws: (1) a facially discriminatory law or policy that

 4           expressly classifies individuals on the basis of race; (2) a facially neutral

 s           law that is enforced in a discriminatory fashion; and (3) a facially neutral

 6           law that was adopted with discriminatory intent and resulted in a

 1           discriminatory effect. See Chabad Lubavitch of Litchfield Cnty., Inc. v.

 a           Litchfield Hist. Dist. Comm'n,768 F.3d 183, 199 (2d Cir. 2014)."


 9       144.   In this case, all three types of discriminatory policies and practices

10           identified by the Second Circuit Court are evident:


11              a. Facially discriminatory policies: Ample evidence shows that UC

12                  employs explicitly race-based discriminatory policies-including

13                  numerica racial targets-that are directly tied to student admissions.

14              b. Discriminatory enforcement: UC's regular and frequent absurd

1s                  and incongruous admission outcomes strongly indicate that UC

16                  exercises its admissions policies in a discriminatory fashion.

11              c. Discriminatory intent and effect: There is substantial evidence of

1s                  adverse effects on Asian-American applicants, both individually and

19                  collectively. Additionally, UC's faculty hiring practices are

20                  demonstrably racially motivated, resulting in disparate impacts on

21                  various racial groups. Moreover, a senior UC administrator openly

22                  advocated for circumventing legal scrutiny by ensuring racial intent




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 1                  was carried out without being explicitly documented-effectively

 2                  endorsing discrimination through covert means.


 3          These actions constitute violations of the Equal Protection Clause of the

 4          Fourteenth Amendment, Title VI of the Civil Rights Act of 1964, and Article

 s          I, Section 31 of the California Constitution.


 6      I. UC's Dismissals of Complaints


 1       145.   UC officials have consistently ignored or dismissed complaints

 s          regarding absurd admissions outcomes and allegations of racial

 9          discrimination, highlighting a pervasive lack of transparency and

10          accountability in their admissions practices. More than a year passed

11          between Nan Zhong's initial complaint to the UC Board of Regents about

12          Stanley's admission results and the filing of this lawsuit, during which the

13          Board took no meaningful action. Rather than conducting an investigation,

14          the Board merely passed off Nan's concerns to the Admissions Office.


1s       146.   Ms. Han Mi Yoon-Wu, UC's Associate Vice Provost and Executive

16          Director of Undergraduate Admissions, repeatedly dismissed the

11          complaints, asserting that Nan's allegations of racial discrimination were

1s          unfounded because California law prohibits such practices. By that logic,

19          any criminal could claim innocence simply because the law prohibits the

20          very act they are accused of committing. When Nan questioned whether

21          the mere existence of a law guaranteed compliance, Yoon-Wu failed to




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 1          provide an answer. (See Exhibit 74 for the full record of Nan's year-long

 2          correspondence with UC prior to filing this lawsuit.)


 3       147.   Doesn't Ms. Han Mi Yoon-Wu understand the absurdity of her

 4          statement? The answer must be that she does. Her dismissive and

 s          irrational response can only be interpreted as an act of arrogant disregard

 6          for Asian applicants and their families, conveying an implicit message: /

 1          can do and say whatever I want; there is nothing you can do about it. Get

 a          lost.


 9       148.   This cavalier attitude has only compounded the emotional distress

10          endured by Stanley and Nan, intensifying the pain caused by the

11          University's discriminatory practices.


12      149.    The denial of Stanley's applications to five UC campuses-combined

13          with UC's complete failure to even acknowledge the issue for over a

14          year-cannot be dismissed as mere random error. Rather, these actions

1s          reveal a pattern of systemic bias and deliberate indifference, suggesting

16          malice toward Stanley and, by extension, other similarly situated

11          Asian-American applicants. While it is true that Google's job offer came

1s          after UC's rejections-meaning UC could not have foreseen that Google

19          would recognize Stanley's skills had already reached the Ph.D. level-the

20          fundamental issue remains: the technical achievements included in

21          Stanley's UC applications were substantially the same as those sent to

22          Google. Yet, while Google responded with, "This is impressive; we should




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 1          interview him for a Ph.D.-level position," UC's response was that Stanley

 2          was not qualified for undergraduate admission. This stark contrast

 3          underscores a systemic barrier that profoundly affects Asian-American

 4          applicants' experiences in college admissions. Even when their

 s          qualifications reach the Ph.D. level, they may still be denied

 6          undergraduate admission. This fosters a pervasive sense of

 1          helplessness-the belief that the system is rigged to reject you regardless

 a          of your merits-that contributes significantly to the mental health

 9          challenges within the Asian-American youth community.


10       150.   This case echoes the dark legacy of the Chinese Exclusion Act of

11           1882-a shameful chapter in our nation's history for which Congress

12          formally apologized in June 2012. Disturbingly, as of this lawsuit's filing-a

13          full year after UC became aware of Google's assessment of Stanley's

14          skills-UC still refuses to engage in any meaningful discussion about his

1s          applications, which only compounded the emotional distress Stanley and

16          Nan have endured.


11      J. Lack of Response by Government Officials


1s       151.   Stanley's mother filed a civil rights complaint with the Office for Civil

19          Rights (OCR) at the U.S. Department of Education. However, the OCR

20          dismissed the case after misinterpreting her email, relying on reasoning

21          that directly contradicted her intended meaning. When she pointed out the

22          misunderstanding, the OCR refused to reopen the case, stating it had




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 1           been closed. The official dismissal letter cited a rationale the OCR knew to

 2           be false. Despite her repeated requests to correct the letter and remove

 3          the inaccurate reasoning, the OCR declined to make any changes, even

 4          after she escalated the matter (See Exhibit 75 for the full record of email

 s          exchanges with the OCR). ED's failure to enforce civil rights laws has let

 6          the direct harm to Stanley and other Asian-American applicants persist.

 1       152.   Nan also raised his concerns with California Assemblymember Marc

 s          Berman, mentioning that hundreds of his constituents were deeply

 9          concerned about UC's admissions practices. Despite several email

10          exchanges, Mr. Berman did not respond substantively (See Exhibit 76 for

11          the full record of email exchanges with Mr. Berman and his staff).

12       153.   In November 2023, Nan organized a petition that gathered over 4,000

13          endorsements for letters expressing concerns about UC admissions.

14          These letters were sent to Governor Gavin Newsom and Lt. Governor

1s          Eleni Kounalakis, both of whom serve as ex officio Regents of the

16          University of California. Neither replied. (See Exhibit 77 and Exhibit 78 for

11          the letters.)

1s       154.   Plaintiffs have made every reasonable effort to engage in dialogue and

19          pursue resolution before filing this lawsuit.


20      K. Legal Basis


21       155.   The Supreme Court's decision in SFFA. v. Harvard unequivocally

22          established that racial discrimination in college admissions is

23          unconstitutional.



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 1       156.    UC's racial discriminatory admission policies and practices violate the

 2           Equal Protection Clause of the Fourteenth Amendment to the United

 3           States Constitution.


 4       157.   UC's racial discriminatory admissions policies and practices also

 s          violate Title VI of the Civil Rights Act of 1964, which prohibits racial

 6           discrimination in programs receiving federal financial assistance.


 1       158.   UC's racial discriminatory admissions policies and practices also

 s          violate Article I, Section 31 of the California Constitution, which expressly

 9          forbids racial discrimination in public education.


10       159.   In addition to direct evidence of discrimination, racial "prejudice or

11          stereotype" may be proven through circumstantial evidence. See Village of

12          Arlington Heights v. Metropolitan Housing Development Corp., 429 U.S.

13          252, 266 (1977).


14       160.   Further supporting this claim, the Second Circuit Court of Appeals, in

1s          Chinese American Citizens Alliance of Greater New York (CACAGNY) v.

16          Adams, 116 F.4th 161 (2d Cir. 2024), unanimously affirmed that an equal

11          protection claim may proceed if "any individual has been negatively

1s          affected or harmed by a discriminatory law or policy based on race, even if

19          there is no disparate impact on members of that racial class in the

20          aggregate." Under the principle of stare decisis, this ruling provides

21          persuasive authority for the present lawsuit.




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 1 V. CLAIMS FOR RELIEF



 2 COUNT        I - Violation of the Fourteenth Amendment (Equal Protection

 3 Clause)




 4       161.   Plaintiffs reallege and incorporate by reference the allegations set forth

 s          above.


 6       162.   Co-Defendant UC's admissions policies and practices violate the Equal

 1          Protection Clause of the Fourteenth Amendment by discriminating against

 a          Asian-American applicants, including Stanley, on the basis of race.


 9       163.   As a result of Co-Defendant UC's discriminatory policies and practices,

10          Plaintiffs have suffered harm, including the loss of educational

11          opportunities, emotional distress, financial loss, and reputational damage.


12       164.   Plaintiffs have been and will continue to be injured by Co-Defendant

13          UC's ongoing discriminatory admissions policies, which deny them an

14          equal opportunity to compete for admission based on race or ethnicity.


1s       165.   Plaintiffs are entitled to a declaratory judgment, pursuant to 28 U.S.C.

16          §2201, and a permanent injunction because there is no plain, adequate, or

11          speedy remedy at law to prevent Co-Defendant UC from continuing to use

1a          admissions policies and practices that discriminate on the basis of race or

19          ethnicity in violation of the Fourteenth Amendment and because the harm

20          Plaintiffs will otherwise continue to suffer is irreparable.




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 1 COUNT II - Violation of Title VI of the Civil Rights Act of 1964 (42 U.S.C. §


 2 2000d)



 3       166.   Plaintiffs reallege and incorporate by reference the allegations set forth

 4           above.


 s       167.   Co-Defendant UC receives federal financial assistance and is therefore

 6          subject to Title VI of the Civil Rights Act of 1964, which prohibits

 1          discrimination on the basis of race, color, or national origin in any program

 s          or activity receiving federal financial assistance. Co-Defendant UC's

 9          admissions policies and practices discriminate against Asian-American

10          applicants, including Stanley, in violation of Title VI.


11       168.   As a result of Co-Defendant UC's discriminatory policies and practices,

12          Plaintiffs have suffered harm, including the loss of educational

13          opportunities, emotional distress, financial loss, and reputational damage.


14       169.   Plaintiffs have been and will continue to be injured by Co-Defendant

1s          UC's ongoing discriminatory admissions policies, which deny them an

16          equal opportunity to compete for admission based on race or ethnicity.


11       170.   Plaintiffs are entitled to a declaratory judgment, pursuant to 28 U.S.C.

1s          §2201, and a permanent injunction because there is no plain, adequate, or

19          speedy remedy at law to prevent Co-Defendant UC from continuing to use

20          admissions policies and practices that discriminate on the basis of race or




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 1          ethnicity in violation of Title VI of the Civil Rights Act of 1964 and because

 2          the harm Plaintiffs will otherwise continue to suffer is irreparable.


 3 COUNT Ill - Violation of California Constitution (Article I, Section 31)



 4       171.   Plaintiffs reallege and incorporate by reference the allegations set forth

 s          above.


 6       172.   Article I, Section 31 of the California Constitution prohibits racial

 1          discrimination in public education. Co-Defendant UC's discriminatory

 s          admissions policies and practices violate this provision by denying

 9          Asian-American applicants, including Stanley, equal access to public

10          educational opportunities.


11       173.   As a result of Co-Defendant UC's discriminatory policies and practices,

12          Plaintiffs have suffered harm, including the loss of educational

13          opportunities, emotional distress, financial loss, and reputational damage.


14       174.   Plaintiffs have been and will continue to be injured by Co-Defendant

1s          UC's ongoing discriminatory admissions policies, which deny them an

16          equal opportunity to compete for admission based on race or ethnicity.


11       175.   Plaintiffs are entitled to a declaratory judgment, pursuant to 28 U.S.C.

1s          §2201, and a permanent injunction because there is no plain, adequate, or

19          speedy remedy at law to prevent Co-Defendant UC from continuing to use

20          admissions policies and practices that discriminate on the basis of race or

21          ethnicity in violation of Article I, Section 31 of the California Constitution



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 1           and because the harm Plaintiffs will otherwise continue to suffer is

 2           irreparable.


 3 COUNT IV - Violation of the Due Process Clause of the Fifth Amendment



 4       176.   Plaintiffs reallege and incorporate by reference the allegations set forth

 s          above.


 6       177.   Co-Defendant ED's use of numeric racial targets, including but not

 1          limited to the 25% Hispanic enrollment requirement for Hispanic-Serving

 s          Institution (HSI) status under 20 U.S.C. § 1101a, constitutes racial

 9          discrimination in violation of the Due Process Clause of the Fifth

10          Amendment, which encompasses equal protection principles.


11       178.   The Fifth Amendment prohibits the federal government from treating

12          individuals differently based on race unless the policy is narrowly tailored

13          to serve a compelling governmental interest. Co-Defendant ED's racial

14          targets fail this standard, functioning as rigid racial quotas that unlawfully

1s          disadvantage students of non-preferred racial groups, including

16          Asian-American applicants.


11       179.   As a direct result of ED's unlawful policies, Plaintiffs have suffered

1s          harm, including the denial of equal access to federally funded educational

19          programs, loss of educational opportunities, reputational damage, and

20          emotional distress resulting from the perception that the federal

21          government endorses racial discrimination in higher education.




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 1 COUNT V - Violation of the Administrative Procedure Act (APA)



 2       180.    Plaintiffs reallege and incorporate by reference the allegations set forth

 3           above.


 4       181.   Co-Defendant ED's failure to investigate and enforce federal

 s           anti-discrimination laws, including Title VI of the Civil Rights Act of 1964

 6           (42 U.S.C. § 2000d), constitutes arbitrary and capricious agency action in

 1          violation of the Administrative Procedure Act (APA), 5 U.S.C. § 706.


 a       182.   As a direct result of ED's unlawful actions and omissions, Plaintiffs

 9           have suffered harm, including the denial of equal access to federally

10          funded educational programs, loss of educational opportunities,

11          reputational damage, and emotional distress caused by the federal

12          government's failure to uphold anti-discrimination protections in higher

13          education.


14 VI. PRAYER FOR RELIEF



1s WHEREFORE, Plaintiffs, Stanley, Nan and SWORD, on behalf of its members


16 and all others similarly situated, respectfully request that this Court:



11       183.   Declare Numeric Racial Targets in Federal Funding Unconstitutional

1s              a. Declare that the numeric racial targets established under the 1992

19                    reauthorization of the Higher Education Act-such as the 25%

20                    Hispanic enrollment requirement for Hispanic-Serving Institution

21                  (HSI) status under 20 U.S.C. § 1101a-are unconstitutional.



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 1              b. Issue a permanent injunction prohibiting Co-Defendant ED from

 2                  implementing, enforcing, or conditioning federal funding eligibility

 3                  on numeric racial targets.

 4       184.   Declare Co-Defendant ED's OCR (Office of Civil Rights) Failed Its Duty

 s          and Mandate Its Reform

 6              a. Declare that OCR failed to properly investigate and enforce federal

 1                  anti-discrimination laws, including Title VI of the Civil Rights Act of

 a                  1964, in violation of its statutory and constitutional obligations.

 9              b. Declare that OCR's failure to act constitutes arbitrary and

10                  capricious agency action in violation of the Administrative

11                  Procedure Act (APA), 5 U.S.C. § 706.

12              c. Issue an injunction requiring OCR to implement procedural reforms

13                  ensuring timely and transparent investigations of civil rights

14                  complaints.

1s              d. Issue a writ of mandamus compelling OCR to enforce federal

16                  anti-discrimination laws as required by statute, including taking

11                  appropriate corrective actions against institutions found to be in

1a                  violation.

19              e. Issue an injunction requiring OCR to conduct a full, independent

20                  audit of its complaint-handling process, with the results publicly

21                  disclosed.




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 1              f.   Order the removal or disciplinary review of OCR officials

 2                   responsible for failing to investigate or enforce anti-discrimination

 3                   laws as required by Title VI.

 4       185.   Declare UC's Admissions and Hiring Practices Unconstitutional

 s              a. Declare that Co-Defendant UC's student admissions and faculty

 6                   hiring policies and practices violate:

 1                      i.   The Fourteenth Amendment to the U.S. Constitution,

 s                      ii. Title VI of the Civil Rights Act of 1964, and

 9                      iii. Article I, Section 31 of the California Constitution

10                           (Proposition 209).

11              b. Enjoin Co-Defendant UC from engaging in racially discriminatory

12                   admissions and hiring practices, and order it to take all necessary

13                   steps to eliminate the effects of past discrimination.

14       186.   Mandate Institutional Reforms & Accountability Measures at UC

15              a. Issue an injunction requiring Co-Defendant UC to issue a formal

16                   public apology to Asian-American applicants (similar to UC

17                   Berkeley's 1989 apology).

18              b. Issue an injunction requiring Co-Defendant UC to dismiss, after a

19                   full and fair public hearing, all Admissions Directors and other

20                   administrators responsible for the admission cycles that are

21                   determined to be racially discriminatory since 1996.

22              c. Issue an injunction requiring Co-Defendant UC to dismiss, after a

23                   full and fair public hearing, all administrators who knowingly defend




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 1                  this lawsuit while being aware of racial preferences in admissions

 2                  or hiring.

 3              d. Issue an injunction requiring Co-Defendant UC to dismiss, after a

 4                  full and fair public hearing, all administrators who knowingly

 5                  certified compliance with federal anti-discrimination laws while

 6                  being aware of racial preferences in admissions or hiring.

 7              e. Refer individuals who knowingly made false certifications under

 8                  penalty of perjury for criminal prosecution.

 9       187.   Mandate Oversight & Transparency in Admissions at UC

10              a. Issue a permanent injunction requiring Co-Defendant UC to

11                  establish an independent admissions oversight board, approved by

12                  this Court, with sole authority over the hiring and firing of

13                  Admissions Directors at each UC campus.

14              b. Issue a permanent injunction requiring Co-Defendant UC to fund

15                  recurring independent audits of its admissions process, approved

16                  by this Court, including a breakdown of accepted and rejected

17                  applicants' qualifications by racial group.

18              c. Issue a permanent injunction requiring Co-Defendant UC to

19                  implement admissions procedures that prevent personnel from

20                  accessing or inferring an applicant's race or ethnicity.

21              d. Issue a permanent injunction requiring Co-Defendant UC to

22                  implement hiring procedures that prevent personnel from accessing

23                  or inferring a candidate's race or ethnicity.




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 1              e. Require Co-Defendant UC to repeat its admission process

 2                  independently on a small group of randomly chosen applicants for

 3                  each admission cycle in order to demonstrate repeatability and

 4                  self-consistency in admissions decisions.

 s       188.   Require Mandatory Training & Compliance Measures at UC

 6              a. Require annual Proposition 209 training for all UC personnel

 7                  involved in admissions or hiring.

 8              b. Require all trained personnel to explicitly acknowledge that violating

 9                  Prop 209 or failing to report violations may result in disciplinary

10                  action, including termination.

11       189.   Declare Judicial Scrutiny of UC's Academic Policies

12              a. Declare that Co-Defendant UC should no longer receive traditional

13                  judicial deference as a bona fide academic institution unless it:

14                      i.   Collects standardized test scores in its admission process,

15                      ii. Ceases prioritizing immutable characteristics over academic

16                           merit in admissions and transfers,

17                      iii. Eliminates diversity statements from its faculty hiring

18                           process, and

19                      iv. Censures administrators who persecuted Professor Perry

20                           Link for prioritizing academic qualifications over identity

21                           politics.

22       190.   Mandate Legal and Ethical Accountability




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 1              a. Issue an injunction requiring the State Bar Association to initiate

 2                  disciplinary proceedings, including potential disbarment, against the

 3                  authors of UC's misleading and untruthful amicus brief submitted to

 4                  the U.S. Supreme Court in SFFA v. Harvard.

 s              b. Issue an injunction requiring the State Bar Association to conduct

 6                  an investigation into whether Mr. Erwin Chemerinsky, Dean of UC

 1                  Berkeley School of Law, has violated professional ethics rules by

 a                  advocating for unlawful actions and instructing universities on how

 9                  to conceal race-based admissions practices in circumvention of

10                  constitutional and statutory prohibitions. If such violations are

11                  found, the Bar Association should initiate appropriate disciplinary

12                  proceedings, including potential disbarment, in accordance with its

13                  professional responsibility rules.

14      191.    Award Monetary Damages & Attorney's Fees

1s              a. Award nominal, compensatory, and punitive damages to Plaintiffs.

16              b. Award reasonable attorneys' fees and costs incurred in this action.

11              c. Grant such other and further relief as this Court deems just and

1s                  proper.


19




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 1    VII. JURY DEMAND


 2    Pursuant to the Seventh Amendment to the United States Constitution and Rule

 3    38 of the Federal Rules of Civil Procedure, Plaintiffs hereby demand a trial by

 4    jury on all issues so triable.


 5



 6    I declare under penalty of perjury that the allegations in the complaint are true.


 1    Respectfully submitted,




 9    Stanley Zhong (Pro Se)

10    211 Hope St #390755

11    Mountain View, CA 94039


12




. ~-~r             /'?




14 Nan Zhong (Pro Se)


1s Individually and as President of SWORD


16 211 Hope St #390755


11 Mountain View, CA 94039


1s nanzhong1@gmail.com



19 Dated: February 6, 2025




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1                                                       EXHIBIT 1

2                                     EMAIL FROM GOOGLE RECRUITER IN 2019



      Hello from Google! lt                  lnbox )(   Coding Work X                                                          ..,,"

     -le.com>
     tome ...
                                                                                                Tue, May 21, 2019, 10:13AM    * '"'
     Hi Stanley,

     I wanted to send you a friendly note and see if you are open to hearing about Software engineering opportunities at Google. We are
     gearing up for some groundbreaking projects and would love to have a discussion with you.

     If you are interested, please let me know what your availability looks like for a 30 minute discussion over the phone.

     Warm regards,




       Google Technical Recruiter
                     careers.gQQgle.com
                      rma11w@
3




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     Stanley Zhong
     to
                                                                                              Thu, May 23, 2019, 5:29 PM    *      ~



     I'm available next week on all of Monday and also on Tuesday after 4pm. I will also be open on Wednesday through Friday after 8pm.
     My resume can be found here: bttps·//docs gQQgle com/document/d1                                                           edit?
     l.!l;p=sharing. It's also attached to this ema~.

     Just to make sure you know, I'm 13 years old.

     Stanley



      f:il Stanley Zhong's Resume




     One attachment • Scanned by Gmail (D




      l!!j Stanley Zhong's R•.• ,•;.,




     tome•
                                                                                              Mon, May 27, 2019, 1:39PM    *      ~



     Thank you for taking the time to put together a resume Stanley! Your competitive programming accomplishments are very impressive.
     Thanks for being transparent about your age. Due to this factor, we won't be able to visit opportunities at Google. I've uploaded your
     resume to provide visibility to our intem recruiting team for future folow up. Have a great Memorial Day!

1




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1                                                    EXHIBIT 2

2                                    STANLEY'S RANKING IN GOOGLE CODE JAM




                                ~
          -          Congratulations, qpwoeirut!
                                        This certificate is awarded to

                                               Stanley Zhong
                                 for progressing to Round 3 of Code Jam 2021
            Quahfic11Jon Round             Round I                Round 2             Round 3




       codejam
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                 41 pts
                                            *
                                            114~

                                                        Google
                                                                  773~
                                                                                      *
                                                                                      427~

                                                                                     Coding Competitions




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1                                         EXHIBIT 3

2                      STANLEY'S RANKING IN META (FACEBOOK) HACKER Cup


3




        HACKER                                                                          ROUND3




                                         Meta recognizes


                                 Stanley Zhong (qpwoeirut)

                  for progressing to Round 3 of the 2023 Meta Hacker Cup




             Round 1                           Round 2                          Round 3
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              240th                             253rd                           329th




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1                                         EXHIBIT 4

2                             STANLEY'S RANKING IN MIT BATTLECODE




3




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1                                                       EXHIBIT 5

2                                       STANLEY'S RANKING IN CMU PICOCTF


3


4


    2nd place winners! W9 needed                                                                                            "'
                                                                                                                            V



                              andrew.cmu.edu>
                                    me•
                                                                                            @   Apr 5, 2023, 8:46AM   *   @)     +,


    Hi Crusaders of redpwn jr (Stanley Zhong,


    Congrats again on your amazing picoCTF 2023 performance! crusaders of redpwn jr won 2nd place! Your team will be awarded $2,000,
    split between each member.


    In order to receive your award money, we need each of you to please fill out and return the attached W9 form.


    In addition to your prize, we are looking to host an awards ceremony on CMU's campus in Pittsburgh, sometime this summer. Could you
    please let me know if June 1st would work for you? (Flights and hotels will be paid for by picoCTF)


    Best,




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1                                                                              EXHIBIT 6

2                                                  STANLEY'S RANKING IN STANFORD PROCO



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1                                       EXHIBIT 7

2           STANLEY ADVANCING TO USA COMPUTING OLYMPIAD PLATINUM IN 2021



~ USACO 2021                   us OPEN, PLATINUM
The platinum division had 453 total participants, of whom 333 were pre-college
students. We saw quite impressive results on the platinum problems in this contest,
with several perfect scores. Results for top scorers are here. Congratulations to all
of the top participants for their excellent resultsl

Your score on this contest was 489 (rank 104 among all pre-college participants
In this division). Each problem contributed 1000/3 possible points, with equal
points assigned to each test case; you can recall your performance on each test
case by clicking on a problem below and looking at your results in analysis mode.
       United Cows of Farmer John
     1 View 12roblem I Test data I Solution                Your submission

       Routing Schemes
     2 View 12roblem I Test data             Solution      Your submission

       Balanced Subsets
     3 View 12roblem I Test data             Solution      Your submission


-~ USACO 2021 us OPEN, GOLD
The gold division had 856 total participants, of whom 676 were pre-college
students. All competitors who scored 750 or higher on this contest are automatically
promoted to the platinum division. Detailed results for all those promoted are here.

Your score on this contest was 1000 (rank 1 among all pre-college participants
in this division). Each problem contributed 1000/3 possible points, with equal
points assigned to each test case; you can recall your performance on each test
case by clicking on a problem below and looking at your results in analysis mode.
       United Cows of Farmer John
     1 View 12roblem I Test data I Solution        Your submission

       Portals
     2 View 12roblem I Test data             Solution      Your submission

       Permutation
     3 View 12roblem I Test data             Solution      Your submission




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1                                              EXHIBIT 8

2                          NPR NEWS REPORT ABOUT COBOL COWBOYS

3 https://www.npr.org/2020/04/22/841682627/cobol-cowboys-aim-to-rescue-sluggis


4 h-state-unemployment-systems




                         KQED                                 ■ NEWSLETTERS    8 SIGN IN   Ii NPR SHOP




                    SPECIAL SERIES

                    The Coronavirus Crisis




                        'COBOL Cowboys' Aim To Rescue Sluggish
                        State Unemployment Systems
                        APRIL 22, 2020 • 6:17 PM ET

                        HEARD ON ALL THINGS CONSIDERED

                        ~ Bobby Allyn


                          0     2-Minute Listen                     -            0 CD e




5




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1                                         EXHIBIT 9

2                              STANLEY'S COBOL CODE ON G1THUB


3 https://qithub.com/gpwoeirut/LearninqCOBOL




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 1                                        EXHIBIT 10

 2                        EMAIL EXCHANGE WITH COBOL COWBOYS IN 2020


 3


 4 On May 25, 2020, at 6:52 PM, YYY <YYY@YYY.com> wrote:


 5


 6 Dear COBOL Cowboys,


 7


 a We hope you are having a wonderful Memorial Day.

 9


10 Our names are YYY and Stanley Zhong. We are programming enthusiasts. We                   .

11 became interested in COBOL after learning how the current COVID-19 pandemic


12 has caused issues with outdated COBOL programs. In the last month, we have


13 been learning it to see if we could help. Our code can be found on GitHub here


14 and here.


15

16 We found out about the COBOL Cowboys on the news and saw the work you are


11 doing to help people with their COBOL programs. If possible, we would like to


1a help. Would you be interested in us doing volunteer work for you?


19

20 As a matter of disclosure, we are both 14 years old, but ready and eager to help


21 the world in any way we can.


22


23 YYY and Stanley




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 1


 2------------------------------

 3


 4 From: XXX <XXX@cobolcowboys.com>


 s Date: Tue, May 26, 2020 at 12:22 PM

 6 Subject: Re: Volunteers Interested in COBOL


 1 To: YYY, Stanley

 8


 9 YYY and Stanley-


10

11 Howdy from Cobol Cowboys!


12


13 Thank you for reaching out and offering your volunteer services. We also


14 appreciate you sending us samples of your code. Good work guys.


15

16 We (Bill Hinshaw, Founder and myself) are intrigued by your interest and would


11 like to have further discussions with both of you.


18

19 An important next step, given your ages, would be to make contact with a


20 parent/guardian. I will need to talk to them on the phone and also get an OK in


21 writing (a quick email is fine) with their written approval for Cobol Cowboys, LLC,


22 to have an introductory teleconference with you both as well as follow-up emails.

23




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 1 YYY and Stanley, please forward this email to your parent/guardian and ask


 2 them to phone me at xxx-xxx-xxxx, so we may proceed. I am available today:


 3 now until 7pm and tomorrow through Friday, from 9am to 1pm.


 4


 s Please let me know the name of your parent/guardian that will be calling with an

 6 approximate time of their call.


 7


 a Bill Hinshaw and I look forward to possible future discussions pertaining to

 9 COBOL.


10


11 XXX, COO


12 Cobol Cowboys, LLC


13 Cell: xxx-xxx-xxxx


14 Email: XXX@cobolcowboys.com


15

16 not our first rodeo ...


17


18 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

19


20 Nan Zhong <nanzhong1@gmail.com>                 Tue, May 26, 2020 at 11 :31 PM

21 To: XXX <XXX@cobolcowboys.com>


22 Cc: Stanley, YYY@YYY.com


23




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 1 HiXXX,


 2


 3 I am Stanley's dad. Thanks for your quick response to the boys! I know Stanley


 4 was excited to see it.


 5


 6 Yes, please accept this email as the written approval for Cobol Cowboys, LLC, to


 1 have an introductory teleconference with Stanley as well as follow-up emails. I


 a am sure you will hear from YYY's parent soon as well.

 9


10 BTW, summer coding job is nothing new to Stanley. He interned at my startup in


11 2018, and programmed (in Python) the backend service (on AWS) that


12 automatically runs insurance quotes. These days he is very much into


13 competitive programming (mostly in C++) and computer security contests.


14


1s YYY and Stanley are school friends. Both live the Bay Area, CA. Based on the

16 NPR news story, I believe you live in Gainesville, Texas, 2 hours ahead of us. If


11 that is correct, can I call you at 11am your time (9am my time) on Wednesday


1s 5/27? I will call from my mobile number xxx-xxx-xxxx.

19


20 Looking forward to speaking with you!


21


22 Thanks,


23 Nan




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 1


 2------------------------------

 3


 4 XXX <XXX@cobolcowboys.com>Wed, May 27, 2020 at 6:48 AM


 s To: Nan Zhong <nanzhong1@gmail.com>

 6


 1 Nan-


 8


 9 9am your time (11amCST) today works fine.


10


11 The work you've described that Stanley has been doing is most impressive.


12 Thanks so much for your email.


13


14 Will talk soon.


15

16 XXX, COO


11 Cobol Cowboys, LLC


1a Cell:   xxx-xxx-xxxx
19 Email: XXX@cobolcowboys.com


20


21 not our first rodeo ...


22




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1                                                            EXHIBIT 11

2                                       RABBITSIGN FOUNDED BY STANLEY IN 2021


3 www.rabbitsign.com


    ~n,/                   Features    FAQ      Team     Contact                                                                                    Sign Up    Log In




                   Get Unlimited Free E-Signing
                                             Not a free trial. Not a free tier. Completely free. Period.
                                                                       See how.


                                                                          Get Started




                                                                                       Won Accolades from
                                                                                            Experts
                                                                                   An AWS Well·Architected Review concluded that RabbitSign was•- of
                                                                                    1he -      ncure and efficient---.• reviewed. RabbltSign Is In the
                                                                                    editorial pipeline to be featured in an AWS case study for its exemplary
                                                                                               usage of AWS Serverless and compliance services.




                 Audited by Trusted
                   Third Parties
              RabbitSlgn has achieved both SOC 2 Type II compliance with an
          unqualified opinion and ISO 27001 :2022 compliance. Sign m to download
            RabbitStgn"s compliance reports. Verify RabbitSign"s ISO 27001 :2022
                                   certification on IAF here.

4


5


6


7




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1    https://blog.rabbitsiqn.com/launchinq-an-unlimited-free-e-siqning-service-fe77a5

2    0a66aa


    Medium              Q     Search                                           0 Write



     Launching an Unlimited Free E-
     Signing Service
      RSI RabbitSign Team • Follow
             2 min read • Jun 20, 2021




                                                                               W 0       o




     I'm Stanley, founder of RabbitSign.


     The pandemic made e-signing essential. But I got frustrated that all the e-
     signing solutions had very limited free tiers (or no free tier at all) so I
     decided to make an unlimited free e-signing solution. This led to the creation
     of RabbitSign.
3


4




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1                                         EXHIBIT 12

2          EXCERPT OF THE AWS WELL-ARCHITECTED REVIEW (WAR) FOR RABBITSIGN




              • Reducing administrator privileges to follow 1AM best practices. protecting
                themselves from potential insider threats.
              • Enabling WAF for CloudFront Distributions, which will help protect Rabbit Sign's
                web application from common web exploits like SQL injection and cross-site
                scripting.
              • Enabling server-side encryption on their SNS topics for encryption at rest and
                also enabling delivery status logging, ensuring that their SNS topics are secure and
                that they can track the delivery status of their messages.

             overall, Cloud303 conduded that Rabbit Sign's account is one of the most efficient and
             secure accounts they have reviewed. The remediations that were implemented
             demonstrate Rabbit Sign's commitment to following AWS security best practices. They
             also ensure the confidentiality, integrity, and availability of data and infrastructure,
             protecting Rabbit Sign and its customers from potential security threats. Cloud303
             believes that this account would be an ideal AWS case study to demonstrate how using
             serverless infrastructure can help companies operate more cost-efficiently.


3




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                                                                                           Fri, Mar 10, 2023, 4:51 PM   * @)       +,


Stanley,


I am back from my ind ski trip now, yes. Had to head down to CO for ■·s birthday and to teach him a few things on the mountain. Glad to hear
the feedback after the WAR, that's an accomplishment my man. Cloud 303 correct me if I am wrong but have done more WARs than AWS
Partner ever? That's awesome. Throw some lime on my calendar for next week and I'll sync up with-n my side. Looking forward to catching
up

Schedule 20 Min M 1 1 t t n g ~



 aws E:
 .....__..,..,
                 0:
   Work hard. Have fun. Make history.




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1                                                 EXHIBIT 13

 2                     EMAILS FROM AWS REGARDING THE RABBIT51GN CASE STUDY


3


4



                                                                                @   May 8, 2023, 6:24AM      *      ~



Great news! The blog proposal has been accepted. @Stanley from RabbitSign I have to get RabbitSign added to our
internal reference finder for us to be able to write about their journey - I have submitted this request and will let you know
if there is anything I need from you for this.




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1                                                EXHIBIT 14

2                             GOOGLE'S FULL-TIME EMPLOYMENT OFFER LETTER


3


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     Google                                                                                                    Stanley Zhong

                                                                                                           20 September 2023


                                                                         This offer supersedes and replaces any prior versions

     Dear Stanley,
     Thank you for your interest in Google LLC! We are delighted to offer you the exempt position of Software Engineer in the
     Sunnyvale office. We look forward to working with you!
5




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    1                                                          EXHIBIT 15

    2         INDUSTRY NEWS COVERAGE FOR RABBITSIGN'S FREE HIPAA-COMPLIANT E·SIGNING


    3    https://www.hipaajournal.com/rabbitsign-achieves-hipaa-compliance-for-its-free-

    4    e-signing-solution/



.HIPAA                                                                                              The HIPAA Journal is the leading provider of news. updates,
                                                                                                                and independent advice for HIPAA compliance
UJOURNAL

Become HIPM Compliant•    HIPM New5 •     HIPM Compliance Checklist   Latest HIPM Updates•   HIPM Training•   About Us•




   RabbltSlgn Achieves HIPAA CompUance for
   Its Free •-Signing Solution
   Posted By Steve Alder on Sep B, 2022


   RabbitSign. a Palo Alto. CA-based provider of a free-to-use. unUmlted e-slgnlng solution. has been                          GetTheFREE
   assessed by CompUancy Groups HIPM compliance experts who determined the solution Is compUant                             HIPAA Compliance
   with the HIPM Rules.                                                                                                         Checklist
   RabbitSign was devised and developed during the COVID-19 pandemic as a zero-cost e-signing solution                     Immediate Delivery of 01eck~st
                                                                                                                              Link To Your Email Address
   for businesses. non-profits. and government entitles. with the company providing the solution for the
   greater good rather than to maximize profits.
                                                                                                                           WorkEma11·

   All software solutions used by HIPM-covered entities which come into contact with the protected health
   information of individuals must support HIPAA compliaol:e, Since the e-signing solution could be used in
   connection with electronic PHI. RabbitSign would be classed as a business associate under HIPM if the
   solution was provided to HIPM-covered entities.
                                                                                                                            Please Enter Correct Email Addrt1ss
   To broaden its userbase and allow HIPM-covered entities to use the solution. RabbitSign partnered with
                                                                                                                                    YourPrlv«y-
   Compliancy Group and used the company's HIPM compliance methodology to take all the necessary                                  ►ilPM Joumal Prwacy Pollc"t


   steps to ensure compliance with the HIPM Privacy. Security. Breach Notification. Omnibus Rules. and the
   HITECH Act The company's progress toward HIPM compliance was tracked using CompUancy Groups
   HIPM compliance tracking software solution - The Guard.




   Through that process. which involved a 6-stage risk analysis and remediation program. RabbltSign
   demonstrated its good faith effort toward HIPM compliance. and the company was awarded the HIPM
   Seal of CompUance. which demonstrates to current and future users of the solution that the company Is
   committed to ensuring the security of ePHI and has an effective HIPM compLiance program in place.




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1                                        EXHIBIT 16

2         EPISODE OF VIEWPOINT WITH DENNIS QUAID FEATURING RABBIT51GN AND STANLEY


3


4    https://www.viewpointproject.com/features-postidd3e6da 7 al

    •;ffiM\Hi·J




                                                                  STANLEY ZHONG
                                                                               Founder & CEO • RabbitSlgn




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1                                                                        EXHIBIT 17

2                                                                          STANLEY'S GPA




        Henry M. Gunn High Transcript                                                                                                                Zhong, Stanley
        School Code: 4332904 Tel: (650)354-8200             Fax: (650)493-7801                                                     Student Number:- Grade: 12
        780 Arastradero Rd. Palo Alto, CA 94306                                                                         Generated on 11/27/2022 09:40:33 PM Page 1 of 1



                                                                           f\4WIMHenryM.hnnlllth
                                                                  CeurM                    Mark weight Cratllt
         Stlllhm Number:                       15radr. 12          2021-2022 Grade 11 Tarm 2
         llrthdate:                Gender. M       8631! CS C1pstone                A    5.0000 5
         Stace JD:                                 1179 Philos 1.Jt                 A    5.0000 5
         Counseler:                                5092 Prnc Of Engr H PLlW         A-   S.0000 5




                                                                  ~-
       . - - - - - -...- - - - - - - - - - - - . .        Crwdlt: 311.0CNl GPA: UM7 U/WGPA: 4.0000
                      IPA S..mmary
        Cumulative GPA (Weighted)                  4.4242



                                                                                                         ~·=
        Cumulative GPA (Unweighted)                3.9697
                                                                   2021-2022 Grade 11 Term 3
       ...
         w_•_lg_h_r.c1_1_0-_1_2_A_-G_G_._,._ _ _ _ _ _
                                                     4._58_3_3_... St58 L~!:~ 5.0CN) GPA:.__ u;! ••                5

                   t4DZI04 Henry IL liunn 111th
        eeu..                            -      Welgllt: er.die                     ~c--
         2011-2020 Grade 09 Term 1                                1525 An.JlytlcCollWrit                          5.000
         620S An Spec 1           A              S.0000   5       2459 AP C.kulus BC                              5.000
         3115 Biology 1A          A              5.0000   5       1762AP Human Geogr•phy                          5.000
         "401 OChinese 1          A+             5.0000   5       3859A AP Phys,cs C: Mechanics                   5.000
         1110 Communic            A              5.0000   5       2319 AP S"'tistics                              5.000
         2"401 Geom H             A              5.0000   5       1111 Econ AP                                    S.000
         2791 PE 9/11             A              5.0000   5       0676 Tchr Asst                                  5.000
         1'25 Wld Hist            A              5.0000   5
               c,w,llt:JS.oao GPA:...- UNIGPA:"--
                                                                  ~~
         2011-2020 Grade 09 Term 2                                ~,._.,,,,-li--:IO'I••-·
         i205 An Spec 1                     CR    5.0000 5        Alg In . . . . . 5cheol
         3115 Biology IA                    CR    5.0000 5
         "4010 Chinese 1                    CR    5.0000 5        H!gh~           Attempled EarMCI lequll'N ...,,.,lnlng
         2"408 Geom H                       CR    5.0000 5        Wldh            10.000    10.000 10.000 0.000
         2792 PE 9/12                       CR    5.0000 5
         0117 Western literature            CR    S.0000 S        USGovt          5.000     5.000 5.000     0.000
         1625 Wld Hist                      CR    5.0000 5        Contwld         5.000     5.000 5.000     0.000
               c,..111: JS.OCIO GPA: o.oaao U/W GPA: 0 . -        USH             10.000    10.000 10.000 0.000
                                                                  Econ            0.000     0.000 5.000     5.000
         2020-2021 Grade 10 Term 1
         2416 Alg2/TrtgH                A     5.0000 5            SSt             0.000     0.000 5.000     5.000
         2491 B APCompSC1 A             A     5.0000 5            English         30.000    30.000 "40.000 10.000
         3625 Chemistry H               A     5.0000 5            Algebra         0000      0.000 0.000     0.000
         "4020 Chinese 2                A+    5.0000 5            Geometry        10.000    10.000 10.000 0000
         1193 Lit Style                 A     5.0000 5            Algebra 2       10.000    10.000 10.000 0.000
         2696 PE 10                     A•    5.0000 5
         1753 US Govt                   A+    5.0000 5            Math            10.000    10.000 0.000    0.000
               Credit: 35.0CNl GPA: U2U UNI 6PA: 4.0000           BIOi SCi        10000     10.000 10.000 0.000
                                                                  Phys Sci        20000     20.000 10,000   0.000
         2020-2021 Grade 10 Term 2                                World Long
         2416 Alg2/TrigH                  A     5.0000 5
                                                                  (Level 2)    10.000         10.000 10.000    0000
         2491 B APCompSCi A               A     5.0000 5
         3625 Chemistry H                 A     5.0000 5          Fine Arts    10.000         10.000 10.000    0.000
         "4020 Chinese 2                  A     5.0000 5          ureer Voe Ed 30.000         30.000 10.000    0.000
         1191 Cont Herlt                  B+    5.0000 5          LivmgSl<ills 5.000          5.000 5.000      0.000
         1641 ContWld 11                  A     5.0000 5          PE           20.000         20.000 20.000    0.000
         2696 PE 10                       A     5.0000 5
               CrNlt: JS.OCNl GPA: 4-llS7 UNI GPA: 3.1571         ElectMS      10.000         10.000 45.000    0.000
                                                                  Toe.I        205.000        205.000220.000   20.000
         2021·2022 Grade 11 Term 1
         2399 Anolysls H                   A+    5.0000 5
         3824 AP Physics 1                 A     5.0000 5
         1699 AP US History                A     5.0000 5
         1638 CS C.ps1one                  A     S.0000 s          This 1s •n UNOFFICIAL tra.nscript
         5092 Prnc Of Er,gr H PLlW         A     5.0000 5
         7662 World OHSks H                A     5.0000 5
               Credit: 30.000 lil'A: 4.ID3 UIW GPA: 4.00CNl
         2021-2022 Grade 11 Term2
         2399 Analysis H                  A      5.0000 5
         3824 AP Physics 1                A      5.0000 5
         169!1 AP US History              A-     5.0000 5




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1                                              EXHIBIT 18

2              STANLEY'S QUALIFICATION FOR ELIGIBILITY FOR LOCAL CONTEXT (ELC)


3




       How your application is reviewed
       University of California Fall Quarter/Semester 2023 application

       Application ID:1166008
       Name: Stanley Zhong



       Campuses review each individual application carefully and consider more than just grades.
       There are multiple factors that all UC campuses weigh, although campuses often apply these
       factors differently. To review these factors [Zl , visit UC's admission website.


       You rank in the top 9 percent of California high school students, based on your A-G course
       totals, UC GPA and our admissions index 0 . If you meet the minimum admission requirements
       and aren't admitted to any UC campus to which you applied, you will be offered a spot at
       another campus if space is available.




           Return to "Application status"

4




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1                                                                       EXHIBIT 19

2                                            HIGH SCHOOL RANKINGS BY US NEWS AND WORLD REPORT


3    https://www.usnews.com/education/best-high-schools/california/districts/palo-alt

4    o-u n ified-school-d istrict/hen ry-m-gu n n-h ig h-school-2992

5


     ,fi, Henry M. Gunn High School
      1
          -.:; ., ·i~   )-.,,.:r:,,
                                         780 Arastradero Rd., Palo Alto, California I (650) 354-8200 I .ti Award Winning G)

                                         #135 in National Rankings

                                         Overall Score 99.24/100


     Ovrdew                           Student Body    Test Scores    Map




     Overview of Henry M. Ciunn High School
     Henry M. Gunn High School is ranked 14th within California. Students have the opportunity to
     take Advanced Placement® coursework and exams. The AP® participation rate at Henry M.
     Gunn High School is 83%. The total minority enrollment is 72%, and 10% of students are
     economically disadvantaged. Henry M. Gunn High School is 1 of 4 high schools in the Palo Alto
     Unified School District.


     Henry M. Ciunn High School 2024 Rankings
     Henry M. Gunn High School is ranked #135 in the National Rankings. Schools are ranked on their
     performance on state-required tests, graduation and how well they prepare students for college.
     Read more about how we rank the Best High Schools.

     All Rankings
                                                                                             SCORECARD                        99.24
     "" #135 in National Rankings
                                                                                            Took at Least One AP® Exam          113%
     4 #14 in California High Schools
                                                                                             Passed at Least one AP® Exam       711%
     .,; #4 in San Jose, CA Metro Area High Schools
                                                                                             Mathematics Proficiency            82%
     ,,_ 138 in STEM High Schools
                                                                                             Reading Proficiency                87%

                                                                                             SCience Proficiency                 81%

                                                                                             Graduation Rate                    96%

6




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1                                                                   EXHIBIT 20

2                                                      HIGH SCHOOL RANKINGS BY NICHE


3       https://www.niche.com/k12/henry-m-gunn-high-school-palo-alto-ca/


        NICHE®~                        Find a school or district ..,                   P       In San Francisco Bay Area              e @-
        School Search      School Rankincs     Schools Near You




                                                                      +
                                                                                                                                                    -
                                                             VA Palo Alto Health
                                                                  ca~system
                                         CoyotcHil/~                                   !I                                                      CASTRO CIT\   ;,.;
                                                                                Gunn Hi&fl School                                                            '-·




                                                                                             AltaMna  •
                                                                                            Memorial Park


    ........
    ;
    ..,. PUaLIC SCHOOL
           Palo Alto Unified School District

           Henry M. Gunn High School 0
           #1 In Best Public Hi h Schools in San Francisco Bay Area
               Overall Grade • PubLic • 9-U • PALO ALTO, CA •       **...*       346 reviews




                                                            •                                 ••                              ••
         • Report Card

           About                                                                                          Academics                Diversity

           Rankings
                                                                                                          Teachers                 College Prep
                                                    Overall Niche Grade



                                                                                                                              •
           Academics

           Map

           Home Listings
                                                     How are g~s calcul.ited?
                                                           Data Sources
                                                                                               •  •
                                                                                              \;.;,,      Clubs &Activities



                                                                                             View Full Report Card v
                                                                                                                                   Administration



           Living in the Area
4


5




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      Henry M. Gunn High School 0
      Pubhc • PALO ALTO, CA                                                                                                              ~•-11_d_d_To_L_is_1_,I   ~
        Report Card

       About                                Henry M. Gunn High School Rankings
      • Rankincs                            Niche ranks nearly 100,000 schools and districts based on statistics and millions of opinions
                                            from students and parents.
       Academics

        Map                                 Best Public High Schools             Best College Prep Public             Best Public High School
                                            in California                        High Schools in California           Teachers in California
        Home Listings
                                            #4of2,027                            #8 of 1,598                          R18 Of 1,721
        Living in the Area

        Cul tu re & Safety

        Students
                                                                                                   See All Henry M. Gunn High School Rankings >
        Teachers

        Clubs & Activities

        Similar Schools
                              Academics
        Reviews


                              Percent Proficient - Reading       0                         Percent Proficient - Math          0

                              87%                                                          82%
                                                                                           Popular Colleges
                                                                                           N,che users from this school are most mterest,ed m the
                              Average Graduation Rate        0                   97%
                                                                                           following colleges.

                                                                                                University of California - Los
                              Average SAT     O                                 1430       •    Angeles
                                                                                                                                           483Stvd•nts
                                                                         705 rn~pOr\5('5


                                                                                           •     University of California• Berkeley        400 Stud•nts


                                              •
                                                                                           •
                              Average ACT                                           32
                                                                         JlOrespOME"S
                                                                                                 University of California - San
                                                                                                                                           375Studenls
                                                                                                 Diego
                              AP Enrollment                                      40%
                                                                                           Morev
                              Niche College Admissions Calculator
1


2




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1                                              EXHIBIT 21

2                                    STANLEY'S PSAT AND SAT SCORES


           V     fl      SAT Suite                                                            Hl,SfanlaJ-



         Student Score Reports                      My Score Reports v          Score Sends      More "




                                            Hi, Stanley.
           Your 2 score reports are below-your most recent report is at the top.
           Click any report for more details or to download a copy.




                      SAT

                      December 4, 2021
                      11th Grade
                                          1590                             400to
                                                                           1600


                                         Your Evidence-Based
                                                                                                >
                                         Reading and Witting Score   Your Math Score

                                         790        200 to SOO       800        200 to BOO




                      PSAT/NMSQT

                      October 13, 2021
                      11th Grade
                                          1520                             320to
                                                                           1520



                                         Your Evidence-Based
                                                                                                >
                                         Reading and writing Score   Your Math Score

                                         760        160to760         760        160to 760




3




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1                                                         EXHIBIT 22

2                  STANLEY'S NATIONAL MERIT SCHOLARSHIP FINALIST CERTIFICATE




                                NATIONAL MERIT SCHOLARSHIP CORPORATION
               "I               1560 Shcnnan Avenue. Suilc 200. Evanslon, Illinois (,()201-4897 (847) 866-5100



                                                                                         February 13, 2023



               STANLEY L. ZHONG
                                                                                         Semifinalist ID#: 23-16372

               PALO ALTO CA 94306                                                        Sclcc1ion Unit #: 05-2130


               Dear Finalist:

               Congra1ulations! You have advanced to Finalist standing in the 2023 Na1ional Merit& Scholarship Program, a
               distinction that places you in a group of more lhan 15,000 students, representing less than one percent of U.S. high
               school graduating seniors. A Certificate ofMerit attesting to this accomplishment has been sent to your principal for
               presentation to you.

               The National Merit Scholarship Program is privately financed, and the majority of scholarships offered arc
               underwritten by approximately 340 independent sponsor organizations and institutions. Although this nationwide
               academic competition is the largest of its kind, scholarship funds arc Ii mi led and only about 7.250 of the Finalists
               will receive a Mc.Til Scholarshiplll> award.

               Three types of National Merit Scholarships will be offered in 2023; no Finalist can receive more than one award.

                        All Finalists are being considered for one of the 2,500 single-payment Nalional Meril $2500 Scholarships
                        that will be offered on a state rcprescnlational basis.

                        Finalists who meet specific criteria of a company or business spon.,or will be considered for one of about
                        950 corporate-sponsored Merit Scholarship awards. Most of these awards are designated for Finalists who
                        are children of a sponsor's employees, but some arc offered for residents of areas where lhe company is
                        located. and a limited number arc reserved for students planning to cnlcr career fields a sponsor wishes 10
                        encourage.

                        Finalisls who mccl the three conditions listt'Cl 011 the reverse side of thL, letter may be considered for one of
                        about 3,800 college-sponsored Merit Scholarship awards to be financed by U.S. colleges and universities that
                        have made sponsor arrangements with National Merit Scholarship Corporation (NMSct').

               Every Merit Scholarship award must be used for full-time attendance at a college or university in the United States
               that holds accrcdiled status with a regional accrediting commission on higlk.-r education. Our records show that as of
               January 12, 2023, the regionally accredited U.S. college you reported to NMSC as your tint choice is:

               Stanford Unlvtrslty

               Please log in to NMSC's Online Scholarship Application (OSA) to keep your email and mailing addresses up to dale
               throughout the spring. We will begin notifying winners of National Merit Scholarship awards by email in March.
               Finalists who have not been chosen 10 receive a Merit Scholarship award will be informed by mail in mid-May after
               most selections have been completed. All of us associated with the National Meril Scholarship Program salute you
               for your attainments lo dale and offer our best wishes for the rcalizalion oflhe high goals you set for yourself.




                                                                                         (J:'~
                                                                                         James C. Wittenberg
                                                                                         Director of Scholarship Administration



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1                                        EXHIBIT 23

2 STANLEY'S ROLE AS A FOUNDING OFFICER AND PRESIDENT OF THE COMPETITIVE PROGRAMMING


3                                    CLUB AT HIS HIGH SCHOOL




                                                                         Amount
                                                                        N /J\




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   1                                                        EXHIBIT 24

   2                                       OPEN8RACKETS CO-FOUNDED BY STANLEY


   a https://www.openbrackets.us/

•••
{ { {                                                                                                                                     Get Involved




   The OpenBrackets Spring Semester starts on Monday.February 3rd and end on Friday.April 11th. Click here to register your free spot
   today (spots are limited, so hurry)!



                                                                                                                 Testimonials
  Bridging the Digital Divide                                                                            "AHyourstaffwettamazingand
                                                                                                         worked so well with our children
                                                                                                         considering the circumstaZJce._ My
                                      Our Mission                                                        son had ZJev.r doZJe any codirJg before
 At OpenBrackets, we want to help bridge the digital divide. Inspired by the Black Lives Matter          aZJd not oZJly did he learn so much
 movement in Spring/SUmmer 2020, we wanted to make an Immediate change In our                            from this experieZJce but eZJjoyed his
 community. Through our courses, we provide support In computer science to middle and                    time with you all as well."
 high school kids who may not receive It at home,and encourage kids to consider tech as a
 career.regardless of their background. We also provide students with the opportunity to hear
 from Guest Speakers in the Industry, to see the versatility a computer science foundation can           •I wanted to tlunk you all for having
 provide. OpenBrackets is run by students, for students.                                                 this cha for our children. Though I
                                                                                                         know that it was dilm:ult to navigate
                                                                                                         remotely.my son was still able to get
                                          Impact                                                         so much out ofit.Allyour staff were
 Our students come from the following schools. Most of the schools are in low-Income areas               amazing and worhd so well with our
 with a higher percentage of residents of color.                                                         c/Jildren considering the
                                                                                                         circumstances. My son had never
                                                                ,_ _ _ _ _ _ .,,_
                                                                .....       ,.
                                                                   IQ,i;,;I0,0;11.J(t)
                                                                   ·-•11,JP)
                                                                                                         done any coding before and not oZJly
                                                                                                         did he learn so much from this
                                                                                                         experieZJce but enjoyed his time with


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                                                                                                         daughter in a coding program as they




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1                                        EXHIBIT 25

2                      STANLEY'S PRESIDENT'S VOLUNTEER SERVICE AWARD


3


4 For his volunteer work at OpenBrackets, Stanley received the highest level of


s PVSA in 2021. His volunteer hours were certified by two adult advisors at

6 OpenBrackets.




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 1                                        EXHIBIT 26

 2                     NEWS REPORTS ON STANLEY'S COLLEGE ADMISSION STORY


 3


 4 ABC7 Interview of Stanley and Nan on 10/10/2023


 s https://abc?news.com/stanley-zhong-college-rejected-teen-full-time-job-google-admissio

 6 ns/13890332/


 1   a Bay Area high school grad rejected by 16 colleges hired by Google



 s ABC7 follow-up interview of Stanley on 10/13/2023

 9 https://abc?news.com/high-school-grad-rejected-by-colleges-stanley-zhong-schooler-lan


10 ds-google-job-bay-area/13909470/

11   a High school grad rejected by 16 colleges reveals how he got Google job


12 ABC7 follow-up interview of Nan on 10/16/2023


13 https://abc?news.com/stanley-zhong-google-bay-area-teen-college-admissions-transpar

14 ency/13925114/

1s   a Dad of CA teen rejected by colleges but hired by Google calls for admissions trans ...


16 CBS 10/20/2023

11 https://www.cbsnews.com/news/stanley-zhong-google-software-engineer/


18

19 CNBC 11/8/2023

20 https://www.cnbc.com/2023/11 /08/dad-of-18-year-old-google-engineer-shares-his-top-pa


21 renting-rule.html




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 1 People 10/20/2023


 2 https://people.com/high-school-graduate-rejected-oyer-dozen-colleges-lands-jobs-at-goo

 3 gle-8364398




 4 USA Today 10/13/2023



 s https://www.usatoday.com/story/news/education/2023/10/13/google-hired-high-school-gr

 6 ad-col leges-rejections-stanley-zhong/71166136007 /




 1 Business Today 10/17/2023


 a https ://www. busi nesstoday. in/technology/news/story/google-vs-col lege-google-hires-18-y
 9 ear-old-as-software-engineer-after-16-colleges-reject-him-402101-2023-10-16


10


11 Yahoo News 10/11/2023


12 https://news.yahoo.com/bay-area-teen-rejected-16-204200918.html

13

14 Palo Alto Online 10/23/2023


1s https://www. paloaltoonli ne. com/news/2023/10/23/from-gunn-to-google-meet-stanley-zho

16 ng-the-18-year-old-college-reject-who-landed-every-techies-dream-job



11 Sing Tao Daily 10/4/2023


1s https://epaper sjngtaousa.comlflippingbook/epaper       sf/2023/202310101211


19 World Journal 10/13/2023


20 https://www.worldjournal.com/wj/story/121469/7504367


21 https://www.worldjournal.com/wj/story/121472/7504474




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1                                        EXHIBIT 27

2              CONGRESSIONAL HEARING CITING STANLEY'S COLLEGE ADMISSION CASE


3


4 https://www.youtube.com/live/4Zu5cdfv9kk?si=XufizKznBZZZlnWo&t=2587


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1 https://democrats-edworkforce.house.gov/imo/media/doc/mike                                 zhao.pdf

2 (Appendix A, page 4)




    Stanley Zhong, an axcaptlonal student 111Jactad by 16 collages In 2023                                           •


• Academic Performance: GPA{UWN/}: 3.97/4.42. SAT: 1590 & National Merit Scholarship finalist
• Finalist of major global programing competitions:
      •   Advanced to the Google Code Jam Coding Contest semi-final
      •   Led his team to the 2nd place in MIT Battlecode's global high school division (1st place in the US)
• An Innovator and entrepreneur: Created an a-signing startup (RabbltSlgn.com) that's
      • GrO'Nll to tens of thousands of users organically.
     • Recognized by an Amazon Web Services Well-Architected Review as •one of the most efficient
        and secure accounts• they have reviewed.
     • Featured by Amazon Web Services case study for its exemplary use of AWS Serverless and
        compliance services.
     • Interviewed by Viewpoint with Dennis Quaid, a series of short documentaries on innovations.
        (past guests included President George H.W. Bush & Fortune 500 CEOs.)
• Co-founded a non-profit that brought free coding lessons to 500+ kids In underserved
  communities in California, Washington, and Texas.
• Hired by Google {full-time) but rejected by 16 colleges including Stanford, MIT, CMU, UC Berkeley,
  UCLA, UC San Diego, UC Santa Barbara, UC Davis, California Polytechnic State University, Comell,
  Univ of Illinois, Univ of Michigan, Georgia Tech, CalTech, Univ of Wisconsin, and Univ of Washington.


Page4         Seplember 2023                            Copyright Cl Allan American Coalition for Education 2023. All rlghll ,-ved.




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1                                               EXHIBIT 28

2                       PROTESTS AGAINST SFFA AND RACE-NEUTRAL ADMISSIONS


a https://www.harvardmagazine.com/2023/07/rally-against-scotus-ad missions-ruli

4    ng


                                                     HARVARD
       Harvard Students Protest Supreme
       Court Ruling
       With a march and speeches, students vowed to fight back.
       by Ryan Doan-Npyen




       At a rally In Harvard Yard on July 1, demonstrators expressed their opposition to the Supreme Court
       decision endln1 race-conscious admissions.
5




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 1------------------------------

 2


 3    https://www.youtube.com/watch?v=OFN4SeF-Lh4

 4    Harvard Students Rally in Support of Affirmative Action After Supreme Court

 s Ruling




 6


 7


8------------------------------

 9


10    https://youtu.be/Ruc1 BIRvsDo?si=FFkWoJiWy gmHawn&t=89

11    University of Texas students argue over anti-affirmative action bake sale




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2


3------------------------------
4


s https://www.youtube.com/watch?v=61 ywDg-vEZg

6    Protesters Clash in Washington After Supreme Court Ends Affirmative Action




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9------------------------------



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1


2    https://www.youtube.com/watch?v=zzee0Bthe9A

a Affirmative action supporters rally against Supreme Court ruling in 2005




4




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1                                             EXHIBIT 29

2       HARVARD THEN-PRESIDENT CLAUDINE GAY RESPONDING TO SUPREME COURT RULING


3 https://www.nbcnews.com/politics/supreme-court/supreme-court-strikes-affirmativ


4 e-action-programs-harvard-unc-rcna66770


s At 1:46 of the video clip

    ,t.NBCNEWS               Supi-. Court ltrtkN down ocllqe afflmmivc     SHARE ,. SAVE -   f X    Ill   •• •   h




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1                                                  EXHIBIT 30

2     PROFESSOR JANELLE WONG AND PROFESSOR VIET THANH NGUYEN'S LA TIMES OPINION




4 https://www.latimes.com/opinion/story/2023-06-14/affirmative-action-supreme-co


s urt-harvard-case-asian-americans


                                              i!os .Angeles mt                                             LOGIN      ~



      Opinion: Affirmative action isn't hurting Asian Americans.
      Here's why that myth survives




      Supporters of affirmative action in higher education rally in front of the U.S. Supreme Court before oral arguments
      in Students for Fair Admissions vs. President and Fellows of Harvard College and Students for Fair Admissions vs.
      University of North Carolina on Oct. 31, 2022. (Chip Somodevilla / Getty Images)


      By Janelle Wong and Viet Thanh Nguyen
6




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1                                        EXHIBIT 31

2                      STATE AUDIT OF UC BERKELEY'S ADMISSIONS IN 1987


3


4    https://www.auditor.ca.gov/pdfs/oag/p-722.pdf




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1                                         EXHIBIT 32

2                             UC BERKELEY CHANCELLOR'S APOLOGY IN 1989


a https://www.latimes.com/archives/la-xpm-1989-04-07-mn-1075-story. html

4



      CALIFORNIA



     UC Berkeley Apologizes for Policy That Limited Asians
     L.A. Times Archives

     April 7, 1989 12 AM PT


       ~ Share


     SPECIAL TO THE TIMES

     OAKLAND -      Seeking to put to rest a five-year dispute, UC Berkeley Chancellor Ira
     Michael Heyman apologized Thursday for admissions policies that caused a recent
     decline in Asian undergraduate enrollment and pledged to help change those entrance
     requirements.


     "It is clear that decisions made in the admissions process indisputably had a
     disproportionate impact on Asians," Heyman said at a press conference here with leaders
     of the local Asian community. "That outcome was the product of insensitivity. I regret
     that that occurred."


     Heyman said he could not determine whether officials who developed and implemented
     the admissions policies were intentionally trying to set a ceiling on Asian enrollment, as
     members of the Asian community have charged.
5


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1                                        EXHIBIT 33

2                          SURVEY OF COLLEGE ADMISSIONS DIRECTORS


3


4    https://www.insidehighered.com/news/survey/pressure-build-class-2016-survey-

s admissions-directors

6




      Admissions Directors on Asian-American Applicants


                                                                    Public Private
       Statement
                                                                     %Yes        %Yes
       Do you believe that some colleges are
       holding Asian-American applicants to                           39%         42%
       higher standards?
       At your college, do Asian-American
       applicants who are admitted generally
                                                                      41%         30%
       have higher grades and test scores than
       other applicants?
7




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1                                          EXHIBIT 34

2           FORMER DARTMOUTH ADMISSION OFFICER ON DISCRIMINATION AGAINST ASIANS


a https://www.huffpost.com/entry/the-ivy-league-asian-prob b 10121814

      From where we sit as advocates for transparency in admissions and as advocates for high
      school students and their parents, the complaint Is valid. I've seen from the Inside (as a
      former admissions officer at Dartmouth College) how even the so-called •holistic process"
      can discriminate against Asian students. I share some of this Insider Information here:
      Behind the Scenes in an Ivy League Admissions Office. Often high-scoring Asian applicants
      with top GP.A:s were seen as "passive," "robotic," and "just another violin/piano playing
      standout" with "lack of spark." Though I don't think discrimination was Intentional, there
      persisted a stereotype that the majority of Asian appllcants were strong In math/science,
      played the violin or piano at a high level, attended Chinese (or Korean) school on
      weekends and often did tutoring, Kumon, high level math contests and award-centered
      activities like Academic Decathlon or Quiz Bowl. At committee discussions, Asians students
      were often rejected because they "didn't stand out," were "too quiet," "low Impact" or "too
      one-sided."


      Having seen this kind of discrimination first-hand working In an Ivy League admissions
      office, It comes as no surprise that working with students In private consulting for the past
      20 years, we've seen continued discrimination. We tell the Asian clients we work with (both
      US citizens and International students) that It's not good enough to have the "average" Ivy
      SAT scores of 730 or so - if you are Asian, you have to be well above average (a third party
      study proved that number was actually 140 points higher than the average for white
      students) to get Into top US Colleges. We also focus our Asian clients on high level reading
      and vocabulary as the quickest way for Asians to be rejected Is a low Critical Reading score
      on the SAT. Though S00's on the SAT math section Is de rlgueur, fewer Asian students
      excel on the Critical Reading section of the SAT. We put our younger students on a strict
      reading and vocabulary program for this reason. As educators first, we want our students to
      have college choices, of course, but we also want them to deepen their love of learning
      and ability to embrace and even enjoy the classics.
4




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1                                                EXHIBIT 35

2     EXCERPT FROM THE SFFA's LEGAL COMPLAINT ABOUT ASIAN-AMERICAN APPLICANTS AND


3                                                   THEIR FAMILIES



                   E.    I   Alian-American Applicants And Their Familia Kaow That They Are
                             Icing Qisqtpai19tc4 Au111! By Elltc PPbmitin-
                                                                                                       I
                   262. Asian Americans are not blind to the discrimination employed by Harv&Id

            and other elite colleges and universities.

                   263. According to Princeton economist Uwe Reinhardt, ..within the Asian

            community, of which rm a part, there's this feeling that, for you to get into Harvard or

            Princeton, you've got to be better than everybody else."

                   264. According to Kara Miller, a former Ivy League admissions officer, "Asian

            kids know that when you look at the average SAT for the school, they need to add SO or

            100 to it. If you're Asian, that's what you'll need to get in."

                   26S. For example, Iris Wang, a senior at Hunter College High School, one of the

            best public high schools in America, scored a 1S20 SAT score and had top grades. Her



                                                         60




            father is a chemist and her mother a postal worker. She was rejected by Harvard, u well

            as numerous other schools. According to Wang, "All the schools basically say, 'we don't

            discriminate.'    But I went to the Columbia session and they said they value a

            multicultural community. If they want to be multicultural, there's only so many of one

            culture they can take."

                   266. Daniel Golden, the Pulitzer Prize-winning reporter then of The Wall Str«t

           Journal, described Jamie Lee, who applied to Harvard, as well as six other elite private

            schools: According to Mr. Golden, "Jamie Lee was a superb student. Born in Hong
4




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1                                              EXHIBIT 36

2           EXCERPT FROM THE SFFA's LEGAL COMPLAINT ABOUT COLLEGE COUNSELORS



       industry knows that." Without affirmative action, "our elite campuses will look like

       UCLA and Berkeley," and "[t]hat wouldn't be good for Asians or for anyone else."

              D.      College Coun1elon Acbowledge Diserimination Against Allan
                      Americana At Elite Univenltlea.

              2S2. College counselors and advisors recognize that discrimination against

       Asian Americans occurs at elite universities such as Harvard and thus tell Asian

       Americans to hide their identity, to emphasize personal characteristics that avoid Asian

       stereotypes, and, in many cases, to lower their expectations and apply elsewhere.

              2S3. For example, the Princeton Review, the leading guide to college

       admissions, gives specific recommendations for Asian-American students applying to

       elite schools such as Harvard on how to overcome these schools' anti-Asian-American

       bias. Its recommendations are both honest and discouraging.

              2S4. According to the Princeton Review: "Asian Americans comprise an

       increasing proportion of college students nationwide. Many Asian Americans have been

       extraordinarily successful academically, to the point where some colleges now worry that

       there are 'too many' Asian Americans on their campuses. Being an Asian American can

       now actually be a distinct disadvantage in the admissions processes at some of the most

       selective schools in the country. Increasingly, the standard for affirmative action isn't

       minority status, but under-represented minority status.         Since Asian American

       populations at many colleges exceed the proportion of Asian Americans to the population

       of the state or country as a whole, Asian Americans are a minority, but not an under-

       represented minority, at those colleges .... If you are an Asian American-or even if you

       simply have an Asian or Asian-sounding surname-you need to be careful about what

       you do and don't say in your application."


                                                    S1
3




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1                                        EXHIBIT 37

2                  ASIAN-AMERICAN APPLICANTS TRIED TO APPEAR "LESS ASIAN"


3    https ://www.nytimes.com/2022/12/02/us/asian-american-col lege-appl ications. ht

4    ml?unlocked article code=1.pk4.Oskn.OpS2fQgjTg2C&smid=url-share

5




        Applying to College, and Trying to
        Appear 'Less Asian'
        The affirmative action lawsuit against Harvard seemed to
        confirm advice given for years to Asian Americans: Don't play
        chess, don't check the box declaring race.
6


7


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       When it came time to fill out his college application form, Max Li
       chose not to declare his race. Even though he knew his last name
       sounded Chinese, he selected "prefer not to say."

       Clara Chen was advised to avoid the Advanced Placement exam
       for Chinese because college admissions officers might assume,
       based on her last name, that she already spoke the language, which
       could undermine the value of her score. She took the test for
       Advanced Placement French instead.

       When Marissa Li was growing up, she loved playing competitive
       chess, and spent hours studying the matches of some of her
       favorite players, like Bobby Fischer. But on her college application,
       she barely mentioned her interest in the game because she was
       afraid that it might come across as too stereotypically Asian.
1


2


3--------------------------
      Sasha Chada, the founder of Ivy Scholars, a college admissions
      counseling company based in Texas, said that while his company's
      Latino clients often emphasized their ethnicity and their
      engagement with Hispanic cultural organizations on their college
      applications, his company frequently gave Asian American
      students the opposite advice, urging them to shift away from
      "classically Asian activities" to improve their chances of getting
      into the country's elite universities.
4


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1                                            EXHIBIT 38

2                    ASIAN-AMERICAN ENROLLMENT ROSE AFTER LEGAL PRESSURE


3


4    https://asianamericanforeducation.org/en/call for complaint 2017 en/

5



     0 * After the Student For Fair Admissions Filed a lawsuit in 2014 and Asian American Coalition For
     Education (AACE) filed a joint complaint against Harvard University in 2015, Harvard's admission rate of
     Asian-Americans jumped from 17% prior 2014 to 22% in 2016.
     0 * After a few Asian-American students filed a complaint against Princeton University since 2006, its
     admission rate of Asian Americans increased from 14.7% in 2007 to 21.9% in 2012 and 25.4% in 2014.
6




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1                                        EXHIBIT 39

2                     EXCERPT FROM CHAPTER 7 IN THE PRICE OF ADMISSION




               NATIONAL                   BESTSELLER




           THE PRICE OF
            ADMISSION



                   HOW AMERICA'S RULING CLASS
             BUYS ITS WAY INTO ELITE COLLEGES-
           AND WHO GETS LEFT OUTSIDE THE GATES

          WITH NEW REPORTING ON OPERATION VARSITY BLUES




          DANIEL GOLDEN
3




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                                   7
                                  THE


                          NEW JEWS




1



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Americans. His parents had gone to college in Korea, ruling out legacy preference for their
son in the United States, and they couldn't afford to donate to a university; in fact, Henry
applied for financial aid to pay his college tuition.
   His Groton guidance counselor knew the score. She discouraged Henry from applying to
the Ivy League, telling him it was a long shot at best, and advised him to lower his
expectations to second- and third-tier schools. When Henry disregarded her advice, he was
spurned by four Ivies-Harvard, Yale, Brown, and Columbia-as well as Stanford University
and Massachusetts Institute of Technology. While they rejected Henry, Ivy League
universities admitted thirty-four of his Groton classmates. Brown accepted the daughter of
a best-selling author; Harvard, the grandson of one of its biggest donors; Columbia, an
African American candidate; and Stanford, the daughter of an oil tycoon who chaired the
university's board.
  "When the decisions came out, and all these other people started getting in, I was a little
upset," Henry told me. "I feel I have to hold myself to a higher standard." Added his mother,
Suki Park, "I was naive. I thought college admissions had something to do with academics."
    Unlike Henry, Stanley Park seemed to have a special hook to bolster his academic
credentials, which included a 1500 SAT score. Stanley was born and raised in California,
where voters abolished affirmative action in public university admissions in 1996. In the
wake of that ban, the University of California, Los Angeles, revamped its admissions criteria
to favor students who had conquered "life challenges," such as family illness, being raised by
a single parent, or being the first in the family to go to college.
   Stanley, who graduated from University High in Irvine in 2002, had overcome more than
his share of adversity. After his parents-immigrants of modest means with only high school
educations and little English-divorced in 1999, he lived with his mother. When she was
diagnosed with breast cancer a year later, he began tutoring children to help pay the rent.
   "All the money he earned tutoring was donated to his family," his high school guidance
counselor wrote in Stanley's college recommendation. "In the time I have known Stanley I
have been impressed with his incredible balance. It's easy to view him as a top mathematics
student, but there is so much more to this complex young man that makes him interesting.
For the past three years, he has gone to the Bethel Korean Church at 6:30 a.m. every Sunday




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morning. Once there, he loads vans with food, and with other church members distributes
food to the homeless."
   Stanley's own college application essay movingly recounted how his mother's illness had
inspired him. "I have the most loving and caring mother anyone can ever have," he wrote. "I
admire her so much because she works hard even after her divorce last year. She sacrificed
her youth and free time so that I might have a promising future. She went as far as to giving
up her whole Christmas bonus to pay for an SAT class. Then something unfair happened
to my mother; she was diagnosed with breast cancer. When my mother had her breasts
removed, I could visibly see the pain and shame on her face. Although I am vecy grateful that
she is alive, I could not bear to see my mom in that kind of pain. Now that she can't work as
hard as she used to, I do not want to let all my mom's past sacrifices for me to be in vain. I
slowly realized that the only thing I can do to help out was to make her happy by showing her
the fruits of her sacrifices. I began to study harder in school and take my volunteer work...
more seriously."
   Nevertheless, UCLA and the state university's other elite campus, Berkeley, rejected
Stanley while admitting black and Hispanic applicants with far lower scores. Stanley learned
the hard way that the "life challenge" preference at his state university was a back-door
substitute for affirmative action. It was never meant for him or other Asian Americans at all.




AsIAN AMERICANS are the new Jews, inheriting the mantle of the most disenfranchised group
in college admissions. The nonacademic admissions criteria established to exclude Jews,
from alumni child status to leadership qualities, are now used to deny Asians. "Historically,
at the Ivies, the situation of the Asian minorities parallels vecy closely the situation of the
Jewish minorities a half a century earlier," said former Princeton provost Jeremiah Ostriker.
   Once ostracized, Jewish students are now widely coveted for their intellectual prowess.
Today, many Jewish applicants have admissions hooks, often as children of alumni, donors,
or faculty. Having apologized profusely for restricting Jewish enrollment in the past,




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   At another mainly Hispanic high school near Los Angeles, Belmont, UCLA student and
outreach worker Alex Paredes helped Rosaura Novelo edit her application essay, which
appeared tailored to fit the "life challenge" criterion. "It has been difficult for my parents,
Mexican immigrants who did not even get to third grade in school, to raise a family of
seven," Rosaura's essay began. "My father is the only person in the family who works, getting
only minimum wage ....Our situation has taught me to appreciate education, learn how to
overcome challenges that I have been faced with, and to take advantage of the benefits
that come from all my hard work ....Taking advantage of the opportunities my parents
have provided me with has sometimes been difficult because of all the challenges I have
had to overcome ....Things have not been handed to me on a silver platter, which makes it
challenging for me ....My community has also been an obstacle: gangs and violence are an
everyday occurrence." UCLA-which took twenty-four Belmont seniors in 2002, tripling the
previous year's number-admitted Rosaura despite an SAT score of 980,520 points below
Stanley Park1s.
    When I dropped by University High in Irvine on the same trip, I found that its admissions
to Berkeley and UCLA were plummeting. University High is one of the best public schools in
California, with a mean SAT score of 124 7 in 2003-4 compared with a state average of 1015.
It's also 45 percent Asian American. UCLA admits from University High dropped from 112 in
1998 to 6 5 in 2004, and Berkeley admits from 91 to 46 over the same period, relegating more
University High graduates to less selective campuses such as Riverside and Santa Cruz. As
a highly ranked school, University High didn't qualify for University of California outreach,
hurting its students' prospects under comprehensive review. In other words, Stanley Park's
mother had moved to a cramped Irvine apartment she could barely afford to provide him a
better education-and may thereby have thwarted his admission to Berkeley and UCLA.




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from rural states, popularized to squelch Jewish applicants from New York City, now hurts
Asian students concentrated in metropolitan areas, particularly Los Angeles.
   Now as then, a lack of preferences can be a convenient guise for racism. Much as
college administrators justified anti-Jewish policies with ethnic stereotypes-one Yale dean
in 1918 termed the typical Jewish student a "greasy grind"-so Asians are typecast in college
admissions offices as quasi-robots programmed by their parents to ace math and science
tests. Asked why Vanderbilt poured resources into recruiting Jews instead of Asians, a former
administrator told me, "Asians are very good students, but they don't provide the kind of
intellectual environment that Jewish students provide."
   Similarly, MIT dean of admissions Marilee Jones rationalized the institute's rejection of
Henry Park by resorting to stereotypes. Although she wasn't able to look up his application
because records for his year had been destroyed, "it's possible that Henry Park looked
like a thousand other Korean kids with the exact same profile of grades and activities
and temperament," she emailed me in 2003. "My guess is that he just wasn't involved
or interesting enough to surface to the top." She added that she could understand why
a university would take a celebrity child, legacy, or development admit over "yet another
textureless math grind." College administrators who made such remarks about black or
Jewish students might soon find themselves higher education outcasts.




"AsIAN AMERICAN" is not an identity deeply rooted in history or tradition. Chinese and
Japanese students popularized the term in the 1970s in an effort to be included in affirmative
action programs. In 1977, the federal government (which had previously counted
immigrants from China, Japan, Korea, and so forth by their countries of origin) introduced
"Asian or Pacific Islander" as a data collection category-defined as "a person having origins
in any of the original peoples of the Far East, Southeast Asia, the Indian subcontinent, or the
Pacific Islands."
   The strategy worked almost too well. Soaring Asian enrollment soon provoked a backlash.
In 1984, with Asian Americans accounting for more than a quarter of its freshman class,


   2




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   1                                        EXHIBIT 40

   2                  MR. JOHN MooRES's ACCUSATION IN THE PRICE OF ADMISSION


on her SATs and is the daughter of a struggling Korean-immigrant pastor. •'No matter how
bad your situation is, someone has it worse."
   Asian applicants to Berkeley or UCLA who hadn't confronted a life challenge soon rued
this gap in their resumes. Albert Shin, another University High student and the son of an
engineer, scored 1540 on his SAT, had a 3.9 grade point average, and could read English,
Korean, and Latin. Both Berkeley and UCLA turned him down. "It would be okay to look at
social disadvantage a little bit, but judging it more than academics would be wrong," Albert
told me. He, Stanley Park, and Hyejin Jae enrolled at the university's San Diego campus. As of
March 2006, Stanley Park was a senior bioengineering major with a 3.5 grade point average,
and "pretty worried" about admission to medical school. Financial aid and a job as a nuclear
medicine assistant at a San Diego hospital had helped pay his tuition.
   By 2003, parental complaints that comprehensive review meant rejecting top Asian and
white students caught the attention of John Moores, then chairman of the university's board
           8
of regents. Studying Berkeley's admissions records, he found that in 2002-the year Albert,
Stanley and Hyejin were rebuffed-Berkeley turned down 1,421 Californians with SAT scores
above 1,400, including 662 Asian Americans. Of the 359 students accepted with SAT scores
of 1,000 or less, 231 were black, Hispanic, or Native American.
   The regents chairman accused his flagship campus of •'blatantly" discriminating against
Asian Americans and denounced comprehensive review as "fuzzy... It's silly to pretend that
very low scoring applicants should be admitted to one of America's premier universities with
the expectation that somehow these students will learn material that they missed in K-12."
University officials disputed Moores's contention, noting that SAT scores are an imperfect
measure of academic ability. Still, in April 2004, a university study group com.pared a
statistical model of how the UC admissions process was supposed to work with actual cases.
Buried deep inside its report was the finding that "somewhat fewer Asian students, and more
African American and Chicano/Latino students (and, in some cases, White students) were
admitted" on most campuses than would have been expected. One possible explanation:
"small but real racial or ethnic effects on admissions decisions."




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 1                                        EXHIBIT 41

 2                            PROFESSOR TIM GROSECLOSE'S PROTEST


 3


 4    https;//youtu.be/zUsulr1 E 6s?si=c7acYOK9LykvZh8a&t=31

 s Professor Tim Groseclose talking to media about his observations of UCLA

 6    violating Prop 209

 7


 8


 9


10    https://dailybruin.com/2012/11 /08/submission-faculty-letter-misrepresents-mare-r

11    eports-findings

12    Professor Tim Groseclose talking about racial discriminations identified in

13    Professor Robert Mare's reports




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     NEWS SPOITS MTS OPINION THE QUAD PHOTO VIDEO ILWSTMllONS CMl'OONS GIIAl'IIICS THE STACK PRIME ENTl!IPIUSE I


     COMMUNITY, OPINION

     Submission: _Faculty letter misrepresents Mare report's
     findings_


          By Dally BRlln Staff                            Editor's Note: Portions of this submission
          Nov. 8, 2012 11 .53 p.m.
                                                          have been
               ByTlm Groseclose

                In an Oct. 30, 2012 Daily Bruin          specifically his analyses of tables in the
               column, a group of 57 professors
                                                          Mare report.
               criticized a Daily Bruin news article
               and column, which documented evidence that UCLA is using race in admissions, a
               violation of Proposition 209.

               The 57 faculty also criticized a report by law professor Richard Sander, who described
               statistical analyses showing that UCLA is using race in admissions.

               The 57 professors cite a report by UCLA sociologist Robert Mare. They write that •(Mare's)
               report found no signs of race-based reader bias in the awarding of applicant holistic
               scores.•

               The professors either did not read the Mare report carefully, or they are intentionally trying
               to misrepresent its findings.

               Mare analyzed two major parts of the admissions process: the scores that each applicant
               receives from two initial reviewers in the first round of the process, and the scores that
               some applicants receive in •second chance•         (Mare's term) reviews by senior admissions
               staff. The latter reviews include •Final Review:     •Supplemental Review,•     and •School
               Review:

               Sander and Mare found little, if any, evidence of racial bias in the initial reviews. However,
               both researchers found evidence of bias in the second-chance reviews. Sander was not
               given data about particular aspects of the second-chance reviews; he could therefore only
               conclude that the total effect of all aspects of the second-chance reviews contained racial
               bias. Meanwhile, Mare analyzed each aspect of the second-chance reviews separately.

               Wrth the latter analysis at least three of his statistical estimates imply racial bias.


1              The first of these estimates Is the .391 number In column F of his Table 10. Because It Is




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     The first of these estimates Is the .391 number in column F of his Table 10. Because it is
     positive and statistically significant, this means the following: Suppose you take a black
     and a white student who are identical on every other variable in Professor Mare's data set.
     That is, they have identical grades and SAT scores, have parents with identical incomes
     and educational backgrounds, etc. They're also identical on the "Limits to Achievement"
     variable that Professor Mare created.

     To construct this, Mare recorded such things as whether the applicants' life experience
     includes homelessness, whether their life experience includes incarceration, whether their
     life experience includes being a victim of discrimination, and so on.

     The .391 number means that the black student has a significantly higher probability of
     being selected for •supplemental Review:       Remember the two students are identical on
     everything but race. Thus, it indicates a violation of Prop. 209.

     The second of Mare's estimates that implies racial bias is the-.706 number in column G of
     his Table 10. It indicates the following: suppose you take two students who have been
     selected for supplemental review.

     Suppose one is black and one is white, but otherwise they are identical on all the variables
     that Professor Mare included in his analysis. The fact that the number is negative (and
     highly significant statistically) means that the black student is more likely to receive a
     lower holistic score than the white student. Lower scores are better, which means that the
     black student is more likely to be admitted. Once again, that's a violation of Prop. 209.

     A third estimate by Mare that implies a racial bias is the-.865 number in column D of his
     Table 10. This number indicates that black students receive significant racial preferences
     in the 8Final Review"   stage of the admissions process. (The latter occurs when the
     scores of two initial readers differ by more than 1.0. When this happens, a senior staff
     member conducts a third holistic review of the applicant. The applicant's final holistic
     score is determined by that senior staff member.}

     Mare's Table 10 contains eight columns. Five do not show any statistically significant
     evidence that UCLA Is giving racial preferences toward African Americans; however, three
     do. It is thus false to conclude that Mare found •no signs of race-based reader bias.•

     Further, when he calculates the net effect of the entire admissions process (that is, all
     eight aspects, represented by the eight columns of Table 1O}, Mare finds that the net
     effect is substantial. Specifically, on page 74, he writes: •Absent the adjusted disparities
     estimated in this analysis 121 fewer Black applicants would have been admitted, which
     amounts to approximately 33 percent of the actual number admitted.-

     The 57 professors also claim the following about Mare's report: ·An extensive,
     independent analysis of UCLA's holistic review process concluded that it works as
     intended by our faculty:
1
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     Here, however, is what Mare actually wrote: "The holistic ranking process for freshman
     admissions at UCLA appears to work much as intended."           Note that the 57 professors
     omitted the word "'much."

     Again, they either did not read the report carefully, or they are intentionally trying to
     misrepresent its findings.

     Groseclose is a professor of political science.
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1                                        EXHIBIT 42

2                EXCERPTS FROM PROFESSOR TIM GROSECLOSE'S BOOK CHEATING




3




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 1                                        EXHIBIT 43

 2            UC's DENIAL OF ACCESS TO ITS ADMISSIONS DATA FOR RESEARCH PURPOSES

 3


 4    https://www.nbcnews.com/news/asian-america/law-professor-sues-university-cal

 s ifornia-admissions-data-about-race-n941416

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1    https://www.nytimes.com/2018/11 /15/us/university-of-california-admissions.html




         With Echoes ofHarvard Case,
         Univenity of California Faces
         Admissions Scrutiny
           ffl Share full article   ,:!;)   c:J




          Students at the University of California, Berkeley. An academic is accusing the
          University of California system. Ben Margot/Associated Press



          By Anemona Hartac:ollls
          Nov. 15, 2018


          An academic who studies affirmative action filed a lawsuit on
          Thursday against the University of California system, seeking·
          access to a trove of records that he says could reveal whether the
         -system defied state law by surreptitiously reintroducing race as a
          factor in admissions.
2




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1                                             EXHIBIT 44

2                    UC ACADEMIC SENATE'S VOTE TO RETAIN STANDARDIZED TESTS

3    https://regents.universityofcalifornia.edu/regmeeUmay20/b4attach2.pdf


      Assembly also strongly endorsed the STTF recommendations that UC not make standardized
      tests optional for applicants at this time, and that UC not adopt the Smarter Balanced Assessment
      (SBAC) to replace standardized tests.

      The Assembly motion communicates the Senate's support for the STTF's overall
      recommendations, including the recommendation that the tests remain mandatory for the time
      being. The motion also recognizes that the conclusions regarding undergraduate admissions in
      the STTF report need regular evaluation, and that a re-examination of the role of the SAT/ACT
      tests should occur in five years, using the same analyses in the 2020 Report, to see if the results
      in the report are upheld with a different population of students seeking admission. The Senate is
      committed to taking the lead in this effort, as it has for decades as part of shared governance and
      our delegated authority over admissions. The thoughtful, analytical, and scholarly STTF report
      reflects this commitment, and represents the very best of the Academic Senate, including its
      commitment to the high quality educational mission of the University.

      The Academic Senate delivers these recommendations to you in accordance with Bylaw 40.1,
      delegating to the Academic Senate authority over admissions. As the Chair of the Assembly, and
      in light of the Regents' expectation, I ask that you as President of the University and President of
      the Assembly of the Academic Senate, convey these recommendations to the Regents for
      consideration at their May 2020 meeting.

      Please do not hesitate to contact me if you have additional questions.

      Sincerely,


      Kum-Kum Bhavnani, Chair
      Academic Council
      cc:    Assembly Members
             SITF
             BOARS
             Provost Brown
             Director Yoon-Wu
             Senate Directms
                                                       3
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1                                                         EXHIBIT 45

2                     UC BOARD OF REGENTS' OVERRULING OF ACADEMIC SENATE'S VOTE

3    https://www.universityofcalifornia.edu/press-room/university-california-board-reg

4    ents-unanimously-approved-changes-standardjzed-testing

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     ~                                                     Campuses & locations      Student succec;s   Impact



     ~     > Press Room > University of califomla Board of Re,ents unanimously approved changes to stand
     undergraduates



     University of California Board of
     Regents unanimously approved changes
     to standardized testing requirement for
     undergraduates

     m " ml Cl
     UC Office of the President   M.iy 21. 2020

     Nov. 24, 2020 IIJ1""1e to Na:, 211 2020 rdeast: Subsequent events havt changed how
     the Unfrersity ofCalifornia will evaluate applications for Fall 2021 admissions. UC
     will not consider SAT or ACT test scores when making admissions decisions or
     awarding Regents and Chancellor's scholarships. For students who choose to submit
     standardized test scorts as part oftheir applications, the Universit;• may use them to
     determine eligibility for the California statewide admissions guaranttt, as an
     altemative method offulfilling minimum requirtments for eligibility, or for course
     placement after they enroll.

     The University of California Board of Regents today (May 21)
     unanimously approved the suspension of the standardized test requirement
     (ACT/SAT) for all California freshman applicants until fall 2024. The suspension
     will allow the University to create a new test that better aligns with the content
     the University expects students to have mastered for college readiness. However,
     if a new test does not meet specified criteria in time for fall 2025 admission, UC
     will eliminate the standardized testing requirement for California students.

                                                  a
     "Today's decision by the Board marks significant change for the University's
     undergraduate admissions," said UC President Janet Napolitano. "We are
     removing the ACT/SAT requirement for California students and developing a
     new test that more closely aligns with what we expect incoming students to know
     to demonstrate their preparedness for UC."
5




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2                                                                   EXHIBIT 46

3                          UC SAN DIEGO'S POINT-BASED SYSTEM FOR SELECTIVE MAJORS

4    https://underg rad. ucsd .ed u/academics/selective-major-process/for-continuing-st

s udents.html#Point-System-for-Admission


       UNDERGRADUATE EDUCATION


      ,\bout Us ..      Acodem,cs -         Ad,1s1ng ..         Col'eges -        Progrom Review & A',sessment -   Focul:y Support -       0. -

      Undergraduate Education   Academics    Selective Major Proce:liiS   Continuing Students




      Selective
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      Process
                                        Continuing Students
      Continuing                        Beginning in Sunvner 2025, students can apply once per year between the Summer and Fall quarters.
      S1udmta
                                        Admission wm be based on a point system that considers academic performance and other factors:
                                        California residency, first-generation status and pell eliglblllty. Only students who have completed the
                                        required screening courses and are in good academic standing are eligible to apply.




                                            Selective Major Programs                                                                      0
                                        I

                                            Application                                                                                   0

                                            Criteria for Admission                                                                        0

                                            Point System for Adm1ss1on                                                                    0

                                              Point System for Admission:
                                              Admission to the selective major will be based on a point system. Points are awarded based
                                              on the following:

                                                  • 3.0 GPA or High« In major screening courses: 1 point
                                                  • Callfomla RNidency: 1 point
                                                  • Pall Grant Eliglblllly: 1 point
                                                  • Flrst-Genendion College Status: 1 point (Based on Initial UC San Diego application
                                                    information)

                                              Tlebraabr: In case of ties, students will be selected using a random selection process.

6




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1                                        EXHIBIT 47

2    UC BERKELEY LAW ScHOOL DEAN, MR. Erwin Chemerinsky's PUBLIC TEACHING To usE

3                                    RACE WHILE CONCEALING IT


4    https://x.com/realchrisrufo/status/1674548940522549248




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a https://www.newyorker.com/news/our-columnists/the-sad-death-of-affirmative-acti

9 on




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       "What colleges ~ need to do after affirmative action is eliminated
       is find ways to achieve diversity that can't be documented as violating the
       Constitution," Erwin Chemerinsky, the dean of the University of California,
       Berkeley, School of Law, told me. "So they can't have any explicit use of race. They
       have to make sure that their admissions statistics don't reveal any use of race. But they
       can use proxies for race."
1




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1                                            EXHIBIT 48

2         UC RIVERSIDE CHANCELLOR'S LETTER OF CENSURE TO PROFESSOR PERRY LINK


3    https://drive.google.com/file/d/1 rlivgzTvMD1 BeGMAZsFJou-5MXlhN97f/view?us

4    p=drive link




        IP RIVERSIDE                                                         Office of the Chancellor
                                                                             4108 Hinderaker Hall
                                                                             900 University Avenue
                                                                             Riverside, CA 92 521


           August 16, 2024


           Professor Perry Link,

           I write to impose discipline in the form of this Letter of Censure. This is my
           determination after carefully reviewing and considering the Hearing Committee
           Report ("Hearing Report") of the Committee on Privilege and Tenure ("the
           Committee") dated June 21, 2024, the hearing transcripts and exhibits/evidence,
           including the post hearing briefs from you and the administration, and the post-
           Hearing Report Letter from you and the Administration's response.

           As outlined in my decision letter, to which this letter is attached, I conclude that clear
           and convincing evidence was presented in the hearing on this matter before the
           Committee on Privilege and Tenure establishing that you engaged in conduct that
           violated APM 015, Part II, Sections D.1 and C.5.

           I issue this Letter of Censure pursuant to my authority under APM 016, Section II:

                 1. Written Censure A formal written expression of institutional rebuke that
                 contains a brief description of the censured conduct, conveyed by the
                 Chancellor. Written censure is to be distinguished from an informal written or
                 spoken warning, and must be delivered confidentially to the recipient and
                 maintained in a designated personnel file or files indefinitely or for a lesser
                 period of time specified in the writing. Informal written or spoken warning is
                 not an official disciplinary action.

           Consistent with APM 016, this Letter of Censure will remain indefinitely in a
           confidential personnel file maintained by the Office of the Vice Provost for
           Administrative Resolution and will not be subject to disclosure unless permitted by
           applicable privacy laws and University policy.

           Sincerely,




           Kim A. Wilcox
           Chancellor
5




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1                                           EXHIBIT 49

2                     UC RIVERSIDE'S PERSECUTION OF PROFESSOR PERRY LINK


a https://www.wsj.com/opinion/uc-riversides-dei-guardians-came-after-me-39d8e2

4    6e

     ~ The Wall Street Journal •
     ~ December 12, 2024 at 10:07 PM - 0
                                                                                                      ...    '




     From Wall Street Journal Opinion: UC Riverside's DEi guardians came after me. The university
     censured me after I spoke out against race taking over the faculty hiring process, writes Perry Link.




     WSJ.COM
     Opinion I UC Riverside•s DEi Guardians came After Me
     The university censured me after I spoke out against race taking over the faculty hiring process.
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1    https://en.wikipedia.org/wiki/Perry Link

                                   This article IINdl additional citations for verlflcatlon. Please~




                    I
                                                                                                                                PwryUnk
                                   improve this article by adding citations to reliable sources. Unaourced
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                                   FlndMIUn:ee:"Perry Link' -news• newspapers· books· scholar· JSTOR
                                   (DeclJmber 2024) (Le/I/Tl how •nd when to remove this message)
                      ----                            ---------·----               ------           ----~
      Eugene Parry Unk, Jr. (Chinese: ~II; pinyin: Un Peiru1; born 6 August, 1944 Gaffney, South
      Carolina) is Chancellorial Chair Professor for Innovative Teaching Comparative Literature and Foreign
      Languages in College of Humanities, Arts, and Social Sciences at the University of Cahfomia,
      Riverside and Emeritus Professor of East Asian Studies at Princeton University. Link taught Chines■   : Born          11144 (age ISO-Ill)

      language and literature at Princeton University (1973-n and 1989-20011) and UCLA (19n-1988). He          'Nallonallly American
      specializes in modem Chii.u literature and Chinese language. 111                                         • Alma IMlw Harvard University
                                                                                                                              Sclentlllc - -
      Link is a Harvard University alumnus who received his B.A. in philosphy in 1966 and his Ph.D. in          Tllula      n. riaeotmommpopuwllcfltvi
      1976. Link hu been a Board Member of the Committee for Freedom in Hong Kong (CFHK) since                              In ShanQha/ (11178)
     2021. CFHK is a Us-based non-profit organisation, which presses for lhe preservation of freedom,           ~2WMYlii!r•?: .::,;,111tt.
     democracy, and international law in Hong Kong.121                                                          Chinese     QII

     Tiananmen Square I ec1,11
      Link helped Chinese dissident Fang Lizhi and Fang's wife obtain refuge at the U.S. Embassy following the crackdown on the 1989 Tiananmen
      Square protests.131 Fang remained at the embassy for a year until negotiations resulted in Fang's being allowed to leave and settle in the u.s.131

      Link has translated many Chinese 11Dries, writings and poems Into English. Along with Andrew J. Nathan, he translated the 1iananmen Papers,
     which detailed the governmental response to the 1989 democracy protests. In 1996, China blacklisted Link, and he has been denied entrance ever
      since. In 2001, Link was detained and questioned upon arriving In Hong Kong because of his Involvement In Iha TiaMnmen Papers. Aller roughly
     one hour, he was allowed to enter Hong Kong, where he spoke at the Hong Kong Foreign Correspondents Club. He hu been banned from the
      People's Republic of China since, 11oweverJ41


      Controversy at U.C. Riverside I aa11
      From 2022 to 2024, Link faced diaclpllnaly action at U.C. Riverside after expressing concerns In a faculty wrch c:ommiltN about prioritizin9 a
      Black candidate's race over qualifications.

      Link was removed from Iha search committee and subjected to a disciplinary process, including hearings resembling a trial, where termination was
      suggested as a penalty.

      Unk sald his comments were intended ID caution against elevating race as the "overriding criterion," and that the comments Wllnl reported to the
      university without his knowledge.

      Although a faculty committee unanimously found that Link did not violate any conduct codes, UC Riverside chanceNor Kim Wilcox issued Link a
      formal letter of censure.1511 61171

      Link wu recommended by the university ID keep the process confidential and warned that the disclosure of any details of his disciplinary process
     "may result in discipline."

      In December 2024, Link went public about his experience in an op-ed published in lhe Wall Street Joumal.181
2


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1                                        EXHIBIT 50

2     UC's INITIAL SCREENING OF FACULTY CANDIDATES BASED ON DIVERSITY STATEMENTS ONLY

a https://www.nytimes.com/2023/09/08/us/ucla-dei-statement. html

      How It Started
      A decade ago, California university officials faced a conundrum.

      A majority of its students were nonwhite, and officials wanted to
      recruit more Black and Latino professors. But California's voters
      had banned affirmative action in 1996. So in 2016, at least five
      campuses - Berkeley, Davis, Irvine, Riverside and Santa Cruz -
      decided their hiring committees could perform an initial screening
      of candidates based only on diversity statements.

      Candidates who did not "look outstanding" on diversity, the vice
      provost at U.C. Davis instructed search committees, could not
      advance, no matter the quality of their academic research.
      Credentials and experience would be examined in a later round.

     The championing of diversity at the University of California
     resulted in many campuses rejecting disproportionate numbers of
     white and Asian and Asian American applicants. In this way, the
     battle over diversity statements and faculty hiring carries echoes
     of the battle over affirmative action in admissions, which
     opponents said discriminated against Asians.

     At Berkeley, a fa~ulty committee rejected 75 percent of applicants
     in life sciences and environmental sciences and management
     purely on diversity statements, according to a new academic paper
     by Steven Brint, a professor of public policy at U.C. Riverside, and
     Komi Frey, a researcher for the Foundation for Individual Rights
     and Expression, which has opposed diversity statements.
4




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       According to a report by Berkeley, Latino candidates constituted 13
       percent of applicants and 59 percent of finalists. Asian and Asian
       American applicants constituted 26 percent of applicants and 19
       percent of finalists. Fifty-four percent of applicants were white and
       14 percent made it to the final stage. Black candidates made up 3
       percent of applicants and 9 percent of finalists.
1




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 1                                                   EXHIBIT 51

 2     UC BERKELEY'S USE OF DIVERSITY STATEMENTS IN HIRING PROCESS FOR A LIFE SCIENCES

 3                                                         POSITION


 4    https://math.berkeley.edu/~lott/lifesciences.pdf


           Initiative to Advance Faculty Diversity, Equity and Inclusion in the Life Science at UC Berkeley

                                           Vear End Summary Report: 2018-2019



       Co-Chairs for the Initiative to Advance Faculty Diversity, Equity and Inclusion in the Life Sciences:


       Dr. Rebecca Heald                                             Dr. Mary Wildermuth
       Regional Associate Dean, Service Center 2                     Associate Professor, Plant and Microbial Biology
       Professor, Molecular and Cell Biology
 5


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     I. Building a Critical Mass, Faculty Searches

     The Cluster Search
     The Berkeley campus committed five FTE for a broad search in the Life Sciences. This open area recruitment
     solicited applications from outstanding early career research scientists who also demonstrated strong potential
     to enhance equity, indusion and diversity. The job ad was widely distributed to highly regarded journals and
     societies, and through personal outreach to PPFP and Chancellor's Fellows (and other prestigious fellowship
     programs) and to institutions with strong academic standing. A total of 993 applications were received, of which
     893 met basic qualifications. The LSI Committee conducted a first review and evaluated candidates based solely
     on contributions to diversity, equity and inclusion. Only candidates that met a high standard in this area were
     advanced for further review, narrowing the pool down to 214 for serious consideration. The remaining
     applications were then opened to review by the departmental ad-hoc search committees for short-list
     consideration. Twenty-two candidates were selected for the short list and interviewed across six departments.
     Five finalists were ultimately proposed for hire; two in Molecular and cell Biology (MCB), one in Integrative
     Biology (IB), one in Plant and Microbial Biology (PMB), and one in Environmental Science, Policy and
     Management (ESPM} with several outstanding alternative candidates identified. Ultimately, the Hcluster search"
     was one of the most successful Interventions of the initiative. It will result in an increase in faculty committed to
     advancing faculty diversity, equity and inclusion on the campus. 1
1


     Both the 'cluster search' and the ESPM search yielded significant increases In URM candidates advanced to
     shortlist consideration:

      Table A: Lffe Sdente Faculty (Cluster) Snrdl Oemlllf■phla:

                         GENDER                            Applicant Pool
      COunt                                                        894
      Female                                                   41.70%
      Male                                                     56.50%
      Unknown                                                   1.80%
                     RACE/ETHNICITY                        Applicant Pool
      Count                                                        894
      African American                                          2.80%             6.10%                   9.10%
      Hispanic                                                 13.20%            22.90%                  59.10%
      Native American                                          0.40%              1.40%                   0.00%
      Asian                                                    25.70%            18.70%                  18.20%
      White                                                    53.70%            48.10%                  13.60%
      Unknown                                                  4.10%              2.80%                   0.00%
2




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1                                             EXHIBIT 52

2                         PROFESSOR YoEL INBAR's REJECTION sv UCLA


a https://www.nytimes.com/2023/09/08/us/ucla-dei-statement. html?u nlocked articl

4    e code=1.pk4.U7bn.nB23TQyJ0HHz&smid=url-share
5


                                   U.S.   D.E.I. Statements Stir Debate on College Campuses




                    The New D.E.I. Standards
                    These new expectations upended Dr. Inbar.

                    He favored affirmative action. But five years ago, he questioned
                    diversity statements in a podcast - "1\vo Psychologists, Four
                    Beers," that he hosted with another academic. He described the
                    statements as "value signaling" that required applicants to
                    demonstrate allegiance to a particular set of liberal beliefs.

                    "It's not clear that they lead to better results for underrepresented
                    groups," he said.

                    On another episode in 2022, he noted that a professional society of
                    psychologists officially opposed a Georgia law banning abortion.
                    He favors abortion rights but argued that professional associations
                    represent members of many ideological shades and should avoid
                    taking political stances.

                   All of this angered the graduate students. "His hiring would
                   threaten ongoing efforts to protect and uplift individuals of
                   marginalized backgrounds," the students .wrote. They argued he
                   was not committed to a "safe, welcoming and inclusive
                   environment." The students sent the letter to the entire psychology
                   faculty and posted it online.




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1                                        EXHIBIT 53

2        UCLA MEDICAL SCHOOL'S ASIAN ENROLLMENT DECLINED 35% FROM 2019 TO 2022


a https://www.latimes.com/business/story/2024-05-30/is-ucla-a-failed-medical-sch
4    ool-debunking-a-dumb-right-wing-meme

5


6    https://www.yahoo.com/news/column-ucla-fai led-med ical-school-1300364 73. htm

1    l




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            (As for a case Sibarium mentions in which Lucero supposedly pushed to admit a
            Black student whose grades and test scores were below the UCLA average, he
            doesn't say whether the student was admitted.)

            It's true that the entering medical school class at UCLA has become more
            diverse over time. Figures issued by UCLA and published by the Beacon show
            that from 2019 through 2022, the number of whites in the 173-member class
            declined to 46 from 49, the number of Black students rose to 25 from 22,
            Hispanic students rose from 25 to 37. a catchall ·other· category grew to 20 from
            eight, and American Indians. Hawaiians and other Pacific Islanders went from
            zero to three. The number of Asian students declined to 55 from 84.

            Does this validate the article's assertion. voiced by an anonymous source (of
            course), that "a third to a half of the medical school is incredibly unqualified"?

            The math doesn't pencil out. As blogger and statistics maven Kevin Drum notes.
            given that the number of nonwhite and non-Asian students increased by only 30
            in three years, even if "every single one of these students was woefully
            unqualified, that's about 17% of the class. How do you get from there to 'a third
            toahalf'r

            By the way, the median grade-point averages and scores on the Medical College
            Admission Test of accepted applicants haven't declined at all since 2020 - the
            MCAT average in 2023 was the same as in 2020. and the GPA rose by a hair.

            In emails to the medical school class, Dubinett and his fellow deans have
            reinforced their commitment to merit-based admissions and diversity training.
            "Students and faculty members are held to the highest standards of academic
            excellence; they wrote. "Highly qualified medical students and trainees are
            admitted ... based on merit in a process consistent with state and federal law."
            That said, ·we are enriched by the diverse experiences each of you brings to our
            community."

            UCLA, then, is standing firm against the right wing's drive to pretend that racial
            and ethnic discrimination doesn't exist in our society and to undermine efforts
            to wipe it out. Would that more institutions took that stand, instead of
            capitulating to a dishonest. braying mob.

            This story originally appeared in Los Angeles Times.
1


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1                                                                EXHIBIT 54

2                    UCLA MEDICAL SCHOOL'S RACE-BASED FELLOWSHIP PROGRAM

a The Dean of UCLA Medical School says it does not discriminate based on race.

4    His own research center runs a Fellowship program (named 'iDIVERSE') that

s barred white and Asian researchers from applying.

6    https://freebeacon.com/campus/the-dean-of-ucla-medical-school-says-it-does-n

1    ot-d iscrimi nate-based-on-race-his-own-research-center-runs-a-minorities-on ly-fe

a llowship/




                 IDJVERSE FELLOW OPPORTUNllY
                 DEADLINE: MARCH 01, 2024 05:00 PM


                                                                                                                                                               Tweet
                 Save this event to vour c,a~dar.   ~ ~
                 I n ~ C-munlty .......,., inHulth, and DMa Sclana te l!nllanca Qlnlcal Trial Dlvenlty an~ canl-llellc Health
                 (IDIYIIIH) -


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                                                                                               + pel'S0f'I or ,1 wDffNln
                     • Compjeted their tem11ni1I degttt (or switched carret" pat1\J and hltve received ..other terminal degree 1n a different fiekf - MO, PhD, DO,
                       PhamiD, etc) wlttun 5 ve&B k l!l~d>le- Triin1:n9 ,ind non-term1MI degfees (MPH, MS, etc) are not consklerat!on for eHgtbllity. Thost! who
                       recolffd thew temnNI c1eg,- outside ol 5 \IU<S aro 1nellgible, regardleSS of add~k>nll degree, or traln1"11,




                 lndnnduals interested in beng- •n AHA 1DIVERSE feflow or would tike more tnform.tton on the p,ogram, ptose contact i.chael
                 Gardner (19cminer#mednet "'da edu l
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1                                        EXHIBIT 55

2                  UC ADMISSION READER'S OPINION PIECE IN NEW YORK TIMES

3 https://www.nytimes.com/2013/08/04/ed ucation/ed Iife/lifting-the-vei I-on-the-holisti


4 c-process-at-the-university-of-california-berkeley.html?unlocked                          article code=1.6

s Ew.hDKN.WtxDzNosRmxO&smid=em-share

6

     - lbt~nutJorklimn                  EDUCATION LR Confessions of an Application Reader


                        After the next training session, when I asked about a n ~
                        student who I thought was a 2 but had only received a 3, the officer
                        noted: "Oh, you'll get a lot of them!' She said the same when I
                        asked why a low-income student with top grades and scores, and
                        who had served in the Israeli army, was a 3.
7


     - ~tinu tJorkiimts                 EDUCATION un    Confessions of an Application Reader


                        Officially, like all readers, I was to exclude minority background
                        from my consideration. I was simply to notice whether the student
                        came from a non-English-speaking household. I was not told what
                        to do with this information - except that it may be a stressor if the
                        personal statement revealed the student was having trouble
                        adjusting to coursework in English. In such a case, I could refer the
                        applicant for a special read.

                        Why did I hear so many times from the assistant director? I think I
                        got lost in the unspoken directives. Some things can't be spelled
                        out, but they have to be known. Application readers must simply
                        pick it up by osmosis, so that the process of detecting objective
                        factors of disadvantage becomes tricky.

                        It's an extreme version of the American non-conversation about

8
                        .re:




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                                         EDUCATION LIFE   Confessions of an Application Reader


                         When the invitation came to sign up for the next application cycle,
                         I wavered. My job as an application reader - evaluating the
                         potential success of so many hopeful students - had been one of
                         the most serious endeavors of my academic career. But the opaque
                         and secretive nature of the process had made me queasy. Wouldn't
                         better disclosure of how decisions are made help families better
                         position their children? Does Proposition 209 serve merely to push
                         race underground? can the playing field of admissions ever be
                         level?

                         For me, the process presented simply too many moral dilemmas.
                         In the end, I chose not to participate again.

                         Ruth A. Starkman teaches writing and ethics at Stanford and, from
                         1992 to 1996, taught writing at the University of California, Berkeley.

1




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1                                        EXHIBIT 56

2   HOLISTIC REVIEW IN FRESHMAN ADMISSIONS BY UCLA PROFESSOR ROBERT

3                                              MARE


4    https://asjanamericanforeducation.org/wp-content/uploads/2023/10/Holistjc-Revi

s ew-in-Freshman-Admissions-at-UCLA-2009-2011-Update.pdf




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                                                                                 Holhltic Review Update
                                                                                        Robert D. Mare

               ranking. Although these factors have the largest effects on favorable ranking and

               admission, other factors, such as whether an applicant has an impressive profile of

               extracurricular activities, shows involvement in the high school or local

               community, or works outside of school either in a way that is academically

               enriching or that contributes to family finances, all contribute to favorable holistic

               ranking. An applicant who has many of these assets will win out against an

               applicant who lacks them. In each year, net disparities among ethnic identity

               groups in holistic ranking in Regular Review are very small.

            2. In Supplemental Review, UARS staff place considerable weight on

               socioeconomic hardship, challenges, and limits to academic achievement. Among

               applicants who are otherwise similar in measured academic qualifications and

               challenges, African American and Latino applicants are disproportionately

               represented in Supplemental Review. In both Final and Supplemental Review,

               African American applicants receive somewhat more favorable and "North

               Asian" (Chinese, Japanese, Korean, Indian/Pakistani American) applicants

               receive somewhat less favorable holistic read scores than applicants in other

               ethnic identity groups who are otherwise similar in measured academic

               qualifications, personal characteristics, and measured challenges and hardships.

            3. Relative to their representation in the applicant pool, White and North Asian

               applicants are more heavily represented among admitted students than African

               American, Latino, and Southeast Asian applicants. These disparities arise

               principally in Regular Review and are dampened, to some degree, in Final and

               Supplemental reviews. If we adjust for ethnic identity group differences in the

               characteristics of applicants, a different pattern of ethnic disparity emerges.


                                                     4
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                                                                              Holistic Revi•w Update
                                                                                       Robert D. Mars

            Among otherwise equivalent applicants, Whites, African Americans, and Latinos

            are ovmepresented among those admitted and Asian American applicants are

            underrepresented. For Black and Latino Applicants, these disparities arise

            principally in Final and Supplemental Review. The disadvantages of Asian

            applicants occur, with varying magnitudes, throughout the admissions process.

            Relative to the entire cohort of admitted students, these disparities are quite small

            - none as large as 2.5 percent of applicants. Relative to group-specific totals of

            admitted applicants, the disparities appear larger, but this depends on the size of

            the admitted group.

         4. Although net disparities among ethnic identity groups persist, especially in the

            Final and Supplemental Review stages of the admissions process, the net

            advantages to African American and Latino applicants have declined somewhat

            over the 2007-11 period. The disadvantages experienced by some Asian applicant

            groups, however, have not declined over this period.

         5. An important change between 2007 and 2011 is the growth in numbers of

            international applicants who are admitted to UCLA. Among those who applied

            for freshman admission in Fall 2011, international students are admitted in higher

            numbers than would be expected on the basis of their measured qualifications.

            The net advantage of these applicants and disadvantage of some Asian American

            applicants are much larger than disparities for the other major ethnic identity

            groups (African American, Latino, and White).




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    1


    2


    a https://www.nytimes.com/2018/11 /15/us/university-of-california-admissions. html

i!!bt Nrtu !Jorldebt1ts        U.S.   With Echoes of Harvard Case, University of California Faces Admissions Scrut   'i:rl Share full article

                          The report, by Robert D. Mare, a sociology professor at U.C.L.A.,
                          said that "among otherwise equivalent applicants, whites, African
                          Americans and Latinos are overrepresented among those
                          admitted, and Asian-American applicants are underrepresented."




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1                                             EXHIBIT 57

2      CALIFORNIA STATE AUDITOR'S REPORT ON UC's ADMISSIONS IN 2020 - PUBLIC LETTER


a https://information.auditor.ca.gov/reports/2019-113/index.html

    September 22, 2020
    2019-113


    The Governor of CalHornia
    President pro Tempore of the Senate
    Speaker of the Assembly
    State Capitol
    Sacramento, catifornia 95814

    Dear Governor and Legislative Leaders:

    As directed by the Joint Legislative Audit Committee, my office conducted an audit of the University of
    CaHfornia's (university) admissions process. OLW review assessed the risk for fraud and inappropriate
    admissions activities at four campuses and we conclude that the university has allowed for improper
    Influence in admissions decisions, and It has not treate,cl applicants fairly or consistently.

    From academic years 2013-14 through 2018-19, we found the four campuses we reviewed-UC
    Berkeley, UCLA, UC San Diego, and UC Santa Barbara-unfairly admitted 64 applicants based on their
    personal or family comectlons to donors and university staff. Campuses admitted 22 of these students
    through their student-athlete admissions processes, even though the students did not have the athletic
    qualifications to compete at the university. UC Berkeley admitted the remaining 42 students, most of
    whom were referred to the admissions office because of their families' histories as donors or because
    they were related or connected to university staff, even though their records did not demonstrate
    competitive qualifications for admission. By admitting 64 noncompetitive applicants, the university
    undermined the fairness and Integrity of its admissions process and deprived more qualified students of
    the opportunity for admission.

    The university has also failed to ensure that campuses fairly and consistently treat the thousands of
    prospective students who apply each year. Neither UC Berkeley nor UCLA have developed
    methodologies for how they detennine which applicants to admit. Nevertheless, both of those campuses
    admitted thousands of applicants whose records demonstrated that they were less qualified than other
    applicants who were denied admissjon. Applicants' chances of admission were also unfairly affected by
    UC Berkeley's, UCLA's, and UC San Diego's failures to properly train and monitor the staff who review
    and rate applications. We found that staff were sometimes overly strict or overly lenient In their review of
    applications, thereby making the applicants' chances of admission unduly dependent on the individual
    staff who rated them rather than on the students' qualifications.

    The Office of the President has allowed the weaknesses in these practices to persist because it has not
    conducted adequate oversight of campuses' admissions processes. Although it conducted an Internal
    review of admissions processes after the recent nationwide college admissions scandal, the Office of the
    President relied heavily on campuses to review themselves and did not attempt to identify Inappropriate
    admissions activity. Stronger standards and oversight are necessary to improve the university's ability to
    guarantee a fair and merit-based admissions process and to detect and prevent inappropriate
    admissions decisions.

    Respectfully submitted,

    ELAINE M. HOWLE, CPA
    CalHornia State Auditor
4




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1                                           EXHIBIT 58

2                                 CALMATTERS' REPORT ON UC AUDIT


3    https://calmatters.org/education/2020/09/state-auditor-uc-admissions-process/

       The audit report found that four UC campuses "unfairly admitted 64 applicants based on their
       personal or family connections to donors and university staff" between 2013-14 through
       2018-19. Most of the applicants were white and at least half came from families with incomes
       of $150,000 or more.


       Of those, campus employees at UC Berkeley, UCLA, UC San Diego and UC Santa Barbara
       "falsely designated" 22 applicants as student-athletes "because of donations from or as favors
      to well-connected families." That number could be a significant undercount and actually
       exceed 400 students, according to the audit. In addition, UC Berkeley admitted 42 unqualified
       students beyond athletics, even though some of them had "the lowest possible scores on
       their applications." Multiple managers were involved in these inappropriate admissions
       decisions. These actions meant that more privileged students "took the places" of more
      qualified applicants.


      The audit began in January, having been reguested in May 2019 by Assemblymember Tasha
       Boerner Horvath, an Encitas Democrat. Six staff members from the state auditor's office
      worked on the report.
4




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     New UC President Michael V. Drake responded to the state audit's findings last month, writing
     that the system's internal audits recommendations are similar to what the state auditor
     found. The state auditor disagreed.


     The UC audit "did not address significant aspects of the admissions process," the state audit
     team wrote in a 12ublic res12onse. The audit team also said its recommendations are stronger
     and "address serious deficiencies that it did not identify."


     One shortcoming the audit identified in the UC's self-scrutiny was that it did not detect how
     staff outside of admissions, including fund raising staff "inappropriately influenced admissions
     decisions at UC Berkeley." Beyond overt cases of admitting unqualified students, the state
     audit warned that the entire UC admissions process needs an overhaul because of
     inconsistent standards or practices that could result in applicants being judged for the wrong
     reasons.
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      Another problem, according to the audit, is that some campuses place personal data on
      applications that can lead to bias. At three campuses - UC Berkeley, UCLA and UC San Diego
      - application readers can see the students' names and native languages. Berkeley and UCSD
      let readers see an applicant's gender; Berkeley and UCLA allow readers to see where
      applicants were born. Readers could then wrongly make inferences about a student's race or
      ethnicity, the audit warned. The audit finds the practice strange because UC guidelines for
      how students are admitted do not include these details in the 14 factors for admission.
4




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1                                        EXHIBIT 59

2                                  NPR's REPORT ON UC AUDIT

3    https://www.npr.org/2020/09/23/916305081 /audit-university-of-california-admitte

4    d-64-students-over-more-gualified-applican


       Following the massive college admissions scandal that involved UCLA among
       many other institutions dubbed Operation Varsity Blues, the University of
       California underwent its own internal audit, implementing several
       recommendations following its own system-wide look at admission practices.
       This audit was released earlier this year and only identified two cases of
       possible improper admissions.

       However, the state auditor said because campuses were allowed to evaluate
       themselves, that study was incomplete and there was more to be done.

       "The office of the president has allowed the weaknesses in these practices to
       persist because it has not conducted adequate oversight of campuses'
       admissions processes," she wrote.

       Reese Oxner is an intern on NPR's News Desk.
5




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1                                                EXHIBIT 60

2         CALIFORNIA STATE AUDITOR'S REPORT ON UC's ADMISSIONS IN 2020 - SECTIONS


3    https://information.auditor.ca.gov/reports/2019-113/sections. html

     We identified that UC Berkeley admitted 17 of the 42 applicants because of their connections to donors or
     potential donors. These admissions OCCtMTed after UC Berkeley's development office-which Is responsible
     for the campus"s fundralsing and donations-referred the applicants to the admissions office. In most cases,
     the executive director of operations at the UC Berkeley Foundation within the development office made these
     referrals. In one case, the development office refelTed a potential applicant to admissions staff so that they
     could meet with the applica,t In person. An assistant director In the admissions office then Informed the
     former admissions director that she would meet with the "VIP student ...whose family is [a] potential donor.•
     After the applicant applied to UC Berkeley, the former admissions director was the first person to read and
     rate the application, assigning It a rating of Strongly Recommend. The fonner admissions director then
     admitted the applicant, despite the fact that the second application reader gave the applicant the lowest
     possible rating of Do Not Recommend.

     Each of these 17 applicants received uncompetitive ratings from application readers such that they were
     unlikely to be admitted to UC Berkeley without the referral they received from the development office. In fact,
     five of these applicants received the lowest possible rating from both of UC Berkeley's application readers.
     Under normal circumstances, these application scores would have resulted In denial of admission.

     UC Berkeley admitted another 11 of the 42 applicants because of their connections to      cotije  staff, university
     staff. or the a@ualntances ~ staff, such as the enrollment director ior a private                  who was a
     colleague of     Berkeiey1s ~missions director. In one example, admissions staff requested that an
     applicant receive additional consideration because the applicant was the chlld of a director-level UC Berkeley
     staff member. Although the applicant had already received a Do Not Recommend score from both application
     readers, UC Berkeley admitted the applicant without any justification for doing so. In a similar example, the
     former associate dean of students contacted the former director of admissions through email and asked the
     director to conduct an additional review of an appHcant. The former director of admissions responded,
     "Shhhh. You have to keep it a secret, but good news is coming [the applicant's] way.• UC Berkeley admitted
     this applicant even though the applicant had received the lowest possible application rating from both
     readers, again without any justification. Without connections to campus staff members, these applicants
     almost certainly would not have been admitted.

     UC Berkeley also admitted another 14 of the 42 applicants from its waltlist because of their connections to
     donors, staff, and Influential indvlduals. Like other campuses, after selecting applicants for admission,
     UC Berkeley offers certain other applicants a place on Its waitllst, from which It admits additional students as
     space aBows. To be admitted from the waltllst, applicants must accept a waltlist offer by •opting in" to the
     waitlist. Only a small percentage of applicants receive a waitlist offer, and admission from the waitlist is
     competitive. For academic year 2018-19, UC Berkeley offered a place on the waltllst to only 10 percent of
     applicants who were not offered admission, and it admitted 34 percent of the applicants who opted-in to the
     waltllst. According to the campus's public Frequently Asked Questions document about the waltlist process,
     UC Berkeley focuses primarily on the content of the original application when making decisions about whom it
     will admit from the waltlist. However, it is unlikely that UC Berkeley admitted these 14 applicants because of
     their original applications. In all 14 cases, the applicants received uncompetitive scores from readers that gave
     them poor chances of being admitted. Rather, these applicants' connections to donors, staff, or influential
     Individuals drove the decision to admit them.

     One case from these 14 admissions decisions is ~u~ problematic. UC Berkeley appears to have
     admitted this student because of an inappropriateettersupport from a u n ~ ~ - University policy
     states that members of the Board of Regents should not seek to Influence inap                 he outcome of
     admissions decisions beyond sending letters of recommendation, when appropriate, through the regular
     admissions process. However, the Regent did not submit this letter through the regular admissions process.
     Rather, after the campus placed this applicant on its waitllst, the Regent wrote a letter to UC Berkeley's
     chancellor advocating for the applicant, and the chancellor's staff sent the letter to UC Berkeley's
     development office, which in ttMn forwarded the letter to the admissions office.
4




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1


2


3                                                                    EXHIBIT 61

4           CALIFORNIA STATE AUDITOR'S REPORT ON UC's ADMISSIONS IN 2020 - RESPONSE


s https://information .auditor.ca.gov/reports/2019-113/response.html

     Dear ML Howle:
     Thank you for the opportunity to review and l9lpOlld to the draft audit l9pOl'I on the University of California's admiNlons practices.

     The Unlvarslty is committed to safeguarding the integrity of its admls9lons prac:tlces. We hold oul'Nlves to the hlgt.st stlndalds fi" fi"
     1111d will take prompt action to addnlss Issues raiNcl In the State Aucltor's draft report. Many of the draft raport's             \Y '-61
     18C01Mlendations are lirnil• to those that our Internal audits Identified and ~ e d to the Board af Regents over the put year, and that
     UC campuses and the Oflice of the President have largely implemented. The draft report identified important issues that wlll help us in
     ~ m,y ongoing problems.

     I have zero tolerance on matters of Integrity, and wil do everything I can to ensure inappropriate edmisslons do not happen on m,y of l'j\
     our campuses. To that end, I appnlCiate the State Auditor's assistance In providing the rlllevant underlying data and Information     \V
     aupporting the audit's concluaions.. The Univenity wil then be able to take addltlonal appropriate action as ~ and maintain the
     highest standards In our admiSlions proceHN.
     I sincerely appreciate the time and resources the State Auditor's office has convnitted to helping us Improve and strengthen our admissions
     pollciN and processes.

     Sincerely,

     Michael V. Drake, MD
     President




     COMMENTS


     CALIFORNIA STATE AUDITOR'S COMMENTS ON THE RESPONSE FROM THE
     UNIVERSITY OF CALIFORNIA
     To provide clarity and perspective. we are commenting on the university's response to our audit The numbers below COffllSPOnd to the
     rumbers we have placed in the margin of the university's NSpOnH.

     G) The university's internal II.Kit, and its recommendation, did not addrea significant aspects of the adrTisslons l)IOCeSS that we
          nwlewed di.mg our auclt. Ftrihermont, our l'9COIT1l118lld an, stronger than those made by the univarslty's Internal aucit and
     adaNS aMiol.le deftclenclee that it did not Identify. Left uneddnlllSed, U- issl98 will continue to harm qualified applcants who apply to
     the university.

     Although both audits addrNHCI the potential for inappropriate Influence in the admissions p!OCNS, as we state earlier ia the reRQrt. the
     university's audit did not detect the ways In which staff from the development office and other univarsity staff Inappropriately Influenced
     edmialons decisions at UC Berkeley. Further, the Internal IIIJdit did not l'IIVlew or make 1111)' nicomrnendations ralated to training and
     monitoring of application nNlders. Our raview In this - - t h e datals of wNch we desaibe eartier in the rei;!Ol'.1-found the Inconsistency
     among l'Nderl negatively affects many thousands of appllcants IKh )'NI'. Finally, the lntemlll audit did not include an examlnalion of
     whether the Office of the PrNldent has conducted sufliclant and 11pp,op1 late oversight at the admillions proc:NS. Ow review found that the
     Ofllce of the President has not adequately safeguarded the admissions process, and we ll9COl1YMl1d thet it conduct regular aicfits of Its
     campu881.

     @ As we describe earlier in the t1!f2Q11, the Ofllce at the Pnleident has allowl campusea to rNpOl1d to its internal audit
           recommendations by each developing their own corrective actions. Further, the Office of the President has not reviewed the
     c:empuMI' Implementation of those comictive actionL As a result, the actions campuses haw taken have been Inadequate and
     lnconslstenL For example, our report describes how UCLA decided not to Implement the Office of the Pnlsident's recommendation to adopt
     a policy prohibiting camrnunlcation between development and admissions offices about proapectlve students. The Inadequacies in the
     ~ ' implementation of the intemaJ audit 1"9COfflmendations led us to l9COlffllfllKI. jn oi, l'Jlf)0rt. thet the Office of the Pt9sident
     dnctly monitor the way campuan lddnles thoN recornrnendationa-an oversight activity It had not planned to perform.

     @ We look forward to reviewing the actions the Office of the President takes to addrMs the deficiencies in the university's admiaslons
           process that we identify In our report. During our audit we had 18119r1ll discussions with each of the campusa and the Office of the
6    D . . . ~ " " ~ " " u - . . t - ~ ffow!t. ~le,..,_;.., u,a ffil,rvl th.A b"lffiP1¥16fU'V"I u - h-G,t reul-•,..,.. tn rYt.ft'lA tn ""''" ~•••ln~ onA ru w




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1                                        EXHIBIT 62

2       CALIFORNIA STATE AUDITOR GRANT PARKS's RESPONSE TO STATE LAWMAKER INQUIRY


3    https://drive.gooqle.com/file/d/1 RdiBcho7HELmlJKISlqPU XqV441 FOLS/view?

4    usp=sharing




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     July 18, 2024


     Assemblymember Marc Berman
     California State Assembly
     1021 O Street, Suite 8130
     Sacramento, CA 95814

     Dear Assemblymember Berman:

     I am writing in response to your letter inquiring about the status of implementation of
     recommendations by the University of california (UC) related to audit 2019-113 entitled "The University
     of California: Qualified Students Face an Inconsistent and Unfair Admissions System That Has Been
     Improperly Influenced by Relationships and Monetary Donations" released in September 2020.
     Specifically, your letter Is inquiring about the status of two specific recommendations that we have
     made that have only been partially implemented by the UC, and whether we can provide any updates
     on the progress of UC in fully implementing them.

     As you note in your letter, Recommendation #5 relates to UC requiring each campus to document and
     Implement specified selection methodologies, and to develop and implement processes to document
     their rationale for admitting applicants who are not eligible for admission. Our report that included this
     recommendation was released in September 2020, and we follow up on our recommendations with
     auditees 60 days after the report release, 6 months after the report release, and 1 year after the report
     release. For any recommendations not fully Implemented at that time, we follow up annually thereafter.
     Throughout our follow up intervals since the report release, the UC system has provided regular updates
     on their implementation progress. However, we have found their responses to not address weaknesses
     we have seen in their Implementation of this recommendation.

     To begin, the University of California Office of the President (UCOP) has required campuses to
     individually implement Recommendation #5 and document their processes and procedures. The UCOP
     has received documentation of compliance from all campuses and reviewed that documentation, and
     believes that the recommendation has been fully implemented. However, our office disagrees with that
     assessment. In documentation of policies that we have reviewed, some campuses provide insufficient
     and vague descriptions of their admission selection process, describing general characteristics that they
     consider when evaluating applicants, but no specific articulation of a priority order for how they decide
     which students to admit, particularly between similarly rated students. These vague processes do not
     correct the ambiguity we identified in the campuses' admissions processes during the audit and fail to
     provide necessary transparency In admission decisions.

     The University disagrees with our assessment and believes that the level of specificity provided by the
     campuses is appropriate and that disclosure of more specificity has the potential to unfairly advantage
     well-resourced families and those in the college consulting business. However, as we have stated in




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      Assemblymember Berman Response
      Julv 18, 2024
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      response to the UCOP, our recommendation is not that UCOP should make the relevant criteria and
      processes public. Instead, we note that in our audit we found that two campuses, UCLA and UC Berkeley
      admitted students who the campuses had determined were less qualified for admission than other
      applicants who were denied admission, and that neither campus was able to explain those admission
      decisions. This recommendation Is meant to address that finding.

      Therefore, we believe that documenting a methodology for selecting students for admission, including
      the circumstances when lower-rated students will be admitted in place of higher rated students, will
      lend sreater accountabilitv and fairness to the process. Until the campuses establish those specific
      methodologies, which need not be public, we do not believe this recommendation will be fully
      implemented and the campuses will still lack an important tool for ensuring accountabllitv and fairness
      in admission decisions.

     In addition, Recommendation #7 asks the UC to establish application reader proficiency and training
     prosrams, and ensure that for campuses that do not admit all eligible transfer applicants, that two
     readers must review all transfer applications, and that second readers cannot see the ratings of first
     readers. Similarly for this recommendation, we have received multiple updated responses from the
     UCOP as to their progress, which we have found to not be adequatelv implementing this
     recommendation.

     First, while the Office of the President has ensured that all campuses have required that second readers
     cannot see the ratings of first readers and has also established appropriate policies related to
     application reader proficiency training, not all campuses have also established appropriate monitoring
     programs to ensure continued reader proficiency, which results in a lack of adequate assurance that
     their application reviewers are actually consistent in their application reviews.

     Addltlonallv, some campuses have not established policies that would ensure that all transfer
     applications receive a second review at campuses where all eligible transfer applicants are not admitted,
     instead opting to only conduct a second reading for a sampling of applications due to resource
     constraints, arguing that this sampling is an effective statistical tool that allows campuses to ensure that
     transfer applications are appropriately evaluated. While this is an improvement to prior processes, It
     does not fullv Implement this recommendation because some eligible transfer applicants who are
     denied admission will not have the benefit of a second reading of their applications, which could affect
     the fairness of the evaluation of their application.

     For the reasons described above, as of September 2023, we have assessed the University of California's
     implementation of these two specific recommendations as only partially Implemented. We expect that
     the Universitv of California will submit further responses and any relevant documentation bv October
     2024 noting their further progress, at which point we will evaluate those responses and issue an
     updated determination as to the implementation status of these two recommendations, which will be
     posted on our website.




       621 Capilol M•II. Sui!~ 1200   I   Sam,m•nto, CA 95814   I 916 445.0255   I 916.323 0913 fax   www.111dllor.t1.gov




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         Assemblymember Berman Response
         July 18, 2024
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        I hope this information is helpful and responsive to your inquiry, and my office will keep you updated on
        any developments that may arise, as well as when we have published our next annual response and
        assessment. In the meantime, should you need anything or have any questions, please feel free to
        contact my office through Kris Applegate, our Chief of Legislative and Governmental Affairs, at
        KrisA@auditor.ca.gov or 916-445-0255.

        Sincerely,


        /4,(d__
        GRANT PARKS
        californla State Auditor




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1                                                     EXHIBIT 63

2                           UCLA ORTHODONTICS DEPARTMENT ADMISSIONS SCANDAL



      DAILY BRUIN,                                              X@      ■•     ADVIRTISE DONATI sueMrr        °'
     NEWS SPOlrTS AllTS OPINION THE QUAD '"OTO VIDEO ILWSTIATIONS CMfOOIIS lilllAl'HICS THE STACI( PRIME ENTI


     NEWS

     Donations influence admissions

            i;;.:\
            •)   <'
                    By Robert Faturechi
                    Nov. 12. 2007 9.S4 p.m


            UCLA's elite orthodontics residency program has violated University of California policy
            and standards governing public schools by giving special consideration in admissions to
            major donors and their relatives.

            Hundreds of pages of e-mails and internal documents obtained during a months-long
            Daily Bruin investigation, along with dozens of interviews, show that the program and the
            officials at its helm developed a system of preferential treatment over the past five years.

            In this unprecedented practice within the School of Dentistry, applicants related to donors
            giving six-figure gifts were automatically advanced over other students despite their lower
            test scores and grades.

            In one case, an applicant was told by a member of the admissions board that a $60,000
            gift could greatly improve his chances.

            Orthodontics Is arguably the most competitive of dental specialties, and the program at
            UCLA is regarded as one of the nation's best, typically accepting applicants with extensive
            research experience and top scores.

            But in four of the last five years. major donors' close relatives have landed one of six highly
            coveted residency spots in the program.

            In 2006, real estate developer David Lee pledged $1 million to the school of dentistry. His
            niece was admitted Into the orthodontics program soon after.

            In 2005, Dr. Norman Nagel pledged half a million dollars. His son was admitted the next
            year.

            In 2004, Dr. Bruce Molen pledged $400,000. His son was admitted the next year.

            In 2003 and 2005, Dr. Thomas Bales helped lead major fundraising campaigns within the
            School of Dentistry, and in 2001, he pledged a half million doHars as well. The orthodontics

3
            clinic Is named after him. In 2003, his daughter was admitted.                                 A
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1                                                    EXHIBIT 64

2                                      UCLA's ROLE IN ADMISSIONS SCANDAL




      -      Jorge Salcedo arrives at the federal courthouse in Boston, on March 25, 2019.
          Brian Snyder/ Reuters file




      f      X •        1111     W SAVE

      March 19, 2021, 6:44 PM PDT

      By Phi Helsel

      A former UCLA men's soccer coach was sentenced to eight months in prison Friday for taking
      $200,000 in bribes to get students admitted as athletic recruits, prosecutors said.
3




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1                                           EXHIBIT 65

2                            DEFINITION OF HISPANIC-SERVING INSTITUTIONS


a https://sites.ed.gov/hispanic-initiative/hispanic-serving-institutions-hsis/



         President Joe Biden signed a new Executive Order (EO) establishing at the U.S.
         Department of Education, the White House Initiative on Advancing Educational Equity,
         Excellence, and Economic Opportunity through Hispanic-Serving Institutions (HSls) and a
         President's Board of Advisors for HSls.

             • Read the new EO establishing the HSls White House Initiative and a President's
               Board of Advisors for HSls, b..er.e_.
             • Follow our Initiative on this webpage, Facebook and X/Twitter for additional links
               and resources.
             • Share statements of support from you/your organization by
               emailing whitehousehispanicinitiative@e!i.gID'. and posting on social media, using
               the hashtag #WHLatinos and tagging @WhiteHouseHPI, @USEdGov, @SecCardona,
               @WhiteHouse and @LaCasaBlanca.

         President Biden's EO marks a critical moment for the Hispanic community, which has
         been seeking this action for over twenty years. HS ls now number over 500 higher
         education campuses across the U.S. - educating over 55 percent of Latino students, 30
         percent of all Pell grant recipients and more than 4.7 million students as a whole. This
         new EO is an important systemic action aimed at improving the federal government's
         capacity to more intentionally address historic equity issues faced by HSls, Latino
         students and educators.



         Hispanic-Serving Institutions:
         A Hispanic-Serving Institution (HSI) is defined as an institution of higher education that-

                                • ution; and
                                      undergraduate full-time equivalent students that is at least
                                        dents at the end of the award year immediately preceding



4




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1                                        EXHIBIT 66

2                               FEDERAL GRANT MONEY MOTIVATION


3    UCLA HSI Task Force report in Spring 2022, page 9

4    https://www.chicano.ucla.edu/files/news/Cultivatjng%20the%20Seeds%20of%20

s Change%20Becoming%20a%20Hispanic-Serving%20Institution-1.pdf




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                                                                 will be poised to secure funding from specific federal
                                                                 agencies for initiatives to increase graduate student recruit·
                                                                 ment and career success with programs and Initiatives.

                                                                 Institutional Investment
                                                                 Becoming an HSI requires revitalizing current efforts and
                                                                 implementing innovative strategies to not only reach
                                                                 federal thresholds for HSI designation. but also advance
                                                                 "servingness.· Servingness refers to practices and initia-
                                                                 tives implemented to achieve educational excellence and
Strengthening Graduate School Access and Success                 equity for Latinx, first-generation, low-income students,
New initiatives are needed to ensure that more Latinx            and other racially minoritized students on campus (Garcia,
students find their way into graduate and professional           Nut\ez, & Sansone, 2019). The Task Force offers recommen-
programs, and we provide support for students from               dations but also calls for innovations and equity-minded
severely underrepresented groups in particular fields of         practices from academic and administrative units chiefly
study. Graduate division data currently show Latinx enroll-      responsible for many of the areas Indicated in this report.
ment is very low in some graduate programs, whereas              Together, we can do this!
others have increased in recent years. All programs now
require a focus on providing support for Latinx graduate         This report responds to the Chancellor's charge to the HSI
and professional school success. Although Latinx graduate        Task Force to provide concrete steps and a campus action
students play a critical role in mentoring. providing            plan to become an HSI (see action steps below). Recom-
instruction, and contributing to the achievement of Latinx       mendations address the three organizing areas of the
undergraduates, many units fail to make concerted efforts        report: Achieving HSI federal designation by Improving
to recruit, fund, and support underrepresented graduate          Enrollment Efforts, Improving Equity In Degree Completion
students. Faculty must take responsibility for mentorship        and Student Experiences, and Strengthening Access and
and provide research opportunities that will advance             Graduate Career Success. Further details on each recom-
graduate student careers. More Latinx faculty working in         mendation are in the full report, with concrete suggestions
diverse academic fields are also needed, as their presence       for improvements offered by faculty, staff and students on
attracts more diverse graduate students. Once UCLA               the Task Force.
obtains HSI designation with undergraduate enrollment, It



KEY ACTION STEPS: BECOMING AN HSI AND BEYOND

                          New strategies 1n adm1ss1ons and       retention. and entrance into graduate and profess,onal
financial aid are needed to increase the adm1ss,on and           programs Some efforts will begin as HSI proposals to
yield of Latir,x students to reach the 25% federal enrollment    federal agencies, others require initial resource allocation.
threshold and 35% Pell-grant rec1p1ent cr1ter,a.
                                                                                           When the 25% enrollment thresh-
                            Educate campus ar:d stakeholder      old Is achieved, confirm federal el1g1bi11ty, app!y for HSI
commun1t1es about the HSI goal. Study, report, and devise        des1gnat1on, and request the waiver of core expenses
efforts to close equity gaps in degree completion Mobilize       criteria (as other UCs have requested)
collective efforts to attain UC 2030 equity goals for
first-generation, low-income, and target racial groups.                                     Maintain HSI des1gnat1on by
                                                                 annually subrn1ttmg waivers, reviewing federa: gu,delines
                     Create 1ncent1ves for faculty, staff, and   for opportunities, and cont1nu1ng to implement m1t1at1ves
administrators to lead innovative HSI 1n1t1at1ves, addressing    and evaluate efforts.
key trans,t1on points, student learning and deveiopment,



  2




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 1


 2


 3    https://calmatters.org/education/higher-education/college-beat/2022/11/hispanic-

 4    serving-institutions-california/

 s Sylvia Hurtado, a professor of education at UCLA, talked about access to

 6    federal grant money as a motivation.


       The quest to become an HSI

       At the University of California, change is also underway. In 2018, the UC launched its Hispanic-
       Serving Institutions Initiative, an effort to designate all nine of its undergraduate campuses as
       HSls. Hurtado said the push stems partially from a desire to embrace the diversity of
       surrounding communities - but access to federal grant money can be an important
       motivating factor as well.
 7


 8


 9-------------------------------

10


11    https://www.fox4now.com/news/local-news/local-university-aims-to-become-hisp

12    anic-serving-institution

13    "Achieving an HSI status allows us to become eligible for a lot of funding. That

14    then can support our students, our faculty and support our staff so it's really

1s    important to have ability to have access to additional funding that is specifically

16    designated for Hispanic serving institutions," said Mitch Cordova, vice-president

11    of student success and management at Florida Gulf Coast University.




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1                                        EXHIBIT 67

2                          UC ENDORSED ACA 5, REPEAL OF PROP. 209

a https ://www. universityofca Iiforn ia .ed u/press-room/uc-boa rd-regents-unanimously

4    -endorses-aca-5-repeal-prop-209

5




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      mi
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                                                                                               ==
                                                                                               -

      UC Board of Regents unanimously
      endorses ACA 5, repeal of Prop. 209
     [i] ~ Ill CJ
      UC Office of the President   June 15, 2020

     The University of California Board of Regents today (June 15) unanimously
      endorsed Assembly Constitutional Amendment 5_(ACA,5)_ as well as the repeal of
      Proposition 209, which banned the consideration of race and gender in
      admissions decisions a quarter-century ago. The votes from the governing board
      of the world's preeminent public research university underscore the proactive
      need to help address systemic and perpetual inequalities in public education.

      "There is amazing momentum for righting the wrongs caused by centuries of
      systemic racism in our country. The UC Board of Regents' votes to endorse ACA
     5 and to repeal Proposition 209 plays a part in that effort," said Board Chair J.ohn
     A. Perez, "As we continue to explore all the University's opportunities for action,
      I am proud UC endorsed giving California voters the chance to erase a stain,
      support opportunity and equality, and repeal Proposition 209."

      UC has long been committed to creating and maintaining a student body that
      reflects California's laudable cultural, racial, geographic and socioeconomic
     diversity. However, Proposition 209 has challenged the University's ardent
     efforts to be equitable and inclusive as it seeks to attract the best and brightest
      students from all backgrounds, while ensuring equal opportunity for all.

      "It makes little sense to exclude any consideration of race in admissions when
     the aim of the University's holistic process is to fully understand and evaluate
     each applicant through multiple dimensions," said UC President Janet
      Napolitano. "Proposition 209 has forced California public institutions to try to
     address racial inequality without factoring in race, even where allowed by federal
     law. The diversity of our university and higher education institutions across
1
     California, should - and must - represent the rich diversity of our state."



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1                                        EXHIBIT 68

2            UC's AM1cus BRIEF WITH THE US SUPREME CouRT IN SFFA v. HARVARD


3    https://www.supremecourt.gov/DocketPDF/20/20-1199/232355/2022080113493

4    1730 20-1199%20bsac%20University%20of%20California.pdf


                                   21
        student experiences on each of its campuses. See An-
        nual Accountability Report 2022 at 124. Those metrics
        reveal areas in which UC bas not yet achieved its edu-

          1. At many of UC's campuses, especially the flag-
       ship campuses, there remain stark differences be-
       tween the demographics of UC's enrolled student pop-
       ulation and the demographics of the applicant pool
       that UC seeks to serve-that is, California public high
       school graduates. To be clear, UC does not maintain
       any "specified" racial targets based on the de-
       mographics of high school graduates or any other base-
       line. See Fisher v. University ofTems at Austin, 570
       U.S. 297, 311 (2013) ("Fisher r) (demographic targets
       constitute impermissible racial balancing) (citation
       omitted). Instead, UC looks at demographics to deter-
       mine whether there are substantial demographic dis-
       parities of the sort that this Court has recognized can
       undermine a university's ability to provide the educa-
       tional benefits of diversity. See Regents Policy 2102.
           p 1 y, e                    o erv            e 8XlS
       ence of stark demographic disparities reveals that a
       university is struggling -io enroll students who can of-
       fer underrepresented perspectives." Fisher 11, 579
       U.S. at 383. In a student body with few students from
       underrepresented minority groups, there will be few
       opportunities for promoting cross-racial understand-
       ing, and students will not be exposed to diverse racial
       perspectives. Grutter, 539 U.S. at 330. In addition,
       because Grutter recognized that a university has a
       compelling interest in "prepar[ing] students for an in-
       creasingly diverse workforce and society: id. at 330,
       332 (citation omitted), Grutter presupposes that uni-
       versities may make themselves aware of the de-
       mographics of the workforce and the community in or-
       der to determine the degree of cross-racial interaction

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1                                                                EXHIBIT 69

2                            UC's PURSUIT OF HISPANIC-SERVING INSTITUTIONS STATUS

3       1. UC Berkeley CHANCELLOR'S TASK FORCE ON BECOMING A

4          HISPANIC SERVING INSTITUTION

s          https://chancellor.berkeley.edu/sites/default/files/hsi report-final2 updated

6            1-2021 all names.pdf




            Executive Summary
            In May :a.o19, Chancellor Carol Christ charged the Chancellor's Tak
            Force on Becoming a Hispanic Serving Institution (HSI) with creating
            a roadmap for UC Bera 1111•••           designadcm by m27. She
            identified this  •                              in the campus'
            strategic plan-                                undergraduate
            students to aelf~pittty as Chicanz/Latim:,   the University to be a
            preferred destfna,n.i.nirllJll•!ll'I       midents, and for every
            student to thrive at                   belonging In all dimensions
            of the campus towards a true ezempllfication of comprehensive
            ezcellence.'
            Chancelor Clvist selected Oscar Dub6n, Jr.,           HSI Elfllllllty Work Group clmp:
            Vice Chancellor for Equity a Inclusion, and Kris      ►   Review HSI desi&nation application processes,
            Gulifflu, Carol Liu Chair and Professor, Graduate         timltlina, ltligibflity alteria, and .-..levant Insti-
            School of Education, as aHhalrs to the Task Force,        tutional data;
            which indudecl CMr30 memben representineall           ► lclendfy technlcal upects of successfully apply-
            sectors of the can,pus mnmunlty.                        1.. for the HSI cleslplation;
                                                                  ► Enpce peer Institutions about anticipated
            HSI 1ulc F«a charp:                                     challe-.es to !hit appllcatlon processes and
            ► Review of HSI appkatlon processes, ri11"biffty          ellglbiUty criteria;
              alteria and timelines and collect relevant Insti-   ► Review admissions and recruitment strate&fes
              tutional data;                                        that wil support HSI pis;
            ► Dewlop roadmap toward becomi. . an HSI, as          ► Malca recommendations for the best approach·
              MIi u relabel immediate, n_.-term, mid-term,          es for UC llerlreley to meet the HSI appllcatlon
              and lon&-term ps;                                     and ellp>llty requirements and review of best
            ► Crate an actionable, campus-wide enpae-               HSI practices at comparable uniwrsitia.
              ment, soclallzation, and communication plan
              (e-1-, website, materials, social media, commu-     HSI 1nvnt1nsas..,,..wor1tGroupcharp,
              nity e...-,nent, etc.);
                                                                  ► Synthesize Information from committee
            ► Prvvide recommendations for investments in            reports such as Chlcar.fl..atlnx Standin& Com-
              lnfrutructure, curriculum, ,-ch, and cam-             mittee recommendations, Chicanx Latina Task
              pus culture towanl servln& the ~                      Force Report, Chicana L.atinx Convnunhy
              community, u w.11 as other underrepralnted,           Report, Undefll"aduate Dlwrsity Project re-
              underserved and,'or invisllilnd communities.          ports, l'f""S"ntlltlons, and n,con,mendatlons,
            The HSI Task Force took a Stnlctlnd and                 African American Recruitment a Retention
            comprehentlve approach to lddr_.. tt,,. dwp             Report; African American lnltlatiw Committee
            by forrninc three worlcirC ,oups, aach with thltir      Recommendations, and lndependltnt Advisory
                                                                    lloard on Police Accoumabllity and Community
            owndwp:
                                                                      Safety, etc~ (Appendix A-G)
                                                                  ►   Identify and prioritln .as for Immediate,
                                                                      short, and long-tarrn lnwstments in infrutruc.
                                                                      ture, curriculum, resan:h, and campus culture
            '..,.....,,smn,,c Plan
                           CHANCELLOR'S TASK FORCE ON BECOMING A HISPANIC SERVING INSTITUTION J



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1       2. UCLA

2           Making Strides Towards Becoming a Hispanic-Serving Institution

3           https://chancellor.ucla.edu/messages/making-strides-towards-becoming-a-

4           hispanic-serving-institution

      UCLA

      Office of the Chancellor
                                                                                           About..,         Messages




      Home : Messages


      Making Strides Towards
      Becoming a Hispanic-Serving
      Institution
      September 24, 2021




     Chancellor Block and Executive Vice Chancellor and Provost Carter sent
     the following message to the UCLA campus community.
     Dear Bruin Community:

     Last month, the U.S. Census Bureau released official data showing that Latinx Californians - the largest
     racial or ethnic group in the state - had risen to nearly 40 percent of California's population. The
     announcement only reaffirmed the importance of UCLA's aim to achieve federal d e s i g ~
     .6mYiDQ lnstjtution (l:!.S.H by 2025. As a public university, UCLA has a responsibility to ensure that our
     institution reflects the diversity of our state and welcomes members of our Latinx communities, honors their
     intellectual and cultural contributions,                  them to flourish both at UCLA and well past graduation.

     Today we write to annou                     new commit             pport of these goals. While we will work hard
     to boost enrollment of qual              tudents to 25             II undergraduates over the next four years -
     a requirement to qualify for        tus - we recognize th       ply enrolling greater numbers of Latinx
     students is not enough. UCLA also                           ents to succeed by investing in academic and
     support infrastructure dedicated to their learning and growth.
5




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1       3. UCLA https://hsi.ucla.edu/about/

     UCLA
     Hispanic-serving Institution

                                                     About HSI ..,        Events         Programs ..,         Publlcatlons & Organizations              Giving        Q.



     Home I



     About HSI
     Strengthening Student Access and Success
     The "'Hispanic-serving lnslilution" designation is granted to un~a by the U.S. Department of Education and requires that a minimum ol 25% ol an inslitulion's
     full-time undergraduate students identify as latinx. Curren11y, approximately 21 % ol UCLA undergraduates are Latinx.

     Achieving federal recognition as an HSI wilt make UCLA eligible for e range of federal grants that would bolster existing educational programs, research training and
     academic attainment for L.atinx, low-income and other underrepresented students.
2


3


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1       4. UCLA

2              Hispanic-serving Institution

3              https://hsi.ucla.edu/




       Read the Report
       UCLA's Hisplnc-S.rvlng lnslllullon Tuk Force has pwlahed 11s repon,
       CU111¥a11,.111e . . . . a1a..,.: . _ . , . alllp&nle l&rv•111ln8lllullon.
       Nllingout--~•lorac1Hw1gled&l'IIHSldelignallonand
       making • sining inllllullonll ........,_ lo lldvancing undergradum and
       graduate Sbldlnt llUCCeN.

          Down1oad the Report



          Read About OLlr Progress




       Key Recommendation•

                Engage campua units to Implement naw                                   Improve the cunlculum and aclvlalng appro■ch■a
           1    atra18gln to achlfte HSI federal clnlgnatlon and
                provide support for the coorclnatlon of eflorta.                   5   to be culturally rnponalve to the rlNda and
                                                                                       atrangtha of Latlllll, low-Income, and nm
                                                                                       g■n■rlltlon atuclenta.


                Improve admlaalona and yield atnagln for
                Latlnx, low-Income, and ftrat-geMr■tlon                                Eatabllah a Latlnx Student RNource Center that
                atudenta; NpOrt ■dmlulona and enrollment
           2                                        'andtlrat-
                                                 ltor progl'ffa
                                                                                   6
                                                                                       can provide culturally JNpOllalve support for
                                                                                       atudenta and lnform■tlon for campua ecluc:■tora.
                                                                                       lulld . . . , . - , ■fflrm Latlnx atudenta, and
                                                                                       Improve exp■rlenc:N c■mpua-wlde.


                Improve ftn■ncllll ■lei and tlm■llneH of                               Improve Lallnx acceaa to gr■ctua and
                achol■nihlp aupport ao that UCLA la • more
          3 atudenta
                affordable option for L■llnx and loW-lncom■
                         and their famllN.
                                                                                   7   profNalonlll progr■ma, ■xt■nd opportunltlH for
                                                                                       ■npg■m■nt In ,-ch, and -Ur■ m■ntonhlp
                                                                                       aupport.


                Prioritize ■Horta to l'9taln atuclenta, monHor
                prognu, and atucly the lnatltutlon■ I b.-rt■ra that
                pr■v911tatudenta from Nmlng thelrdeg,-ln a

          4     timely fMhlon. Implement equity-minded
                lnlll■tlvN to--■ the lnalltullon la aupportlng
                atudenta '-rd r■tantlon In the major and
                degree complellon.

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1       5. UC Office of President

2           A Blueprint for Becoming a Hispanic-Serving Research Institution (HSRI)

3            System

4            https://www.ucop.edu/hsi-initiative/ files/reimagining-the-university-of-calif

s            ornia-to-serve-lati nxs-eg uitably. pdf

                                  Reimaginlng the University of California to Serve Latinxs Equitably




        Executive Summary
                                                                        and environments indicative o f - - . - . . This presents
                                                               dy       ample opportunltlea for UC lo actiwiy engage In the
                              poatuconda,y                        -     neceuary process of inltltullonlll transformation,
                               l.atlnx uncle                     lly    ensuring optimal aupport for Ill ■tud■nll and r■muling
                            I cohgH and              --Ero•the          Iha world'■ leading ~ pubic unlv9rllty ■ystam.
        Unlled                                       , most HSl1
        haw beMl lnstilutlons with open and lnclusiv'8 ■dmla­           Purpose of the Report
        llona policies. Yet. ■ growing number of rn■arch 1 (R1)         This report explores Iha conc■pt of "nrvingn■N" within
        unlvllt-.ltles, which ■re bebr known for thff aelective         the Unlv■rllty of California (UC) ■y■t■m, which Is on its
        ■drnilllons ~ and historlcal LIKl■rrepreNnta                    way lo b■coning a oollecllon of fuly-lledgad Hisplfl-
        !Ion ol L■tlnx 11ud■nts, ■re now mHting the IIMlllrnenl         ic-Serving R-■n:h 1 lnltllullDns (HSRI■). Thi■ work
        lhrelholds for HSI dNIS,lation. o.pite iflCINling               nems from a UCOP Olllc■ of the Provoat planning grant
        Latlnx undergradu■le enrollments, L■tlnx graduate               under Iha ao■■-campua le■d■rlhlp of Ors. Maro■la G.
        lllud■nll, fawty, staff and adminlllrallve leadership at        Cuellar (Davi■). FIWICel Contnras (Irvine), and Juan
        thele instilulion1 remain severely undemlpresentad.             Poblete (Santa Cruz). The report begins with ■n lntro-
        This pattern Is concemlng given that r■s■■rch 1 unlv.-.1-       ducto!y Nellon, outlining Iha increaalng prN■nC■ of
        tles play a critic■I role In praduclng the nut ganeratlon       HSRls acma higher education overall and, more
        of ~ a n d profNslon■II. R■cogr,lmg lhil                        1p■clllcally, within Iha UC ■yst■rn. Following 1h11, lhnle
        issue, nalionlll ■trorll Involving R1 HSil are aiming to        papers explore how ■-rvingNs can be conc■plualized
        boost Lalilx graduate and faculty reprnent■lion at              within UC, given existing lnequitin in outcome&. Finally,
        lheH lnstilutionl. VIit. It l'lfllllins u ~ ID what ■xtant      the report conclude■ by otr.rlng a Nrin of r■comm■n­
        Iha■ R1 HSI■ ■re changing lh■lr atrucbn1 to achlev9             daliona aimed at utablllhlng fram■wal1ca, ■tructures,
        lh■n objectlvu, which point■ to • crllical gap In educa-        a n d ~ that truly ambody Iha ncillon of ..v-
        tional rnearc:h and policy that IINds to be adclnlsa■d.         ~ throughout Iha entire UC ay■tem.


        Aa the public re-■rch unl-■tty 1y■tam In the state wlh          Paper Summaries
        the largnt Latlnx population In the nation, the Unlv■nity       In the ht paper, Dr. Juan Poblete prapoHl lhat lhe
        of Calfomla (UC) ii limllarly r■llecting Iha■ brmder            .-rival of I.aim alud■nla lnlD Iha Univ■nily of C■lfarnla
        ■nrallm■nttrenda. UC ■cluc■ln an ~chwl■                         m■rtc■■ pragr■IIIYed■v91oprnent.d■moailllzklg
        ■tud■nl body, Including many hiltorlcllly undarurvad            ■cces1 and pot.enllaly paving lhe -Y far gr-■1■r educa-
        racial minoritiN and lhoN who are fim-g■neralion and            tional equity wllhln Iha ltalll. However, 1h11 d■veloprn■nl
        from ~ IIOCio■conomk: backgrounds. Much of this                 take■ place ■galrllt Iha b■ckdrap of ■ubllanllal 1tudent
        dlv■rsillcalion at ti■ UC ii due to increued enrollment of      enrallm■nt grawlh and • Nltls of r■grNIMI dynamicl
        Ldnx uncl■rgradullla stud■nll. Five of Iha nine undw-           lhat have _, far llrnad Iha po■lllve 90dlll lmp■ct of that
        gradu■la c■mpuNI now IIINt HSI ■ligllllty c:rllerla, while      -■. Thu■ dynamic■ ■ncampalS factorl IIICh u
        Iha r■mainlng campusn are on p■lha to IIINt Iha 25%             raduc■d per41udent ■pending, daa1•1d stall funding
        undergraduate em>llm■nt lhrHhold IOOrl. As ttwu                 for public education, and lhe lmposHlon of tuition lncreaa-
        lnatlutions. which -      himrlcdy predomln■nly allend-         ■s that pl- a burden on llud■nts' famllle■. Within 1h11
        ed by whb sludenta, now educate ■ lignllk:anlly more            c:onlul. two contradictory dynamlcl become evident: Iha
        r■clally diverse slud■nt population, It ii -u■t ID              upan■ lon of public educ■llon's , - i i and the concur-
        ■rl1JIDY culhnlly r■IPOflllv■ and ■-l-bal■d lppnllldlN          rent privllllzallon ol lhe conc■pt of public ■duca11on. The
        in NIVing this mulllcultural, multilingu■~ and firllt11 ■11«•   att■lnm■nl of l-llpanic-S■rvlng Institution (HSI) status
        ■lion critk:■I m■II of lludenla. Subllantllll afforls are       11C1011 lh■ Unlv1r111ty of California sy■tam prnents a
        required to transform Iha entn UC ly■tam inlll • rwflac-        notable opportunity. By recon■idering Iha m■anlng of
        llon ol the state'■ popufallon and to eslabllllh strucuN        "■-vingn■11," this statu■ can polentlaly Initiate a shift




                           2 I A Blueprint for Becoming a H1spanic-Serv1ng Research Institution (HSRI) System

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1                                                                       EXHIBIT 70

2                                               ASIAN POPULATION GROWTH IN CALIFORNIA


3    https://apnews.com/article/california-race-and-ethnicity-census-2020-4209eebb8

4    20f00e9238e0dba0a35a1e3




    1 ~21 ALE· In 1111s Jin. 21, 2006. lie phalo. Ch!MN lion dancers perfwm lnoaland"I China-. In Olldand, Cdf.Acconllnclll rwwdata framlhl U.S. Ca.us lurHu NlnNd Thursday.
    q   12, 2021, C.llfamll"1Alian popu1at1ana-by 25'll, lntllt ,-tdocadl. ~ lhlmlhl ,.._..,.... ltmic an,up lnthtllltiml"I most plllUOUS mte (Al' f'>'          RHd More



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                           6          -5:2'1'UPST,Aupl12.20Z1




                          SACRAMENTO, Calif. {AP) - California's Asian population 1rew by 25% in the past
                          decade, making it the fastest growing ethnic group in the nation's most populous state,
                          according to new data from the U.S. Census Bureau released Thursday.
5




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1                                               EXHIBIT 71

2                                       UC UNDERGRADUATES BY RACE

3    https://www.universityofcalifornia.edu/press-room/uc-statement-scotus-decision-

4    regarding-use-race-college-admissions




      UC undergraduates by race and ethnicity

      • Fall 2022:

        o 32.2%Asian


        o   22.5% Hispanic/Latino

        o   22.2% White

        o 4.5% African American


        o 0.5% American Indian


        o   o ..~% Pacific Islander

        o 2.8% Domestic unknown


        o 15% international


      • 2002 (post Prop. 209)

        o   38%Asian

        o   14% Hispanic/Latino

        o 36%White


        o .~% African American


        o 1% American Indian


        o 1% Pacific Islander


        o 8% Domestic unknown


        o   1% International

      • 1994 (pre-Prop. 209):

        o 37%Asian


        o 15% Hispanic/Latino


        o 36%White


        o   4% African American

        o 1% American Indian
5




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1                                                                     EXHIBIT 72

2                                      UC STUDENT DISAGGREGATED RACE AND ETHNICITY DATA

a https://www.universityofcalifornia.edu/about-us/information-center/disaqgreqated
4    -data


     UC student disaggregated race and
     ethnicity data
     Updated January 7, 2025

     These tables show counts by disaggregated race/ethnicity category. "Unknown"
     race/ethnicity students are not shown. Student ethnicity collection and reporting
     at UC is detailed~-



       Enrollment       Degree Recipients            Undergrad Admissions     UG Graduation        Notes     UG Adm Ordering


      Fall dupllcated enrollments by dluggragated rac:elethnlclty
      (Unduplicalad affldal counlS -        henl: l!l11wl/www_universityofca1ifomia edulinfocenterlfalH!mrollment-headcounts )

      campus                                 Fall term                   First generation status (UG only) Student lavel                      Enrollment status
      [!_All) ______________ -- -   --.-! i (Multiple va'u<>s)       .; !(All)                              • ! j(AII)    -----------~ • i i(AII) ___                   •!

      Gender Identity
      i_sAII)
                                             sexual orientation
                                        • ' l(AII)                   .   Residency
                                                                         [(All) __
                                                                                                            Pell recipient (UG only)
                                                                                                     -~J ;(All)
                                                                                                                                              Undergraduate entry level
                                                                                                                                          • ! iCAI~--                   •!

      Broad category subtotals (duplicaud)
                                                                                                    2018   2019    2020    2021    2022    2023    202-1
       African Affl41rlcan 1nd Black                                                               11,659 12,099 12,659 13.414 13.727 14,339 14,918
       Amarican Indian/Alaska NathM                                                                 3,296  3,277   3,380   3,705   4,327   4,904   5,325
       Asian                                                                                      119,087 121,112 122,520 126,654 128,297 129,199 130,539
       Hispanic/latinx                                                                            64,635 66,854 68.22S 70,199 70,217 72,533 74,924
       Native Hawaiian 1nd Pacifk Islander                                                          2,120  2,269   2,369   2,413   2,378   2,443   2,439
       Southwest Asian/North African                                                              12,224 12,688 12,969 13,730 14,137 14,990 15,443
       White                                                                                      89,971 90,437 89,765 94,745 93,60S 95,488 95,84S

      Detailed counts (duplicated)
                                                                                     COiiection
       Broad category                         Category                                              2018      2019       2020     2021     2022         2023     2024
                                                                                      Status
                                              African American,/Black                    A         9,102     9,362       9,695   10,348   10,814        11,287 11,855
                                              African                                   B          2,203     2,246       2,486    2,716    2,828         3,110  3,259
       African Affl41rican 1nd Black
                                              Other Afriean Ameriean/Black              B          1,375     1,420       1.494    1,598   1.489          4,354  4,538
                                              Caribbean                                 B           897       990        1,056   1,126    1.172         1,267   1,375
       Arnazigh                               Amazigh                                  Null                                                               41      32
       American Indian/Alaska Native          American Indian/Alaska Native             A           3,296     3,277  3,380        3,705  4.327           4,904  5,325
                                              Chinese                                   A          53,040    53,842 53,684       53,752 52,650          51,230 50 8S8
                                                                                                                                                                  1
                                              Other Asian                               A          11,869    11,877 12,001       10,899 10,683          30.300 31,178
                                              Asian Indian                              B          12,730    13,728 14,686       16.419 18,194          20.379 21,566
                                              Vietnamese                                A          13,933    14,377 15,048       1S.71S 15,800          15,975 16,281
                                              Filipino                                  A          13,008    13.233 13.425       13.923 14,231          14.628 14,995
5




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1                                                         EXHIBIT 73

2                                             ASIAN ADMITS AT UC BERKELEY


3    UC Berkeley's admission of Asian applicants declined in recent years.

4    https ://www. u niversityofcalifornia. ed u/about-us/i nformation-center/ad mjssions-re

5    sidency-and-eth n icity

     Fall freshman applicants, admits, and enrollees
                           2014      2015     2016      2017      2011      2011      2020      2021       2022         2023      Academic Yr
                          44,622    45,702   45,748    49,282    51,924    50,148    50,286    62.191    72.466       72,697 '(Multiple values)                 •I
     AppHcants                                                                                            1()()'11,
                           100'6     100"     lOO'l6    100'MI    loo,&     100'li    100'li    100'6                  100'6
                                                                                                                                  Campus
                           2.525     2.667    2,783     2,988     3,205     2,943     2,958     4,036     4,654        4,580      , Berkeley                    •i
     African American
                             6%         6%      6%        6%        6%         6%       6%         6%       6%           6%
                                                                                                                                  Select breakdown
                                                                                                                                                         ---·
     American Indian
                            307       290       277      272        260       234       198      230        364           392     fi;; race/ethn1c1ty   ·······•-i
                            1%        1%         1%       1%         1%       0%        0%        0%        1%            1%
                                                                                                                                  FIiter
                          16,866    17,162   16,509    17,824    20.108    19,775    20,176    23.946    27,925       27,875
     Asian
                            38%       38"      36%       36"       3991,     39%       40%       39%       39%           3891,    ; By residency _______ •       i
                          11,685    12,095   12,700    13,959    14,241    13.890    13,887    18.210    22.366       22,645 Select category
     Hispanic/letino(a)
                            26%       26%      28%       28%       27%       28'6      28%       29%       31%          31%       0
                                                                                                                                 Callifomia resident
                                                                                                                                 Domestic nonresident
                             160      144       157       167       182      158        154      203        194          216     International resident
     Pacific Islander
                             0%        0%       0%        0%        0%       0%         0%        0%        0%            0%

                          11,677    11,609   11,665    12,409    11,924    11,481    11,052    13,498    14,846       14,747
     White
                            26%       25"      25%       25%       23%       23%       22%       22%       20%          20%

                           1,402     1,735    1,657     1,663     2,004     1,667     1,861     2,068     2,117        2,242
     Unknown
                             3%        4%       4%        3%        4%        3%        4%         3%       3%            3%

                          7,267     8,734    9,505     8,992     8,761     9,336     10,143    10,452    10,483       10,976
     Admits                                                                                                            1()()91,
                          10°"      10014    100'6     loo,&     100'6     10014      100'6     100"      100%

                            233       344      389       359       369       380       509       495        546           523
     African American
                             391,     4'16      491,     4%        4%        491,       5%        591,       5%            5'6

                             SB       53        60        66         30       64        45        69         63            79
     Amlrican Indian
                            1%        1%        1%        1%        0%        1%        0%        1%         1%           1%

                          3,188     3,904    4,134     3,866     3,855     4,155     4,307      4,262     4,319        4,416
     Asian
                           44%       45%      43%       43%       44%       45%       42%        41%       41%          40%

                          1,431     1,656    1,746     1,832     1,894     2.048      2,932     2.980     2,973        3,319
     Hlspanlc/lAtlno{a)
                           20%       19%      18%       20%       22'6      22%        29%       29%       28'16        30%

                             9         19        22       22         18        26        19       35          15          32
     Pacific Islander
                            0%        0%        0%       0%         0%        0%        0%        0%         0%           0%

                          2,013     2,273    2,632     2,410     2.121     2,208     1.881      2,160     2,159        2,132
     White
                           2891,     26%      28%       27%       24%       24%       19%        21%       21%          19%

                            335       485      522       437       474       455       450       451        408          475
     Unknown
                             5%       6%        5%        5%        5%        5%       4%        4%         4%            4%

6




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 1                                        EXHIBIT 74

 2             COMMUNICATION WITH UC BOARD OF REGENTS AND ADMISSIONS OFFICE


 3        1. Comment 1 to UC Board of Regents

 4


 s Subject: College Admission Transparency - Public comment for the UC Board

 6    of Regents meeting on Nov 16

 1    From: Nan Zhong <nanzhong1@gmail.com> Fri, Nov 10, 2023 at 10:03 PM

 a To: regentsoffice@ucop.edu

 9


10    Honorable members of the UC Board of Regents,

11


12    On behalf of thou~ands of Californians, I am writing to you to address a matter

13    of great importance - the need for more transparency in college admission. To

14    begin, I would like to draw your attention to my son Stanley's college application

1s    story. It is so bizarre that it was reported by ABC, CBS, CNBC, USA Today, and

16    other media channels. It was also presented at a congressional hearing on

11    September 28.

18


19    In addition to an excellent academic record and strong leadership both in and

20    out of his school, as a high schooler, Stanley achieved multiple recognitions that

21    made him stand out even among professional software developers around the

22   world. For example,

23    •      He advanced to the Google Code Jam Coding Contest semi-final.




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 1    •       His e-signing startup is featured in an Amazon Web Services case study,

 2    an honor received by only a handful startups in the world.

 3    •       He won 2nd place in MIT Battlecode's high school division.

 4    In 2019, not knowing he was only 13 years old, a Google recruiter invited him to

 s interview for a full-time job. Shortly after turning 18, in September 2023, he was

 6    hired by Google as an L4 software engineer, a position that typically requires

 1    multiple years of professional experience as well as a college degree.

 8


 9    In contrast, despite citing the awards above (and a lot more, including the Gold

10    Level President's Volunteer Service Award), his college application was rejected

11    by all five UC schools he applied to, namely UC Davis, UC Santa Barbara, UC

12    San Diego, UCLA and UC Berkeley. As a California taxpayer, I was rattled by

13    the fact that he had no UC schools to choose from. After Stanley's story went

14    public, I received numerous emails, complaining about similarly unfathomable

1s    application results with the UC schools. So Stanley's case is not alone.

16


11    The Varsity Blues scandal already eroded public trust in college admissions. The

1a    2020 audit report by the California State Auditor further underscored

19    deficiencies in UC's admissions practices. Its summary says,

20         "The university has also failed to ensure that campuses fairly and

21         consistently treat the thousands of prospective students who apply each

22         year. Neither UC Berkeley nor UCLA have developed methodologies for

23         how they determine which applicants to admit. Nevertheless, both of those




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 1          campuses admitted thousands of applicants whose records demonstrated

 2         that they were less qualified than other applicants who were denied

 3          admission. Applicants' chances of admission were also unfairly affected by

 4          UC Berkeley's, UCLA's, and UC San Diego's failures to properly train and

 s         monitor the staff who review and rate applications. We found that staff were

 6         sometimes overly strict or overly lenient in their review of applications,

 1         thereby making the applicants' chances of admission unduly dependent on

 a         the individual staff who rated them rather than on the students'

 9         qualifications."

10


11    UCLA's late distinguished sociologist, Prof Robert D. Mare also documented

12    anti-Asian bias in UCLA's admissions process in his report titled "Holistic Review

13    in Freshman Admissions at the University of California-Los Angeles 2009-2011

14    Update." Its summary says,

1s         "In both Final and Supplemental Review, African American applicants

16         receive somewhat more favorable and 'North Asian' (Chinese, Japanese,

11         Korean, Indian/Pakistani American) applicants receive somewhat less

1a         favorable holistic read scores than applicants in other ethnic identity groups

19         who are otherwise similar in measured academic qualifications, personal

20         characteristics, and measured challenges and hardships."

21




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 1    In line with the reports by the California State Auditor and Prof Mare, as

 2    students and parents, we are seeing nonsensical admission results again and

 3    again.

 4


 s As a basic democratic principle, we should have checks and balances for every

 6    power, including the power of the admission offices. Holistic reviews should not

 1    be construed as black box reviews. I think college admission transparency is not

 a a blue/red issue. It's a common sense issue about our kids' education and their

 9    mental health. It's a common sense issue about America's competitiveness in

10    the global economy. It's also a common sense issue about UC's reputation. To

11    rebuild public trust and uphold the values of the UC system, I urge you to take

12    immediate actions to increase transparency of the admission process. I hope we

13    can transcend political pettiness. Let's create a partnership across students,

14    parents, colleges, governments, education and legal experts. Let's work

1s    together to increase college admission transparency in a judicious, systematic,

16    cost-effective and privacy-preserving way. Let's do something for our kids.

17


1a    Thank you for your time and consideration.

19


20    Sincerely,

21    Nan Zhong

22


23




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1       2. Response 1 from UC


    UNIVERSITY OF CALIFORNIA




    GKADUAU, Uf\o'D£RCKADl.lATE AND l:QU£1Y AFFAIRS                            OFHCF OF THF PRFSIOFNT
    UNDERGRADCATF. ADMISSIONS                                                  1111 fnnllin Slra,t. 10"' fioo<
                                                                               Oakbnd. Cahfomia 94607-5200




                                                                               November 20, 2023

         Ms. Nan Zhong
         Email: nanzhongl (@grnail.com

         Dear Ms. Zhong,

         I am writing in response to your communication to the UC Board of Regents regarding
         transparency in the undergraduate admission process for the University of California.

         Given both the extraordinary quality of the applicants and the large number of applications
         received, all our campuses arc faced with making difficult admission decisions; unfortunately,
         this means that many very talented and deserving students like Stanley Zhong are disappointed
         by the outcomes of the admission process.

         Each of our campuses select their class using various forms of comprehensive review. There is
         no formula for gaining admission to UC; the full extent of each applicant's academic and
         personal accomplishments is taken into consideration within the context of the opportunities that
         were available to that student. There is no single deciding factor in any admission decision.

         We have many public-facing resources that provide information about the admission process and
         how applications arc reviewed. Links to the campu.,; specific processes arc also provided.
         https://adrnission.universityofcalifomia.edu/how-to-a1mly/ap_plying-as-a-freshrnan/how-
         applications-arc-rcvicwcd.html

         In response to the 2020 California State Audit, documentation and transparency have been
         improved. In addition to the information that is provided in our admissions website note above,
         the Academic Senate's systemwide committee on undergraduate admissions publishes an annual
         report on Undergraduate Admissions Requirements and Comprehensive Review which includes
         a summary of the selection processes for each campus.
         https://senate.universityofcalifomia.edu/ files/committees/boars/boars ....."r-report-june-2023.pdf

         As a public institution, the University takes seriously its obligation to equitably serve all
         California residents who arc qualified and interested in earning a degree at one of our campuses.
         As required by State law and Regental policy, the University does not grant preferential
         treatment in its admissions processes to any applicant on the basis of race, sex, color, ethnicity,
         or national origin. It is also Regental policy that the University seek to enroll a student body that
         encompasses the broad diversity of cultural, racial, geographic, and socioeconomic backgrounds
         characteristic of California. Further details on undergraduate admission outcomes can be found
         in several dashboards on the UC Information Center:
         https://www.universityofcalifomia.edu/about-us/information-center




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     Although the University cannot guarantee admission to t,ur most selective campuses, UC is
     proud to be able to continue its commitment to the best students in the state with the opportunity
     to enroll within the UC system. It is the students' choice whether to accept that opportunity or
     not.

     On behalf of the UC Board of Regents, I thank you for taking the time to share your thoughts and
     concerns.




                                                   ~~-o
                                                  Sincerely,



                                                  Han Mi Yoon-Wu
                                                  Associate Vice Provost and
                                                  Executive Director, Undergraduate Admissions
                                                  University of California Office of the President




2


3




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 1       3. Comment 2 to UC Board of Regents

 2


 3    Subject: UC Admission Transparency - Public comment for the UC Board of

 4    Regents meeting on Jan 25

 s From: Nan Zhong <nanzhong1@gmail.com> Thu, Jan 18, 2024 at 10:30 AM

 6    To: regentsoffice@ucop.edu

 7


 a Honorable members of the UC Board of Regents,

 9


10    I'd like to follow up on the comment I made on Nov 16 in front of this board

11    regarding the need for more transparency in UC admission. As mentioned, my

12    son Stanley's college application story was so bizarre that it was reported by

13   ABC, CBS, CNBC and USA Today. To highlight the absurdity, he was hired by

14    Google as an L4 software engineer. It means that Google sent five experienced

1s    software engineers, all specifically trained to interview candidates, to assess his

16    proficiency in Computer Science. Together they spent over 10 hours

11    interviewing Stanley and discussing his interview performance. They concluded

1a   that his proficiency was at the same level as applicants with Ph.D. degrees from

19    colleges like UCLA or UC Berkeley.

20

21   Yet, five UC schools rejected his college application, considering him not

22   qualified enough for their undergraduate programs. The gap between Google

23    and UC's assessments defies common sense and naturally invites the question:




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 1    How could such a ridiculous thing happen? That's why, in 3 days, over 3000

 2   Californians endorsed my letter to this board in November.

 3


4    On November 21, I received a response (attached) from Han Mi Yoon-Wu,

 s Associate Vice Provost and Executive Director of Undergraduate Admissions.

 6   (Thank you for forwarding my comment to the admission office.) However, I was

 1   extremely disappointed by the response. It was a 2-page letter filled with words,

 a but no meaningful information. It insisted that Stanley was not qualified enough

 9   with no specifics. I understand that college admission is a difficult operation. The

10   application readers can spend only a few minutes per application and they aren't

11   necessarily equipped with domain-specific knowledge. So things can fall through

12   cracks. However, given the public outcry and obvious absurdity, with ample time

13   to re-examine the case, the dismissive nature of the letter is insulting to the

14   public and it was a great disservice to this world-renowned institution.

1s    Dismissing the previous mistake offhandedly as a non-issue is a mistake worse

16   than the original one. It is no longer in the realm of honest mistakes that we all

11   make sometimes. Instead, it speaks volumes about whether they care. The

1a   longer the admission office remains dismissive, the more damage it will bring to

19   the UC's reputation. With UC's role in the Varsity Blues scandal and the 2020

20   audit report by the California State Auditor, the burden is on the UC admission

21   office to prove that they deserve the public's trust. In 1989, UC Berkeley

22   apologized for a policy that limited Asians after the state audit in 1987. Things




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 1    moved on. Today I ask for the board's leadership in demanding

 2    accountability in the admission office so we can move on again.

 3


 4    I'm glad to share that we received a lot of support as our coalition of several

 s thousand Californians brought this issue to the state lawmakers over the past

 6    few months. We talked to multiple Assemblymembers and Senators. Democrats

 1    and Republicans, across the political spectrum, expressed their surprise by

 a Stanley's case. They described this case as "alarming" and "extremely

 9    disturbing". The legislative proposal being discussed is conducting recurring

10    audits for UC's admission. While the state's current budget constraint may

11    render it difficult to implement immediately, I hereby ask UC admission offices to

12    retain all admission related records for potential future audits by the state.

13

14    Parallel to the legislative discussion, here is another proposal on how we can

1s    move forward together. I emailed the chairs of the Computer Science

16   department of the five UC schools. Some of them already replied with interest to

11   examine Stanley's application. I propose we ask interested Computer Science

1a   faculty members to examine the case as a 3rd-party independent from the

19    admission office. The result won't matter for Stanley anymore since he is

20   enjoying his high-paying full-time job at Google. But it remains important for

21    other kids since most kids won't be as lucky as Stanley.

22




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 1    To reiterate from two months ago, as a basic democratic principle, we should

 2    have checks and balances for every power, including the power of the

 3    admission offices. Holistic reviews should not be construed as black box

 4    reviews. Interestingly, after the resignation of President Magill at the Univ of

 s Pennsylvania, 1200 faculty members signed the new constitution proposal,

 6    which calls out admission transparency explicitly. It says, "Admission policies

 1    should prioritize the fair treatment of each individual applicant, and criteria must

 a be objective, transparent, and clearly communicated to all community

 9    members." I hope UC's admission office adopts a similar principle as soon as

10    possible.

11

12    Let's work together to increase college admission transparency in a judicious,

13    systematic, cost-effective and privacy-preserving way. Let's do something for

14    our kids.

15

16    Thank you for your time and consideration.

17

1a    Sincerely,

19    Nan

20


21

22


23




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1         4. Response 2 from UC


    UNIVERSITY OF CALIFORNIA

    ~ • D A - • - - • WO.<NCW< • ""'°" • -              • SANDWOO • -   == •                       ._......... • ,...,aw,

    GRAI.JUAU, UNDliRG&ADUATE AND EQUllY .Af"FAIRS                              OFFlCF OF Tiff PRFSIOFNT
    IJNDf.llC'JlAl>UATE ADMISSIONS                                              llll Franklin 5trttt. u,-. Hoot
                                                                                Oau.nd. California 'U607-5200




                                                                                January 29, 2024

         Mr. Nan Zhong
         Email: nanzhongl(@gmail.com

         Dear Mr. Zhong,

         I am writing in response to your most recent communication on January 18, 2024 to the UC
         Board of Regents regarding transparency in the undergraduate admission process for the
         University of California.

         I assure you that we share the goal of ensuring a transparent and level playing field for every
         applicant. Since the 2020 state audit, our campuses have undertaken an extensive amount of
         work to improve and strengthen the policies that govern UC's admissions processes.

         On behalf of the UC Board of Regents, thank you for sharing your views and continuing to
         advocate on behalf of all Californians.




                                                         ~~-o
                                                         Sincerely,



                                                         Han Mi Yoon-Wu
                                                         Associate Vice Provost and
                                                         Executive Director, Undergraduate Admissions
                                                         Univcr.;ity of California Office of the President




4




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 1      5. Email exchanges after response 2

 2


 3    From: Nan Zhong <nanzhong1@gmail.com> Sun, Feb 4, 2024 at 12:00 PM

 4    To: GUEA-Admissions-SHD <Admissions@ucop.edu>

 s Cc: College Admission Transparency

 6    <college-admission-transparency@googlegroups.com>

 7


 a Dear Ms. Yoon-Wu,

 9


10   Thanks for your response. I don't doubt that you share the goal of ensuring a

11   transparent and level playing field for every applicant. However, the results

12    produced by the UC admission office are not pointing in that direction. The fact

13   that over three thousand Californians endorsed my letter to the Board of

14    Regents in three days, and the fact that the state lawmakers are calling

1s    Stanley's case "alarming" and "extremely disturbing" indicate the level of public's

16   frustration and distrust. We need concrete actions, not empty words or

11   promises. Could you share the concrete steps that the UC admission office has

1a   taken to ensure transparency? Perhaps we can help you enhance or accelerate

19   them.

20

21    Best,

22    Nan

23




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 1


 2


 3    From: GUEA-Admissions-SHD <Admissions@ucop.edu>                     Mon, Feb 12, 2024

 4    at 9:46 AM

 s To: Nan Zhong <nanzhong1@gmail.com>

 6


 1 Dear Mr. Zhong,

 8


 9    In response to your recent communication from February 4, please refer to my

10    response and the multiple links that I provided in my November communication.

11    A copy is attached for your convenience.

12


13    Sincerely,

14    Han Mi Yoon-Wu

1s   Associate Vice Provost and

16    Executive Director, Undergraduate Admissions

11 University of California Office of the President

18


19


20

21    From: Nan Zhong <nanzhong1@gmail.com> Fri, Mar 8, 2024 at 2:23 PM

22    To: GUEA-Admissions-SHD <Admissions@ucop.edu>




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 1    Cc: College Admission Transparency

 2    <college-admission-transparency@googlegroups.com>

 3


 4    Dear Ms. Yoon-Wu,

 5


 6    Thanks for your response. I've studied all the links provided in the November

 1    communication. But they provide very little insight into why the UC rejects highly

 s qualified applicants to the point of being absurd in the eyes of the public. That's

 9    exactly why thousands of Californians are asking for more transparency.

10


11    Also, could you please acknowledge the receipt of the request to keep all

12    admission related records for potential future audits?

13

14    Finally, what are your thoughts on the idea of inviting CS faculty members to

1s    examine the applications?

16

11    I look forward to an honest and productive discussion in good faith. Have a great

1a    weekend!

19

20    Best,

21    Nan

22 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

23




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 1       6. Comment 3 to UC Board of Regents

 2


 3    Subject: UC Admission Transparency - Public comment for the UC Board of

 4    Regents meeting on March 20

 s From: Nan Zhong <nanzhong1@gmail.com> Thu, Mar 14, 2024 at 11:26 AM

 6    To: "regentsoffice@ucop.edu" <regentsoffice@ucop.edu>

 1    Cc: GUEA-Admissions-SHD <Admissions@ucop.edu>

 8


 9    Honorable members of the UC Board of Regents,

10


11    I'd like to follow up on the comment I made in January and November regarding

12   the need for more transparency in UC admissions. After my November

13    comment, I received a 2-page letter with no meaningful information from Han Mi

14   Yoon-Wu, Associate Vice Provost and Executive Director of Undergraduate

1s   Admissions. After my January comment, I received a half-page letter with no

16    meaningful information.

17

1a   While the UC admissions office is doing nothing to increase its transparency, we

19    compiled our own data. So let's not ignore the elephant in the room: race. All the

20    highly qualified applicants rejected by the UC are Asians. It's clear to me that the

21    UC admissions office is practicing identity politics, just like the far right. Both the

22    UC and the far right single out a group based on their identity, then direct hatred

23    or penalty towards them. What UC is doing is another form of Asian hate, only




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 1    more hidden and systematic, thus more hateful, hurtful and harmful than a

 2    comment like Trump's stupid "kung flu."

 3


 4    This form of Asian hate takes its toll on the Asian community. It creates a sense

 s of helplessness among Asian kids. For a student who received the highest level

 6    of Presidential Volunteer Service Award, beat the world's top professional

 1    programmers in competitions and was hired by Google for a position typically

 a offered to Ph.D graduates, if he is rejected by UC's undergraduate programs, do

 9    you realize how absurd that is? Do you understand how one absurd story like

10    this after another leads to a sense of helplessness that is detrimental to Asian

11    kids' mental health? When a Palo Alto School District board member and I sadly

12    discussed local high school suicide cases, we agreed college admission and its

13    blackbox nature very likely contributed to the crisis. There is only so much the

14    high schools can do unless universities become more transparent in their

1s    admissions and alleviate the sense of helplessness.

16


11    After being stonewalled by the UC admissions office for the past four months,

1a    my hope for an honest, scientific, constructive and good-faith discussion has

19    faded, replaced by disappointment, frustration and anger. I am disappointed

20    because I thought UC would proudly open its admissions practice instead of

21    hiding it in a black box, but I was wrong. I am frustrated because I thought UC is

22    a great public institution that would listen to the public and could be reasoned

23    with instead of ignoring the public outcry, but I was wrong. I am angry because




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 1    more Asian kids will suffer, yet nobody seems to care, even those

 2    self-proclaimed anti-racists. If UC thinks its admissions practice is countering the

 3    far right, you got it wrong. Absurd far left policies are only going to exacerbate

 4    people's distrust of public institutions and feed the narratives of the far right. To

 s counter the far right, don't move to the far left. Stay in the center and stick with

 6    common sense.

 7


 a If the admissions office somehow is wishing that stonewalling would tire us out

 9    and stop us challenging the absurd status quo, I have news to share. We shall

10    bring the case to the wider public and political debates. We shall expose the

11    "Asian Hate" nature of the far left admissions practice. We shall fight through

12    protests. We shall fight in court. We shall fight in the legislature. We shall fight in

13    the elections. We shall demand accountability. We shall be noisy, annoying and

14    a pain in the butt. We shall fight to the end. Whatever it takes. However many

1s    decades it takes. If that shatters the "model minority" stereotype, so be it.

16

11    Dear members of the Board, as the leaders of the UC, the buck stops with you.

1a    This time, please do more than just forwarding the letter to the admissions

19    office. It's time to show us your leadership.

20

21    Sincerely,

22    Nan

23 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




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1       7. Response 3 from UC


    UNIVERSITY OF CALIFORNIA




    GRADL'AU, UNDERGRAOOATE AND EQUffY AHAIRS                                        OFFICF OF THF PRFSIOFNT
    UNDERGRADUAIT ADMISSIONS                                                         1111 l'ranldln Stttet, 10th Floor
                                                                                     Oakland, California 94607-5200




                                                                                     March 25, 2024

        Mr. Nan Zhong
        Email: nanzhone l(a)~mail.com

        Dear Mr. Zhong,

        I am responding to your email of March 8 as well as your public comment submission to the UC Board of
        Regents on March 14.

        While I appreciate you writing to express your views once again, respectfully, it seems we will have to
        agree to disagree about the usefulness and transparency of the information that I have previously provided
        in response to your prior communications. I acknowledge receipt of your request to keep admissions
        records and will preserve records based on the university's records retention schedule.

        The data in the UC lnfonnation Center provides a wealth of infonnation, including admission outcomes
        for Asian American students. Not only are Asian Americans well-represented at UC, the proportion of
        Asian Americans in the C-alifomia admit pool has remained stable over the past several years. In fact,
        Asian Americans represented the highest proportion, almost 40 percent, of the University's 2023
        incoming California freshman class.

        As required by law and Rcgental policy, the University docs not grant preferential treatment in its
        admission.., processes to any applicant on the basis of race, sex, color, ethnicity, or national origin. so your
        assertion that UC plays identity politics is unsupported.

        UC has the enviable position of having an abundance of highly-qualified students seeking admission to
        our campuses. Our comprehensive review policy recognizes that students arc more than grades earned
        and considers multiple factors when making decisions. Nevertheless, selecting from among such a high
        achieving pool of applicants undoubtedly results in each campus having to deny excellent students. As
        you have suggested, some campus processes do include a review by faculty particularly for engineering
        and computer science majors.

        Again, I thank you for taking the time to write and express your concerns.


                                                           Sincerely,



                                                           Han Mi Yoon-Wu
                                                           Associate Vice Provost and
                                                           Executive Director, Undergraduate Admissions
                                                           University of California Office of the President




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 1       8. Rebuttal to response 3

 2


 3    From: Nan Zhong <nanzhong1@gmail.com> Fri, May 10, 2024 at 10:26 PM

 4    To: GUEA-Admissions-SHD <Admissions@ucop.edu>

 s Cc: "regentsoffice@ucop.edu" <regentsoffice@ucop.edu>,

 6    president@ucop.edu, Provost@ucop.edu, Todd Millstein <todd@cs.ucla.edu>,

 1    Glenn Reinman <reinman@cs.ucla.edu>, agrawal@cs.ucsb.edu,

 a coms-chair@ucsb.edu, ghosal@cs.ucdavis.edu, cschair@ucdavis.edu,

 9    tomlin@eecs.berkeley.edu, malik@berkeley.edu, lerner@cs.ucsd.edu,

10    minnes@eng.ucsd.edu, College Admission Transparency

11    <college-admission-transparency@googlegroups.com>

12

13    Hi Ms. Yoon-Wu,

14


1s    There are several logical mistakes in your reply.

16


11    Your points about Asian American admissions staying stable and representing

1a    the highest proportion do not in any way prove that there is no discrimination

19    against Asian Americans. It is logically possible for UC to reject some Asian

20    applicants based on race and still end up with more Asian students than other

21    races. Instead, what you can provide to help is a comparison between admitted

22    students across races and a comparison of rejected Asian applicants (e.g.

23    Stanley) against admitted students of other races. UC doesn't have to open any




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 1   privacy-sensitive data to the public. An examination by a 3rd party in an isolated

 2    room is what I am suggesting.

 3


 4    I also found this statement amusing. "As required by law and Regental policy,

 s the University does not grant preferential treatment in its admissions processes

 6   to any applicant on the basis of race, sex, color, ethnicity, or national origin, so

 1   your assertion that UC plays identity politics is unsupported." Are you saying

 a that, since there is a law, there must be no violation? Are you not aware of

 9   anyone that knew the law yet broke it and claimed innocence? More specifically,

10   have you not heard of "unstated Affirmative Action"?

11


12   Thanks,

13    Nan

14


1s    P.S. I assume everyone cc'd is interested in an academic discussion of data

16   analysis of the admissions data. If not, please let me know and I will leave you

11   out.

18

19


20


21   From: GUEA-Admissions-SHD <Admissions@ucop.edu>                      Mon, May 20, 2024

22   at 9:53 AM

23   To: Nan Zhong <nanzhong1@gmail.com>




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 1


 2    Dear Mr. Zhong,

 3


 4    I write in response to your correspondence from May 10. As I stated in an earlier

 s response, the data in the UC Information Center provides a wealth of

 6    information, including admission outcomes for Asian American students, that

 1    can be downloaded for further analysis. If you feel the university has engaged in

 s discrimination, I refer you to the Systemwide Office of Civil Rights.

 9


10    Respectfully,

11    Han Mi

12


13

14


1s    From: Nan Zhong <nanzhong1@gmail.com> Fri, May 24, 2024 at 4:41 PM

16    To: GUEA-Admissions-SHD <Admissions@ucop.edu>

11    Cc: "regentsoffice@ucop.edu" <regentsoffice@ucop.edu>,

1s    president@ucop.edu, Provost@ucop.edu, Todd Millstein <todd@cs.ucla.edu>,

19    Glenn Reinman <reinman@cs.ucla.edu>, agrawal@cs.ucsb.edu,

20    coms-chair@ucsb.edu, ghosal@cs.ucdavis.edu, cschair@ucdavis.edu,

21    tomlin@eecs.berkeley.edu, malik@berkeley.edu, lerner@cs.ucsd.edu,

22    minnes@eng.ucsd.edu, College Admission Transparency

23    <college-admission-transparency@googlegroups.com>




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 1


 2    Hi Han Mi,

 3


 4    Thanks· for pointing to the data again. At the risk of sounding like a broken

 s record, I found the data utterly inadequate to answer questions such as "why

 6    applicants like Stanley were rejected". If you could enlighten me, I'd appreciate

 7    it.

 8


 9    Alternatively, if any of the CS chairs cc'd is willing to put their academic

10    reputation on the line, and vouch that all admitted non-Asian students are

11    reasonably equally or more qualified than the rejection cases we compiled, that

12    would move the conversation forward in a meaningful way too. Feel free to use

13    Stanley's case as an example rejection case.

14


1s    I look forward to having discussions in a dive-deep data-driven academic way. I

16    won't accept silence or stonewalling.

17


1a    Have a great long weekend!

19

20    Best,

21    Nan

22




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 1    P.S. I assume everyone cc'd is interested in an academic discussion of data

 2    analysis of the admissions data. If not, please let me know and I will leave you

 3    out.

 4


 5


 6


 1    As of the filing of the lawsuit, there has been no further communication from UC

 a after this email.

 9


10


11




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 1      9. Comment 4 to UC Board of Regents

 2


 3    Subject: UC Admission Transparency - Public comment for the UC Board of

 4    Regents meeting on May 16

 s From: Nan Zhong <nanzhong1@gmail.com> Fri, May 10, 2024 at 7:24 AM

 6    To: "regentsoffice@ucop.edu" <regentsoffice@ucop.edu>

 1    Cc: GUEA-Admissions-SHD <Admissions@ucop.edu>, president@ucop.edu,

 a Provost@ucop.edu, Todd Millstein <todd@cs.ucla.edu>, Glenn Reinman

 9    <reinman@cs.ucla.edu>, agrawal@cs.ucsb.edu, coms-chair@ucsb.edu,

10    ghosal@cs.ucdavis.edu, cschair@ucdavis.edu, tomlin@eecs.berkeley.edu,

11    malik@berkeley.edu, lerner@cs.ucsd.edu, minnes@eng.ucsd.edu

12

13    Honorable members of the UC Board of Regents,

14


1s    I'd like to follow up on the comments I made in March, January, and last

16    November regarding the need for more transparency in UC admissions.

17

1s    In March, I specifically asked this board to directly weigh in on this issue. Two

19    months later, I'm still waiting for a response. As an engineer by training, I can

20    easily be persuaded by reasoning. If I got anything wrong, tell me and show me

21    concrete data. However, since I brought up this issue last November, my

22    attempts to engage UC for discussions have consistently been met with silence

23    or stonewalling as if I touched on a taboo associated with illegal activities.




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 1


 2    Over time, I learned that my experience fits in a long standing pattern. In 2007,

 3    Prof Tim Groseclose, a faculty member on UCLA admissions committee, asked

 4    for anonymized sample data from the admissions office. He was rejected. Yes,

 s UCLA hid its admissions data from its own admissions committee! He was told

 6    that "we should not study or do any analysis of holistic admissions at UCLA until

 1    we have at least four or five years of the outcome to avoid normal annual

 s fluctuations". Now, 17 years later, where is the data? What's the excuse now?

 9    Where is the basic intellectual honesty and decency? Where are the academic

10    traditions of open discussions and peer reviews? I can't believe I have to preach

11    such fundamental principles to an academic institution. UC's efforts to keep its

12    admission a black box is an assault on reason and academic integrity.

13

14    Recently, someone shared with me a video of Prof Erwin Chemerinsky, Berkeley

1s    Law School Dean, describing the "unstated" racial preferences in faculty hiring.

16    Really? A law professor teaching students to break laws and hide the evidence?

11    It's a disgrace! It's legally and morally indefensible! No wonder I got the

1s    impression that there are institutionalized illegal activities. No wonder UC tightly

19    guards its admissions data because it's incriminating. It starts to make sense.

20

21    Finally, I have a message to a Regent not present in the meetings, Governor

22    Newsom. Mr. Newsom, last November, over 3,000 Californians sent you a letter

23    regarding UC admissions. Half a year later, we still haven't heard from you. Your




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 1    silence and indifference violates your duty as an elected official. Perhaps you

 2    consider yourself the governor for some Californians only, not the 3,000 who

 3    signed the letter. I'm deeply disappointed as a voter and regret my votes for you

 4    in the past. You don't deserve my vote anymore.

 5


 6    Sincerely,

 1    Nan

8------------------------------

 9


10




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 1       10. Comment 5 to UC Board of Regents

 2


 3    Subject: Racial Discrimination Lawsuit against UC - Public comment for the UC

 4    Board of Regents meeting on Nov 14

 s From: Nan Zhong <nanzhong1@gmail.com> Tue, Nov 12, 2024 at 10:24 PM

 6    To: "regentsoffice@ucop.edu" <regentsoffice@ucop.edu>

 1    Cc: GUEA-Admissions-SHD <admissions@ucop.edu>, president@ucop.edu,

 a Provost@ucop.edu, Todd Millstein <todd@cs.ucla.edu>, Glenn Reinman

 9    <reinman@cs.ucla.edu>, agrawal@cs.ucsb.edu, coms-chair@ucsb.edu,

10    ghosal@cs.ucdavis.edu, cschair@ucdavis.edu, tomlin@eecs.berkeley.edu,

11    malik@berkeley.edu, lerner@cs.ucsd.edu, minnes@eng.ucsd.edu, College

12   Admission Transparency

13    <college-admission-transparency@googlegroups.com>

14


1s    Honorable members of the UC Board of Regents,

16


11    I'd like to follow up on the comments I made in May, March, January, and last

1a    November regarding racial discrimination in UC admissions. By Berkeley Law

19    School Dean's own admission, it's obvious that UC has institutionalized hidden

20    racial discrimination and it's lying to hide it.

21

22    In March, I specifically asked this board to directly weigh in on this issue. Eight

23   months later, I still haven't got a response. It's consistent with the pattern from




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 1    all parts of UC that I reached out to, silence or stonewalling, even for a case that

 2    has been reported in national news and cited in a congressional hearing. If UC

 3    is using prolonged silence to make this challenge go away, I have bad news for

 4    you. I warned eight months ago that we'd fight in court if necessary. That day

 s has arrived. We have formed a nonprofit named SWORD (Students Who

 6    Oppose Racial Discrimination). Our position is published at

 1    https://sword.education. We are ready to fight it all the way to the Supreme

 a Court. A Litigation Hold Notice has been served to you. We'll watch out for

 9    perjuries and obstructions of justice carefully and pursue offenders aggressively.

10    For transparency, we'll publish all the past and future correspondence with UC

11    and its lawyers on our website for the public to judge.

12

13    As I said in the ABC7 interview last year, as a taxpayer, I hate the idea for UC to

14    use taxpayer money to defend its illegal activities. So we made a good-faith

1s    effort to start a dialogue, assuming that an academic institution would naturally

16    engage in open discussions and encourage peer reviews on its data in the spirit

11    of intellectual honesty, particularly given UC's poor track records documented by

1a    the California State Auditor. However, I have been utterly disappointed,

19    dismayed, and outraged by how UC conducts itself. It seems groupthink and

20    moral cowardice at UC have made seeking the truth taboo.

21

22    In the letter dated March 25, UC's Admissions Director claimed that my

23    assertion of racial discrimination was unsupported because there are laws




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 1    prohibiting it. For a moment, I had to question my own sanity. Did a

 2    world-renowned academic institution tell me that having a law means there must

 3    be no violation? By that logic, there must be no theft or murder because they are

 4    prohibited by law. Is that the best defense you've got? Last year, while I still

 s harbored the hope for an honest conversation, I resisted calls for the

 6    resignations of UC admission officers. After seeing how they flouted the law and

 1    ignored the public outcry, now I think the calls are justified. Once we prevail in

 a court, we will demand the dismissal of UC admission officers and other

 9    responsible administrators.

10


11    See you in court!

12

13    Sincerely,

14    Nan

15




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 1                                         EXHIBIT 75

 2                   EMAIL EXCHANGE WITH THE DEPARTMENT OF EDUCATION OCR


 a This is the complaint filed for Stanley to the San Francisco Office for Civil Rights

 4 (OCR). OCR received the complaint on September 26, 2023.


 s OCR Case No. 09-23-2699

 6----------------------------


 1   Office for Civil Rights

 a Discrimination Complaint Form

 9 Thank you for submitting your complaint to the Office for Civil Rights (OCR).


10 To facilitate the processing of your complaint, please submit your signed consent form

11 within 20 calendar days of the date of this email. If you checked the box on the complaint

12 form requesting early mediation, you MUST submit a signed consent form to participate.


13 You may submit your signed consent form in one of these three ways:


14       1. Email a scanned PDF file or photo/jpeg file of your consent form to the email address

1s           below; or

16      2.   Fax your consent form to the fax number below; or

11      3.   Mail your consent form to the office address below. Please notify OCR using the

18           email address or phone number below that you are mailing your consent form. In

19           your e-mail or voicemail message, please include your case number, the name of the

20           recipient, and the date that you mailed your signed consent form.


21 A copy of the consent form is available for your convenience at OCR Complaint Consent

22 Form. If you do not have access to a printer, please email or call the OCR Regional Office




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 1 identified below to request a blank consent form. For more information about how OCR may

 2 use personal information with written consent, please see OCR's "Notice About Investigatory

 3 Uses of Personal Information."


 4 Your complaint has been automatically forwarded to the following OCR Regional

 s Office for review:

           Office for Civil            Phone: 415-486-5555

           Rights/ED

           San Francisco Office        TDD: 800-877-8339

           50 United Nations           Fax: 415-486-5570

           Plaza

           Mail Box 1200, Room

           1545

           San Francisco, CA,          Email:

           94102                       ocr.sanfrancisco@ed.gov

 6

 7 The Regional Office will contact you if it needs more information about your complaint. If you


 a need to communicate with OCR or submit additional information regarding y9ur complaint,
 9 please do not reply to this message. Instead, please direct your correspondence to the

10 above office.


11 We recommend that you print a copy of this message and retain it for your records.



12 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

13 The following information has been sent to the specified office:



14 1. Enter information about yourself




1s <redacted>




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 1 2. Who else can we call if we cannot reach you?




 2 Contact's Name: Nan Zhong

 3 Daytime Phone Number: <redacted>

 4 Relationship to you: Spouse




 s 3. Who was discriminated against?


 6 Yourself or Someone else Someone else




 1 If someone other than yourself please include:



 a Injured Person's Name: Stanley Zhong

 9 Daytime Phone Number: <redacted>


10 Relationship to You

11 (eg. son or daughter) son

12 Injured Person's Address: <redacted>

13 City: Palo Alto

14 State: California

1s Zip Code: 94306




16 4. What institution discriminated?




11 Institution Name: UC Berkeley, UCLA, UC San Diego, UC Santa Barbara

1s State: California




19 5. Have you tried to resolve the complaint through the institution's grievance


20 process, due process hearing, or with another agency?




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 1 Have you tried to resolve the complaint? No



 2 6. Describe the discrimination




 3 OCR enforces regulations that prohibit discrimination on the basis of race, color, national

 4 origin; sex; disability; and/or age.



 s (You may select more than one.)


 6 On what basis were you discriminated against? race or color, sex



 7 In the space provided below please describe each discriminatory action separately.

 a For each action, you need to provide the following information:



 9 High school graduate hired by Google after being rejected by colleges




10 - - - - - -                            -----------------


11 To whom it may concern,

12

13 I am filing a civil rights discrimination complaint on behalf of my son Stanley Zhong for the

14 discrimination during his college application process.

15

16 Stanley Zhong graduated from high school in June 2023. Shortly after he turned 18, Google

11 hired him as an L4 software engineer, a position typically offered to candidates with multiple

1a years of professional experience as well as a college degree.

19

20 In contrast, his college application results were underwhelming. He applied to the Computer

21 Science programs. All the colleges listed below rejected his application.




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 1

 2 MIT

 3 CMU

 4 Stanford

 s UC Berkeley

 6 UCLA

 1 UC San Diego

 s UC Santa Barbara

 9 UC Davis

10 California Polytechnic State University

11 Cornell University

12 Univ of Illinois

13 Univ of Michigan

14 Georgia Tech

15 Cal Tech

16 Univ of Wisconsin

11 Univ of Washington




1s Here are some highlights of his application.




19 * Advanced to the Google Code Jam Coding Contest semi-final.




20 * Led his team to the 2nd place in MIT Battlecode's global high school division (1st place in

21 the US). Invited to MIT with expenses paid.




22 * Won 3rd place in CMU's picoCTF cybersecurity competition (across all age groups). Invited

23 to CMU with expenses paid.




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 1 * Created an e-signing startup (RabbitSign.com) that has grown to tens of thousands of

 2 users organically.




 3 + An Amazon Web Services Well-Architected Review concluded that it "is one of the most

 4 efficient and secure accounts" they have reviewed.




 s + Amazon Web Services is publishing a case study featuring RabbitSign for its exemplary

 6 use of AWS Serverless and compliance services.




 1 + Negotiated a 90% discount (worth $40K+) for compliance audits. Alter working with the

 a auditors over several quarters, RabbitSign is now the world's only provider of unlimited free

 9 SOC 2-, ISO 27001- and HIPAA-compliant e-signing.




10 + Interviewed by Viewpoint with Dennis Quaid

11 (https://www.viewpointproject.com/features-postidd3e6da7a/), a series of short

12 documentaries on innovations. Their past guests included President George H.W. Bush,

13 Secretary Colin Powell, and Fortune 500 CEOs.




14 * Co-founded a non-profit (http://openbrackets.us) that has brought free coding lessons to

1s 500+ kids in underserved communities in California, Washington and Texas.




16 * National Merit Scholarship finalist




11 * SAT: 1590




1s * GPA (UW/W): 3.97/4.42




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 1 * Served as the founding officer and president of the competitive programming club at his

 2 high school




 3 * His personal statement (essay) was pretty much captured in the Viewpoint interview. It was

 4 about why Stanley created RabbitSign, how he struggled but eventually found a partner to

 s enable the free HI PAA-compliant e-signing that can help lower America's healthcare cost,

 6 and how RabbitSign is the first Activism Corporation designed to counter corporate greed in

 1 favor of social good.




 a Apparently, his profile above was enough to interest Google to interview and hire him, but
 9 failed to get his application accepted by the colleges listed above. I strongly suspect that his

10 college application results were a result of discrimination based on race or sex or both.




11 Thanks for your attention! If you have any questions, please let me know.




12 Best,

13 <redacted>




14 Do you have written information that you think will help us understand your complaint?



1s yes or no No



16 7. Your complaint must be filed within 180 days of the discriminatory action




11 The laws that we enforce require that complaints be filed with our office within 180 days of

1s the alleged discriminatory event. If any of the alleged discriminatory actions took place more

19 than 180 days before the postmark or receipt date of this complaint, you may request a

20 waiver of the 180-day limit.When did the last act of discrimination occur?




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 1 When did the last act of discrimination occur?




 2 Enter the date: Fri, 03/31/2023 - 00:00



 3 Are you requesting a waiver of the 180-day filing time limit for discrimination that occurred

 4 more than 180 days before the filing of this complaint?



 s Are you requesting a waiver of the 180-day filing time limit for discrimination that

 6 occurred more than 180 days before the filing of this complaint?




 7 yes or no No



 a 8. What would you like the institution to do as a result of your complaint?


 9 What remedy are you seeking? I'd like the institution to provide an explanation of their

10 rejection of Stanley's application.



11 9. Option to Participate in OCR's Early Mediation Process




12 I am interested in participating in early mediation: No



13          U.S. Department of Education's Office for Civil Rights Complaint Assessment System (CAS)


14




16




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1 This is the assignment of the case number.




                                                                                                              REGIONlX
                               UNITED STATES DEPARTMENT OF EDUCATION
                                                   OFFICE FOR CML RIGHTS                                      CALIFORNIA

                                                     50 UNITED NATIONS PLAZA
                                                     MAIL BOX 1200, ROOM 154S
                                                     SAN FRANCISCO, CA 94102




     -
     ByemBI ody to:

     Re:     University of callfllmia, Blllklley
             OCR   case No. ~23-2699
                                                       September 26, 2023




     This is to acknowledge that the U.S. Department of Education, San Francisco Office for CMI Rights (OCR), received
     your complaint on September 26, 2023. We are evaluallng your complaint to determine whether OCR wll open your
     ellegllllon(s) for lnveattgatlon. We wlll send you a letter notifying you of our determination.

     To faclllate the processing of your complaint, please submit any additional correspondence via email to
     ocr.sanfranclsco@ed.gov. A scanned PDF lie or pholo/)peg Ille are both acceptable. You also may submit your
     comtSpondence via fax to 415-486-5570 (ATIN: OCR SF and Include the case number Ill the top of this page).

     If the above electronic submission options are not available to you, additional com,spondence may be mailed to the
     50 United Nations Plaza address Indicated at Iha top of this letter. If you must raturn documents to OCR by postal
     mal, pleasa notify us of this by contacting ocr.sanfranclsco@ed.gov or callng (415) 48tr5555 as soon as poulble.
     In your e-mall ~ or voice message, please Include your case number, the name of Iha recipient, and the dale
     that you have malled your complllled consant form or other documentl to OCR San Francisco.

     A copy of OCR'• case Processing Manual is avallable et https://www2 ed goy/about/offices/Hst/ocr/docs/ocn;pm pdf.
     If you have any questions concerning this correspondence, please call our office at (415) 486-5555 and refer your
     case number listed above.


                                                            Sincerely,

                                                          r        vt/4-1
                                                            James M. Wood
                                                            Team Luder




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                    global competitiveness by fostering educational excellence and ensuring equal access.

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 1


 2


 3    From: Isaac Quinn, Dana <Dana.lsaacQuinn@ed.gov>

 4    Wed, Oct 25, 2023 at 5:05 PM

 5


 6    Dear XXX,

 7


 a The U.S. Department of Education Office for Civil Rights (OCR) recently emailed

 9    you an acknowledgement letter regarding your complaint against the University

10    of California, Berkeley (case number 09-23-1782). Thank you for returning the

11    Privacy Act Consent Form. OCR is in the process of reviewing your complaint to

12    determine whether we can investigate any of your allegations. Please respond

13    to the following questions. Please note that failure to respond to the below

14    questions within 14 days may result in the dismissal of your complaint:

15

16    1.Can you tell me more about why you believe Stanley was denied admission at

11 the University of California because of his race or national origin?

1a    2.Why do you believe that Stanley was denied admission based on sex?

19    3.When did you learn that he was denied admission?

20    4.Do you know of other students with the same qualifications who were denied

21    admission, but are of different races or of a different national origin?

22    5.Do you know of other students with the same qualifications who were denied

23    admission, but are of a different sex?




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 1    6.Was Stanley accepted to any schools within the University of California

 2    system? If so, which ones?

 3


 4    Thank you-

 s Dana Isaac

 6


 1    Dana Isaac Quinn

 a Civil Rights Attorney

 9    US Department of Education

10

11    (t)415.486.5596 II (f)415.486.5570

12


13

14    Thu, Nov 2, 2023 at 9:58 PM

1s    To: "Isaac Quinn, Dana" <Dana.lsaacQuinn@ed.gov>

16


11    Dear Dana,

18

19    Thanks for reviewing the complaint.

20


21




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 1    First, please let me summarize Stanley's college application story. It is so bizarre

 2    that it was reported by ABC, CBS, CNBC, USA Today, and other media

 3    channels. It was also presented at a congressional hearing on September 28.

 4


 s In addition to an excellent academic record and strong leadership both in and

 6    outside his school, as a high schooler, Stanley achieved multiple recognitions

 1    that made him stand out even among professional software developers around

 s the world. For example,

 9


10    He advanced to the Google Code Jam Coding Contest semi-final.

11


12    His e-signing startup is featured in an Amazon Web Services case study, an

13    honor received by only a handful startups in the world.

14


1s    He won 2nd place in MIT Battlecode's high school division.

16


11    In 2019, not knowing he was only 13 years old, a Google recruiter invited him to

1a    interview for a full-time job. Shortly after turning 18, in September 2023, he was

19    hired by Google as an L4 software engineer, a position that typically requires

20    multiple years of professional experience as well as a college degree.

21

22    In contrast, despite citing the awards above (and a lot more), his college

23    application (more details published here) was rejected by all five UC schools he




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 1    applied to. So our complaint is not limited to UC Berkeley, but also UCLA, UC

 2    San Diego, UC Santa Barbara and UC Davis. After Stanley's story went public, I

 3    received numerous emails, complaining about similarly unfathomable

 4    application results with the UC schools. So Stanley's case is not alone.

 5


 6    The Varsity Blues scandal already eroded public trust in college admissions. The

 1    2020 audit report by the California State Auditor further underscored

 a deficiencies in UC's admissions practices. Its summary says,

 9


10    "The university has also failed to ensure that campuses fairly and consistently

11    treat the thousands of prospective students who apply each year. Neither UC

12    Berkeley nor UCLA have developed methodologies for how they determine

13    which applicants to admit. Nevertheless, both of those campuses admitted

14    thousands of applicants whose records demonstrated that they were less

1s    qualified than other applicants who were denied admission. Applicants' chances

16    of admission were also unfairly affected by UC Berkeley's, UCLA's, and UC San

11    Diego's failures to properly train and monitor the staff who review and rate

1a    applications. We found that staff were sometimes overly strict or overly lenient in

19    their review of applications, thereby making the applicants' chances of

20    admission unduly dependent on the individual staff who rated them rather than

21    on the students' qualifications."

22




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 1    UCLA's late distinguished sociologist, Prof Robert D. Mare also documented

 2    anti-Asian bias in UCLA's admissions process in his report titled "Holistic Review

 3    in Freshman Admissions at the University of California-Los Angeles 2009-2011

 4    Update." Its summary says,

 5


 6    "In both Final and Supplemental Review, African American applicants receive

 1    somewhat more favorable and 'North Asian' (Chinese, Japanese, Korean,

 a Indian/Pakistani American) applicants receive somewhat less favorable holistic

 9    read scores than applicants in other ethnic identity groups who are otherwise

10    similar in measured academic qualifications, personal characteristics, and

11    measured challenges and hardships."

12

13    In line with the reports by the California State Auditor and Prof Mare, as

14    students and parents, we are seeing nonsensical admission results again and

1s    again. The implied discrimination is alarming.

16


11   As a basic democratic principle, we should have checks and balances for every

1s    power, including the power of the admission offices. Holistic reviews should not

19    be construed as black box reviews. Therefore I filed the complaint as an attempt

20   to open up the admission process black box in order to investigate potential

21    discriminations.

22

23    For your questions, here is the best information I have.




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 1


 2    1.Can you tell me more about why you believe Stanley was denied admission at

 3   the University of California because of his race or national origin?

4    Like most people who heard Stanley's story, I found the rejections by five UC

 s schools nonsensical. The only plausible reason I can think of is his race or sex

 6   or both.

 7


 a 2.Why do you believe that Stanley was denied admission based on sex?

 9    Please see the answer above.

10


11   3.When did you learn that he was denied admission?

12   March 31, 2023. That was when the UC schools released their admission

13   decisions.

14


1s   4.Do you know of other students with the same qualifications who were denied

16   admission, but are of different races or of a different national origin?

11    I heard some cases anecdotally. But I have no legal standing to investigate on

1a   my own. That's why I filed the complaint, requesting an investigation by the

19    Department of Education.

20


21    5.Do you know of other students with the same qualifications who were denied

22   admission, but are of a different sex?

23    Please see the answer above.




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 1


 2    6.Was Stanley accepted to any schools within the University of California

 3    system? If so, which ones?

 4    Stanley applied to five UC schools (UC Berkeley, UCLA, UC San Diego, UC

 s Santa Barbara and UC Davis) and was rejected by all of them. Because of the

 6    ELC program, he did receive an admission from UC Merced, which he didn't

 1    apply to. In addition, his application was also rejected by California Polytechnic

 a State University, Univ of Wisconsin, Univ of Washington, Univ of Illinois, Univ of

 9    Michigan, Georgia Tech, Cal Tech, Cornell University, MIT, CMU and Stanford.

10    Only Univ of Texas and Univ of Maryland accepted his application.

11


12    If you need any additional information, please let me know. Once again, thanks

13    for your attention on this matter.

14


1s    Best,

16


17


1a    From: Isaac Quinn, Dana <Dana.lsaacQuinn@ed.gov>

19    Mon, Nov 6, 2023 at 3:56 PM

20


21    Thank you XXX- I am confirming receipt of the below information.

22


23




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 1


 2


 3    From: Isaac Quinn, Dana <Dana.lsaacQuinn@ed.gov>

 4    Mon, Nov 27, 2023 at 12:27 PM

 5


 6    Dear XXX,

 7


 a In order to help protect the environment, reduce operating costs, and provide

 9    more immediate communications to you, please find the attached letter in PDF

10    delivered via email. If you require a letter sent by postal service mail, please

11    inform us of this fact, and we will be happy to accommodate you.

12

13

14    Dana Isaac Quinn

1s    Civil Rights Attorney

16    US Department of Education

11    (t)415.486.5596 II (f)415.486.5570

18

19

20

21    Here is the attached PDF from Dana Isaac Quinn.

22




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                           UNITED STATES DEPARTMENT OF EDUCATION                                           11.EGIONIX

                                           omcE FOR CIVIL RIGHTS                                           CALIFORNIA

                                              50 UNITED NATIONS PLAZA
                                               MAIL BOX 1200, ROOM 1545
                                               SAN FRANCISCO. CA 94102



                                                November 27, 2023




     By email only to:

     Re:    University of California Berkeley, Los Angeles, San Diego, and Santa Barbara
            OCR Case No. 09-23-2699                       •

     Dear-
     On September 26, 2023, the U.S. Department of Education (Department), Office for Civil Rights
     (OCR), received your complaint against the University of California (UC) Berkeley, UC Los
     Angeles, UC San Diego and UC Santa Barbara (collectively, the Universities). OCR understands
     your allegation to be that the Universities discriminated against your son (Student) on the basis
     of race and sex when the Universities denied the Student admission.

     For the reasons explained below, OCR is dismissing your complaint.

     OCR enforces Title VI of the Civil Rights Act of1964 (Title VI), 42 U.S.C. §§ 2000d-2000d-7,
     and its implementing regulations, 34 C.F.R. Part 100, which prohibit discrimination on the basis
     of race, color, or national origin under any program or activity receiving federal financial
     assistance. OCR also enforces Title IX of the Education Amendments of 1972 (Title IX), 20
     U.S.C. §§ 1681-1688, and its implementing regulations at 34 C.F.R. Part 106, which prohibit
     discrimination on the basis of sex in any education program or activity operated by a recipient of
     federal financial assistance. As a recipient of federal financial assistance from the Department,
     the Universities arc subject to Title VI and Title IX.

     You informed OCR that the Student graduated from high school in June of 2023. You stated that
     the Student applied to several universities in the University of California system; the Student was
     denied admission to the Universities. In support of your allegation, you stated that the Student,
     however, was hired by Google as a software engineer, which is a position that is normally
     offered to candidates with multiple years of professional experience and to those who have a
     college degree. You noted that because of his accomplishments, and job offer from Google, you




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                  global competitiveness by fostering educational excellence and ensuring equal access.

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     strongly suspected that his denial was because of his race, sex or both. In email correspondence
     with OCR you provided additional details. You stated that the Student's admissions denial were
     ''nonsensical" and that the only plausible reason you could think of was the Student's race and
     sex. You informed OCR that you have heard annectodal stories of students with similar
     qualifications as the Student, but who are of a different race and sex, who were also denied
     admission to the Universities. You also provided OCR with links to two reports related to race
     and admissions to support your allegation. First, you linked to a 2022 audit report prepared by
     the California State Auditor, who noted that UC Berkeley and UC Los Angeles did not have
     methodologies for determining what students to admit and that as a result a student's admission
     could be based solely on who reviewed their application. The audit did not include a discussion
     of race or sex. The second was a report prepared by a sociologist at UC Los Angeles who
     reviewed admissions data from 2009-2011. The report stated that "North Asian" applicants had
     less favorable admissions "read scores" than applicants in other ethnic identity groups.

     Pursuant to OCR's Case Processing Manual (CPM) Section 108(d), OCR will dismiss an
     allegation if the allegation lacks sufficient detail for OCR to infer that discrimination or
     retaliation may have been occurring or is occurring. 1 While you stated that you believe that the
     Student was denied admission to the Universities because of his race and/or sex, your reason for
     this belief was based off of the fact that the Student was offered a job at Google which would
     suggest that he should have been admitted to the Universities. You also stated that you have
     heard of students with similar qualifications who were similarly denied admission, however you
     also noted that these students were of different races and sexes than the Student which would not
     su      t that the Student was treated diffcrentl based on race or sex. Adtlitionally, while you
     provt      two artic cs m support o your cgation, one is from 2009-2011, and the other docs
     not include an analysis regarding race in admissions. Neither article discussed the impact of sex
     in admission at the Universititcs. As such, you did not provide sufficient facts from which OCR
     could infer that the Student's admission denials were based on race, and OCR is dismissing your
     complaint.

     This concludes OCR's consideration of your complaint. Please note that OCR has not informed
     the Universities of your complaint

     This letter sets forth OCR's determination in an individual OCR case. This letter is not a formal
     statement of OCR policy and should not be relied upon, cited, or construed as such. OCR's
     formal policy statements are approved by a duly authorized OCR official and made available to
     the public.
     OCR would like to make you aware that individuals who file complaints with OCR may have the
     right to file a private suit in federal court whether or not OCR finds a violation.

     Under the Freedom of Information Act (FOIA), it may be necessary to release this document and
     related correspondence and records upon request If OCR receives such a request, OCR will
     seek to protect, to the extent provided by law, personally identifiable information that could
     reasonably be expected to constitute an unwarranted invasion of personal privacy if released.


     1 Case Processing Marwal (Jul. 18, 2022), https://www2.ed.gov/about/offices/list/ocr/docs/ocrcpm.pdf.




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     If you have any questions about this letter, please call our office at 415-486-5555.

                                                   Sincerely,



                                                   Sara Berman
                                                   Team Leader




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 1   Tue, Nov 28, 2023 at 10: 18 AM

 2   To: "Isaac Quinn, Dana" <Dana.lsaacQuinn@ed.gov>

 3


 4    Dear Dana Isaac Quinn,

 5


 6   Thanks for your letter! Apparently there was a major misunderstanding. In

 1    response to the question "Do you know of other students with the same

 a qualifications who were denied admission, but are of different races or of a

 9   different national origin?", my answer was "I heard some cases anecdotally."

10   What I meant was that I heard some cases anecdotally where similarly strong

11   applicants of the same race were denied admission. To the best of my

12   knowledge, I am NOT aware of students of different races with the same

13   qualifications who were denied admission. With that clarification, could you

14    reopen the investigation?

15

16

17

1a    From: Isaac Quinn, Dana <Dana.lsaacQuinn@ed.gov>

19    Fri, Dec 15, 2023 at 10:13 AM

20

21    Dear XXX,

22




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 1    Thank you for the clarification. This does not change OCR's disposition of your

 2    complaint, but we are adding your below email to the case file.

 3


 4    Best-

 s Dana Isaac

 6


 7


 8


 9    Wed, Dec 27, 2023 at 10:10 AM

10    To: "Isaac Quinn, Dana" <Dana.lsaacQuinn@ed.gov>

11    Dear Dana,

12

13    Hope you had a great Christmas.

14


1s    With the clarification, can you issue an updated disposition letter? Is there an

16    appealprocess?

17


1a    BTW, it seems OCR considers Prof Robert Mare's report in 2011 outdated. If

19    you wonder why there was no follow-up report after 2011, that is because UCLA

20    discontinued providing the data to researchers, rendering similar research

21    impossible. We have to question what they may be trying to hide.

22

23    Thanks,




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 1


 2


 3


 4 From: Isaac Quinn, Dana <Dana.lsaacQuinn@ed.gov>

 s Tue, Jan 2, 2024 at 2:21 PM

 6

 1    Hi XXX,

 8


 9    My apologies for the delayed response. There is no updated disposition letter.

10    The letter that was sent on November 27, 2023 is the final disposition; I have

11    attached it again to this email. We do not have an appeal process, however if

12    there is new or additional information that OCR was not provided with in your

13    initial complaint, you can refile a new complaint with our office. Please make

14    sure that the complaint is filed within 180 of the alleged discrimination.

15

16    Thank you-

17    Dana

18

19    Dana Isaac Quinn

20    Civil Rights Attorney

21    US Department of Education

22

23    (t)415.486.5596 II (f)415.486.5570




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 1

 2


 3


 4    Tue, Jan 2, 2024 at 9:06 PM

 s To: "Isaac Quinn, Dana" <Dana.lsaacQuinn@ed.gov>

 6    Hi Dana,

 7


 s Hope you had a great holiday!

 9


10    Would you at least consider removing from the disposition letter the information

11    that you know as wrong?

12

13    Thanks,

14

15

16

17    Thu, Apr 11, 2024 at 9:47 PM

1s    To: "Isaac Quinn, Dana" <Dana.lsaacQuinn@ed.gov>

19    Hi Dana,

20


21    Bumping this email thread up.

22




     Zhong & SWORD v. University of California & U.S. Department of Education    Page 234 of 290
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 1    Would you at least consider removing from the disposition letter the information

 2    that you know as wrong?

 3


 4    Thanks,

 5


 6


 7


 s From: Isaac Quinn, Dana <Dana.lsaacQuinn@ed.gov>

 9    Mon, Apr 22, 2024 at 5:33 PM

10


11    Hi XXX,

12


13    My apologies for not responding to the previous messages. Unfortunately OCR

14    does not update the disposition letters- the letter that we issued was based on

1s    the information that you provided us at that time. You are welcome to contact my

16    supervisor, Sara Berman, at sara.berman@ed.gov if you have any additional

11    questions.

18


19    Dana

20


21


22


23    Sun, May 5, 2024 at 4:35 PM




     Zhong & SWORD v. University of California & U.S. Department of Education    Page 235 of 290
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 1    To: sara.berman@ed.gov

 2    Cc: "Isaac Quinn, Dana" <dana.isaacquinn@ed.gov>

 3


 4    Hi Sara,

 5


 6    Following up on Dana's message, I am contacting you regarding the complaint I

 1   filed against the University of California. Summarizing the email thread below,

 a Dana misunderstood my answer to be the opposite of what I meant. Based on

 9   that wrong understanding, Dana closed the case. I clarified my answer with

10    Dana. However, Dana insisted the case should be closed. I found that very

11   strange and concerning.

12

13    Could you look into this case?

14


1s   Thanks,

16


17


18

19   From: Berman, Sara <Sara.Berman@ed.gov>Mon, May 13, 2024 at 11:22 AM

20   Cc: "Isaac Quinn, Dana" <Dana.lsaacQuinn@ed.gov>

21

22   Dear Mr. XXX,

23




     Zhong & SWORD v. University of California & U.S. Department of Education    Page 236 of 290
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 1    Thank you for your email. Dana and I reviewed the correction you made and

 2    determined it would not change the outcome of our dismissal, meaning that your

 3    complaint is still dismissed. As such, we did not issue a new letter. You may

 4    choose to file a new complaint if you have additional or different information you

 s would like to provide; however, based on the information provided at this time,

 6    your complaint is closed. As Dana noted earlier to you, should you file a new

 1    complaint, please be sure that the information you provide pertains to actions

 a that have occurred within the 180 days prior to your filing.

 9


10    Thank you,

11    Sara Berman

12


13    Sara Berman

14    Supervisory Attorney

15    U.S. Department of Education

16    Office for Civil Rights

17    (ph) 415-486-5504

18    (fax) 415-486-5570

19


20


21

22    Thu, May 16, 2024 at 9:17 AM

23    To: "Berman, Sara" <Sara.Berman@ed.gov>




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 1    Cc: "Isaac Quinn, Dana" <Dana.lsaacQuinn@ed.gov>

 2


 3    Hi Sara,

 4


 s Thanks for your reply. Could you please provide the updated reason for the

 6    dismissal?

 7


 s Best regards,

 9


10


11


12    From: Berman, Sara <Sara.Berman@ed.gov>Thu, May 16, 2024 at 11:01 AM

13    Cc: "Isaac Quinn, Dana" <Dana.lsaacQuinn@ed.gov>

14


1s    Hi Mr. XXX,

16


11   As stated before, there are no updates. You may file a new complaint if you

1s    want to include information that was not previously considered that would

19    support your complaint. However, keep in mind that in order to be timely, the

20    alleged discrimination would need to have occurred within 180 days from filing

21    your complaint.

22


23    Best,




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 1    Sara

 2


 3


 4


 s Sat, May 18, 2024 at 11:33 AM

 6    To: "Berman, Sara" <Sara.Berman@ed.gov>

 1    Cc: "Isaac Quinn, Dana" <Dana.lsaacQuinn@ed.gov>

 8


 9    Hi Sara,

10

11    I am confused now on the reason for the dismissal. Could you please provide

12    the reason for the dismissal?

13

14    Thank you!

15

16

17

1a    From: Berman, Sara <Sara.Berman@ed.gov>Mon, May 20, 2024 at 1:00 PM

19    Cc: "Isaac Quinn, Dana" <Dana.lsaacQuinn@ed.gov>

20    Dear Mr. XXX,

21

22    As stated in OCR's November 27, 2023 letter to you, pursuant to OCR's Case

23    Processing Manual (CPM) Section 108(d), OCR will dismiss an allegation if the




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 1    allegation lacks sufficient detail for OCR to infer that discrimination or retaliation

 2    may have been occurring or is occurring, and OCR determined that your

 3    complaint lacked sufficient detail for OCR to infer discrimination or retaliation.

 4    As such, your complaint was dismissed, and your clarification did not change

 s the basis for the dismissal. As you were informed below, you could file a new

 6    complaint if you wanted additional information considered that had not

 1    previously been provided.

 8


9     Thank you,

10    Sara Berman




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1                                         EXHIBIT 76

 2    EMAIL EXCHANGE WITH CALIFORNIA ASSEMBLYMEMBER MR. MARC BERMAN AND HIS STAFF


 3-----------------------------


4 Subject: Webform submission from: Meeting Request



 s Submitted on Sat, 11/04/2023 - 22:02

 6    Dear Assemblymember Berman,

 7


 s On behalf of hundreds of residents in your district, I am writing to you to address

 9    a matter of great importance - the need for more transparency in college

10    admission. To begin, let me share my son Stanley's college application story

11    (https://docs.google.com/document/d/e/2PACX-1 vSQykM8hkz9Irdn3GM8DOxO

12    D4H0Z1 hkLAFS37bXDJToVATFXKFSyDkTR64_qG1 NnL_mJ8ebA73a9sA/pub

13 ). It is so bizarre that it was reported by ABC, CBS, CNBC, USA Today, and


14    other media channels. It was also presented at a congressional hearing on

1s    September 28 (https://www.youtube.com/watch?v=4Zu5cdfv9kk&t=2587s).

16


11    In addition to an excellent academic record and strong leadership both in and

1s    outside his school, as a high schooler, Stanley achieved multiple recognitions

19    that made him stand out even among professional software developers around

20    the world. For example,

21    * He advanced to the Google Code Jam Coding Contest semi-final.

22    *Hise-signing startup is featured in an Amazon Web Services case study, an



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 1    honor received by only a handful startups in the world.

 2    * He won 2nd place in MIT Battlecode's high school division.

 3    In 2019, not knowing he was only 13 years old, a Google recruiter invited him to

 4    interview for a full-time job. Shortly after turning 18, in September 2023, he was

 s hired by Google as an L4 software engineer, a position that typically requires

 6    multiple years of professional experience as well as a college degree.

 7


 a In contrast, despite citing the awards above (and a lot more), his college

 9    application was rejected by all five UC schools he applied to. As a California

10    taxpayer, I was rattled by the fact that he had no UC schools to choose from.

11    After Stanley's story went public, I received numerous emails, complaining about

12    similarly unfathomable application results with the UC schools. So Stanley's

13    case is not alone.

14


1s    The Varsity Blues scandal already eroded public trust in college admissions. The

16    2020 audit report (https://www.auditor.ca.gov/reports/2019-113/index. html) by

11 the California State Auditor further underscored deficiencies in UC's admissions

1a    practices. Its summary says,

19

20    "The university has also failed to ensure that campuses fairly and consistently

21   treat the thousands of prospective students who apply each year. Neither UC

22    Berkeley nor UCLA have developed methodologies for how they determine

23   which applicants to admit. Nevertheless, both of those campuses admitted




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 1    thousands of applicants whose records demonstrated that they were less

 2    qualified than other applicants who were denied admission. Applicants' chances

 3    of admission were also unfairly affected by UC Berkeley's, UCLA's, and UC San

 4    Diego's failures to properly train and monitor the staff who review and rate

 s applications. We found that staff were sometimes overly strict or overly lenient in

 6    their review of applications, thereby making the applicants' chances of

 1    admission unduly dependent on the individual staff who rated them rather than

 a on the students' qualifications."

 9


10    UCLA's late distinguished sociologist, Prof Robert D. Mare also documented

11    anti-Asian bias in UCLA's admissions process in his report titled "Holistic Review

12    in Freshman Admissions at the University of California-Los Angeles 2009-2011

13    Update." Its summary says,

14


1s    "In both Final and Supplemental Review, African American applicants receive

16    somewhat more favorable and 'North Asian' (Chinese, Japanese, Korean,

11    Indian/Pakistani American) applicants receive somewhat less favorable holistic

1a    read scores than applicants in other ethnic identity groups who are otherwise

19    similar in measured academic qualifications, personal characteristics, and

20    measured challenges and hardships."

21

22    In line with the reports by the California State Auditor and Prof Mare, as

23    students and parents, we are seeing nonsensical admission results again and




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 1    again.

 2


 3    As a basic democratic principle, we should have checks and balances for every

 4    power, including the power of the admission offices. Holistic reviews should not

 s be construed as black box reviews. I think college admission transparency is not

 6    a blue/red issue. It's a common sense issue about the next generation's

 1    education and their mental health.

 8


 9    I kindly request your support and advocacy for more transparency in college

10    admission. Your leadership in the California State Assembly has the potential to

11    not only make a significant difference in the lives of countless students and their

12    families but also strengthen our communities and our state as a whole.

13

14    Thank you for your dedication to public service and for considering this

1s    important issue. I would appreciate the opportunity to discuss this matter further

16   with you and offer my support in any way I can. Please let me know if there is a

11    convenient time for us to connect.

18

19    Sincerely,

20    Nan Zhong

21

22    Issue to be Discussed-include position represented by attendees:

23    Demanding UC Admission Transparency




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 1


 2    Attendees (Name, title, whom they represent):

 3    Nan Zhong, College Admission Transparency Advocate, representing hundreds

 4    of parents in Palo Alto and surrounding areas


 5


 6


 1    On Thu, Nov 30, 2023 at 9:28AM Berman Scheduler

 a <BermanScheduler@asm.ca.gov> wrote:

 9


10    Hi Nan,

11


12    I hope this email finds you well. Thank you for your patience and for requesting

13    to meet with Assemblymember Marc Berman. Unfortunately, Assemblymember

14    Berman is not available to meet. However, our Legislative Director, Ellen Green,

1s    is available to meet with you, and is copied on this email. I will ask that you work

16    directly with the staff member to schedule your meeting.

17

1a    Kind regards,

19    lndelize Zendejas

20    Scheduler

21

22

23




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 1    From: Nan Zhong <nanzhong1@gmail.com>

 2    Sent: Thursday, November 30, 2023 1:58 PM

 3    To: Berman Scheduler <BermanScheduler@asm.ca.gov>

 4    Cc: Green, Ellen <Ellen.Green@asm.ca.gov>

 s Subject: Re: Webform submission from: Meeting Request

 6


 1    Hi lndelize, thanks for your reply!

 8


 9    Hi Ellen, nice toe-meet you! Here is the agenda doc we prepared for other CA

10    lawmakers. Would love to have a discussion with you. Thanks!

11


12


13

14    On Fri, Dec 1, 2023 at 10:45AM Green, Ellen <Ellen.Green@asm.ca.gov>

1s   wrote:

16

11    Hi Nan,

18


19   Thank you for reaching out to our office. I am located in our Sacramento Capitol

20    Office, so I would be happy to meet with you virtually. Do you have availability

21    next week? I am pretty open 12n and 12/8. Please let me know what works

22    best for you and I will send you a Zoom link.

23




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 1    Thank you again,

 2    Ellen Hou Green I Legislative Director

 3


 4


 5


 6    From: Nan Zhong <nanzhong 1@gmail.com> Fri, Dec 1, 2023 at 12: 19 PM

 1    To: "Green, Ellen" <Ellen.Green@asm.ca.gov>

 8


 9    Hi Ellen,

10


11    12/7 would be great. Any time except 10:30-11am or 2-2:30pm works for me.

12    Looking forward to it!

13

14    Thanks,

1s    Nan

16

17


18

19    From: Green, Ellen <Ellen.Green@asm.ca.gov> Fri, Dec 1, 2023 at 4:57 PM

20    To: Nan Zhong <nanzhong1@gmail.com>

21    Hi Nan,

22




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 1    Would 11 :00 - 11 :30am on 12/7 work for you? If so, I will send a Zoom link on

 2    Monday.

 3


 4    Thank you,

 5


 6


 7


 a From: Nan Zhong <nanzhong1@gmail.com> Fri, Dec 1, 2023 at 5:47 PM

 9    To: "Green, Ellen" <Ellen.Green@asm.ca.gov>

10


11    Yes, that works for me. Thanks!

12


13    Have a nice weekend!

14


15

16


11    On Mon, Dec 4, 2023 at 1:09 PM Green, Ellen <Ellen.Green@asm.ca.gov>

1a    wrote:

19


20    Hi Nan,

21


22    Glad the timing works. Here is the Zoom link for our meeting from 11 :00 -

23    11 :30am on 12/7: https://caasm.zoom.us/j/xxxxx




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 1


 2    I also wanted to check in with you since our District Office has heard from 12

 3    others requesting a meeting on this topic. Since we already have scheduled the

 4    meeting, would you like others join? Another option is that we can relay that we

 s are meeting with you.

 6


 1    Thank you,

 a Ellen Hou Green I Legislative Director

 9


10


11


12    On Mon, Dec 4, 2023 at 9:18PM Nan Zhong <nanzhong1@gmail.com> wrote:

13

14    Hi Ellen,

15

16    Thanks for setting up the Zoom link. Please feel free to invite the others to join.

17


1a    Also, I prepared this doc to provide some context and hopefully it helps us get

19    more out of the 30 minutes.

20


21    I look forward to our meeting on Thursday!

22


23    Best,




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 1    Nan

 2


 3


 4


 s From: Nan Zhong <nanzhong1@gmail.com>

 6    Sent: Friday, January 19, 2024 3:20 PM

 1    To: Green, Ellen <Ellen.Green@asm.ca.gov>

 a Cc: College Admission Transparency

 9    <college-admission-transparency@googlegroups.com>

10    Subject: Drafting legislatures for UC admission transparency

11


12    Hi Ellen,

13

14    Hope you had a great holiday break!

15

16    Following up on our conversation on UC admission transparency, we had a

11   productive meeting with the following legislative staffers on Wednesday.

18

19 •         Monica Henestroza, Policy Consultant on Higher Education for Speaker

20    Robert Rivas

21    •      Sophia Kwong Kim, Chief of Staff to the Assembly's Higher Education

22    Committee Chair Mike Fong




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 1    •      Jeanice Warden, Chief Consultant of the Assembly's Higher Education

 2    Committee

 3


 4    They are supportives of our efforts to increase UC admission transparency. In

 s fact, they invited us and other lawmakers not on the Higher Ed committee to

 6    submit legislative proposals. Would you and Assemblymember Berman be

 1    interested in drafting one? Our coalition of thousands of Californians (a lot of

 a them in Mr. Berman's district) would applaud and support it by writing to other

 9    lawmakers and Governor Newsom.

10

11    To summarize our interaction with the UC admission office on this issue, it is

12    disappointing to say the least. Given that Google spent 1O+ hours interviewing

13    Stanley and concluded that his Computer Science proficiency reached the same

14    level as those with Ph.D. degrees from colleges like UCLA and UC Berkeley, it is

1s    strange that the UC admission office continues to insist that Stanley was not

16    qualified enough for their undergraduate programs. I understand that college

11    admission is a difficult operation. The application readers can spend only a few

1a    minutes per application and they aren't necessarily equipped with

19    domain-specific knowledge. So things can fall through cracks. However, given

20    the public outcry and obvious absurdity, with ample time to re-examine the case,

21    the dismissive nature of the UC admission office's response letter is insulting to

22    the public and it was a great disservice to this world-renowned institution.

23    Dismissing the previous mistake offhandedly as a non-issue is a mistake worse




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 1    than the original one. It is no longer in the realm of honest mistakes that we all

 2    make sometimes. Instead, it speaks volumes about whether they care. With

 3    UC's role in the Varsity Blues scandal and the 2020 audit report by the California

 4    State Auditor, the burden is on the UC admission office to prove that they

 s deserve the public's trust. In 1989, UC Berkeley apologized for a policy that

 6    limited Asians after the state audit in 1987. Things moved on. Now it's time to

 1    demand accountability in the admission office so we can move on again.

 8


 9    Interestingly, after the resignation of President Magill at the Univ of

10    Pennsylvania, 1200 faculty members signed the new constitution proposal,

11    which calls out admission transparency explicitly. It says, "Admission policies

12    should prioritize the fair treatment of each individual applicant, and criteria must

13    be objective, transparent, and clearly communicated to all community

14    members." I hope UC's admission office adopts a similar principle as soon as

1s    possible.

16


11    Would love to hear your thoughts and hopefully move towards actual

1a    legislatures.

19

20    Thanks,

21    Nan

22


23




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 1


 2 On Fri, Jan 26, 2024 at 6:32 PM Green, Ellen <Ellen.Green@asm.ca.gov>

 3    wrote:

 4


 s Hi Nan,

 6


 1    Hope you had a great holiday break as well!

 8


 9    Thank you for the updates. I recall in our previous meeting that other offices

10    expressed interest and thought they may want to introduce legislation.

11


12    Not sure if you were aware, but last Friday was the legislative deadline to submit

13    bill ideas to our Legislative Counsel for drafting. This means that in order for bill

14    language to be introduced by the bill introduction deadline next month bill

1s    language needed to be submitted by last Friday. I have submitted language for

16    bill proposals we are considering and am not able to submit new requests since

11    the deadline has passed. Sorry if this is new information to you, but glad to hear

1s    you have been having productive meetings.

19


20    Thank you,

21    Ellen Hou Green I Legislative Director

22


23




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 1


 2    On Fri, Jan 26, 2024 at 7:19PM Nan Zhong <nanzhong1@gmail.com> wrote:

 3


 4    Hi Ellen,

 5


 6   Thanks for the info! When will the submission window be open again? Given a

 1    high percentage of our coalition is in Mr. Berman's district, I thought it would be

 a appropriate for Mr. Berman's office to lead the drafting process. Would love to

 9   hear your thoughts.

10

11    Best,

12    Nan

13

14


15

16    From: Nan Zhong <nanzhong1@gmail.com>

11   Sent: Tuesday, February 20, 2024 10:02 AM

1a   To: Green, Ellen <Ellen.Green@asm.ca.gov>

19   Cc: Assemblymember Berman <Assemblymember.Berman@assembly.ca.gov>;

20   College Admission Transparency

21    <college-admission-transparency@googlegroups.com>

22    Subject: Re: Drafting legislations for UC admission transparency

23




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 1    Hi Ellen,

 2


 3    As a grassroots organization of several thousand Californians, we are in for a

 4    long fight. So I am not concerned that the current legislative drafting window is

 s closed. I am more interested in getting a good draft ready for the next session.

 6    Could you help us with that? Given a high percentage of our coalition is in Mr.

 1    Berman's district, I thought it would be appropriate for Mr. Berman's office to

 a lead the drafting process. Would love to hear your thoughts.

 9


10    Thanks,

11    Nan

12

13

14


1s    From: Green, Ellen <Ellen.Green@asm.ca.gov> Tue, Feb 20, 2024 at 11 :17

16    AM

11    To: Nan Zhong <nanzhong1@gmail.com>

18


19    Hi Nan,

20


21    So sorry for missing your previous email.

22




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 1    As it relates to your question in that email, the window opens again in the 2025

 2    Legislative Session. They have not identified the legislative deadlines, but I

 3    anticipate the deadline to submit language to counsel will again be sometime in

 4    January next year.

 5


 6    Let me circle back with you on your email from today. This past Friday was the

 1    bill introduction deadline so I am still in the middle of all that.

 8


 9    Thank you,

10    Ellen Hou Green I Legislative Director

11


12


13

14    From: Nan Zhong <nanzhong1@gmail.com> Mon, Mar 18, 2024 at 12:44 PM

1s    To: "Green, Ellen" <Ellen.Green@asm.ca.gov>

16    Cc: assemblymember.berman@assembly.ca.gov, College Admission

11    Transparency <college-admission-transparency@googlegroups.com>

18


19    Hi Ellen, here is my statement to the UC Board of Regents at their March 20

20    meeting. I am becoming angry at the UC admissions office's continued

21    stonewalling while systematically hurting Asian kids. It has been a month since

22    our last communication. Again, since a high percentage of our coalition is in Mr.




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 1    Berman's district, I thought it would be appropriate for Mr. Berman's office to

 2    lead the drafting process. I'd appreciate your response. Thanks!

 3


 4    Honorable members of the UC Board of Regents,

 5


 6    I'd like to follow up on the comment I made in January and November regarding

 1    the need for more transparency in UC admissions. After my November

 a comment, I received a 2-page letter with no meaningful information from Han Mi

 9    Yoon-Wu, Associate Vice Provost and Executive Director of Undergraduate

10    Admissions. After my January comment, I received a half-page letter with no

11    meaningful information.

12

13    While the UC admissions office is doing nothing to increase its transparency, we

14    compiled our own data. So let's not ignore the elephant in the room: race. All the

1s    highly qualified applicants rejected by the UC are Asians. It's clear to me that the

16    UC admissions office is practicing identity politics, just like the far right. Both the

11    UC and the far right single out a group based on their identity, then direct hatred

1s    or penalty towards them. What UC is doing is another form of Asian hate, only

19    more hidden and systematic, thus more hateful, hurtful and harmful than a

20    comment like Trump's stupid "kung flu."

21

22    This form of Asian hate takes its toll on the Asian community. It creates a sense

23    of helplessness among Asian kids. For a student who received the highest level




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 1    of Presidential Volunteer Service Award, beat the world's top professional

 2    programmers in competitions and was hired by Google for a position typically

 3    offered to Ph.D graduates, if he is rejected by UC's undergraduate programs, do

 4    you realize how absurd that is? Do you understand how one absurd story like

 s this after another leads to a sense of helplessness that is detrimental to Asian

 6    kids' mental health? When a Palo Alto School District board member and I sadly

 1    discussed local high school suicide cases, we agreed college admission and its

 s blackbox nature very likely contributed to the crisis. There is only so much the

 9    high schools can do unless universities become more transparent in their

10    admissions and alleviate the sense of helplessness.

11


12    After being stonewalled by the UC admissions office for the past four months,

13    my hope for an honest, scientific, constructive and good-faith discussion has

14    faded, replaced by disappointment, frustration and anger. I am disappointed

1s    because I thought UC would proudly open its admissions practice instead of

16    hiding it in a black box, but I was wrong. I am frustrated because I thought UC is

11    a great public institution that would listen to the public and could be reasoned

1s    with instead of ignoring the public outcry, but I was wrong. I am angry because

19    more Asian kids will suffer, yet nobody seems to care, even those

20    self-proclaimed anti-racists. If UC thinks its admissions practice is countering the

21    far right, you got it wrong. Absurd far left policies are only going to exacerbate

22    people's distrust of public institutions and feed the narratives of the far right. To




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 1    counter the far right, don't move to the far left. Stay in the center and stick with

 2    common sense.

 3


 4    If the admissions office somehow is wishing that stonewalling would tire us out

 s and stop us challenging the absurd status quo, I have news to share. We shall

 6    bring the case to the wider public and political debates. We shall expose the

 1    "Asian Hate" nature of the far left admissions practice. We shall fight through

 a protests. We shall fight in court. We shall fight in the legislature. We shall fight in

 9    the elections. We shall demand accountability. We shall be noisy, annoying and

10    a pain in the butt. We shall fight to the end. Whatever it takes. However many

11    decades it takes. If that shatters the "model minority" stereotype, so be it.

12


13    Dear members of the Board, as the leaders of the UC, the buck stops with you.

14    This time, please do more than just forwarding the letter to the admissions

1s    office. It's time to show us your leadership.

16

11    Sincerely,

1a    Nan

19    Palo Alto, CA

20


21


22


23    From: Nan Zhong <nanzhong1@gmail.com> Tue, Mar 26, 2024 at 8:00 AM




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 1    To: "Green, Ellen" <Ellen.Green@asm.ca.gov>

 2    Cc: assemblymember.berman@assembly.ca.gov, College Admission

 3    Transparency <college-admission-transparency@googlegroups.com>

 4


 s Hi Ellen and Asm Berman,

 6


 1    We'd appreciate your response on this issue.

 8


 9    Thanks,

10    Nan

11

12

13

14    From: Nan Zhong <nanzhong1@gmail.com> Thu, Apr 4, 2024 at 5:48 PM

1s    To: "Green, Ellen" <Ellen.Green@asm.ca.gov>,

16    assemblymember.berman@assembly.ca.gov

11    Cc: College Admission Transparency

1a    <college-admission-transparency@googlegroups.com>

19


20    Hi Asm Berman and Ellen,

21

22   When can we expect a response from you?

23




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 1    Thanks,

 2    Nan

 3


 4


 5


 6    From: Nan Zhong <nanzhong1@gmail.com> Fri, Apr 12, 2024 at 11:18 AM·

 1    To: "Green, Ellen" <Ellen.Green@asm.ca.gov>,

 a assemblymember.berman@assembly.ca.gov

 9    Cc: College Admission Transparency

10    <college-admission-transparency@googlegroups.com>

11

12    Hi Asm Berman and Ellen,

13

14    Are you receiving our emails? I certainly hope we are not being ghosted

15    intentionally.

16

17    Thanks,

18    Nan

19

20

21

22    From: Green, Ellen <Ellen.Green@asm.ca.gov> Fri, Apr 12, 2024 at 10:35 PM

23    To: Nan Zhong <nanzhong1@gmail.com>




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 1


 2    Hi Nan,

 3


 4    Now that I have had an opportunity to dig into this, I am able to circle back. As

 s you know, the California State Auditor's office conducted an audit of the UC's

 6    admissions process and released a report in 2020. The 82-page report

 1    contained recommendations, which included recommending actions each

 a campus should take to ensure that the university maintains a fair and consistent

 9    admissions process and ensure that the university maintains a fair and unbiased

10    admissions process. These recommendations are only partially implemented.

11   As a result, Assemblymember Berman will be sending a letter to the State

12   Auditor and sending a letter to UC inquiring on the status of the audit

13    recommendations and emphasizing the importance of following through on fully

14    implementing the recommendations with fidelity to ensure that UC maintains a

1s   fair, consistent, and unbiased admissions process.

16

11   Thank you,

1a    Ellen Hou Green I Legislatiye Director

19


20

21

22    From: Nan Zhong <nanzhong1@gmail.com> Fri, Apr 12, 2024 at 11:18 PM

23   To: "Green, Ellen" <Ellen.Green@asm.ca.gov>




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 1    Cc: assemblymember.berman@assembly.ca.gov, College Admission

 2    Transparency <college-admission-transparency@googlegroups.com>

 3


 4    Hi Ellen,

 5


 6   Thanks for digging into this! We appreciate the initiative that Mr. Berman is

 1   taking to inquire on the status of the audit recommendations. From our

 s perspective, regardless of what UC has implemented in response to the 2020

 9    audit, they continue to produce absurd admission results and fall far below the

10   public's expectations. I made three public comments at the UC Board of

11    Regents meetings. So far, the three responses from the UC admissions office

12   were dismissive of the issue. Here are the links to my comments and their

13    responses.

14    * comment 1

15    * response 1

16    * comment2

17   * response 2

18    * comment 3

19    * response 3

20


21   We look forward to working with state lawmakers to force UC to improve their

22    admissions practice.

23




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 1    Thanks again for your efforts!

 2


 3    Best,

 4    Nan

 5


 6


 7


 a From: Nan Zhong <nanzhong1@gmail.com> Sat, May 11, 2024 at 8:34 AM

 9    To: "Green, Ellen" <Ellen.Green@asm.ca.gov>

10    Cc: assemblymember.berman@assembly.ca.gov, College Admission

11    Transparency <college-admission-transparency@googlegroups.com>

12


13    Hi Ellen,

14


1s    Has Mr. Berman received any response from the State Auditor and UC?

16


11    Recently, someone shared with me a video of Prof Erwin Chemerinsky, Berkeley

1a    Law School Dean, describing the "unstated" racial preferences in faculty hiring.

19    It's eye-opening to see a law professor teaching students to break laws and hide

20    the evidence. Even if UC claims they have the right policies in place, it is clear

21    that they are violating Prop 209 in practice, possibly in an organized yet hidden

22    fashion. So there must be independent oversight.

23




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 1    Thanks again for your efforts!

 2


 3    Best,

 4    Nan

 5


 6


 7


 a From: Nan Zhong <nanzhong1@gmail.com> Thu, May 16, 2024 at 1:20 PM

 9    To: "Green, Ellen" <Ellen.Green@asm.ca.gov>

10    Cc: assemblymember.berman@assembly.ca.gov, College Admission

11    Transparency <college-admission-transparency@googlegroups.com>

12

13    HI Ellen,

14


1s    Has Mr. Berman received any response from the State Auditor and UC? Below

16    is the letter I sent to the UC Board of Regents for the Board meeting held today.

17

1a    Once again, thanks for your efforts!

19

20    Best,

21    Nan

22


23    Honorable members of the UC Board of Regents,




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 1


 2    I'd like to follow up on the comments I made in March, January, and last

 3    November regarding the need for more transparency in UC admissions.

 4


 s In March, I specifically asked this board to directly weigh in on this issue. Two

 6    months later, I'm still waiting for a response. As an engineer by training, I can

 1    easily be persuaded by reasoning. If I got anything wrong, tell me and show me

 a concrete data. However, since I brought up this issue last November, my

 9    attempts to engage UC for discussions have consistently been met with silence

10    or stonewalling as if I touched on a taboo associated with illegal activities.

11


12    Over time, I learned that my experience fits in a long standing pattern. In 2007,

13    Prof Tim Groseclose, a faculty member on UCLA admissions committee, asked

14    for anonymized sample data from the admissions office. He was rejected. Yes,

1s    UCLA hid its admissions data from its own admissions committee! He was told

16    that "we should not study or do any analysis of holistic admissions at UCLA until

11    we have at least four or five years of the outcome to avoid normal annual

1s    fluctuations". Now, 17 years later, where is the data? What's the excuse now?

19    Where is the basic intellectual honesty and decency? Where are the academic

20    traditions of open discussions and peer reviews? I can't believe I have to preach

21    such fundamental principles to an academic institution. UC's efforts to keep its

22    admission a black box is an assault on reason and academic integrity.

23




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 1    Recently, someone shared with me a video of Prof Erwin Chemerinsky, Berkeley

 2    Law School Dean, describing the "unstated" racial preferences in faculty hiring.

 3    Really? A law professor teaching students to break laws and hide the evidence?

 4    It's a disgrace! It's legally and morally indefensible! No wonder I got the

 s impression that there are institutionalized illegal activities. No wonder UC tightly

 6    guards its admissions data because it's incriminating. It starts to make sense.

 7


 a Finally, I have a message to a Regent not present in the meetings, Governor

 9    Newsom. Mr. Newsom, last November, over 3,000 Californians sent you a letter

10    regarding UC admissions. Half a year later, we still haven't heard from you. Your

11    silence and indifference violates your duty as an elected official. Perhaps you

12    consider yourself the governor for some Californians only, not the 3,000 who

13    signed the letter. I'm deeply disappointed as a voter and regret my votes for you

14    in the past. You don't deserve my vote anymore.

15

16    Sincerely,

11    Nan

18


19


20


21    From: Green, Ellen <Ellen.Green@asm.ca.gov>              Tue, Jun 4, 2024 at 10:05 AM

22   To: Nan Zhong <nanzhong1@gmail.com>

23




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 1    Hi Nan,

 2


 3    Thanks for following up. Sorry for the delay. You caught me during one of our

 4    busiest deadlines. Now that things have slowed down a little bit, I submitted the

 s letter to the State Auditor and the letter to UC last week. I am happy to let you

 6    know once my office receives responses.

 7


 a Thank you,

 9    Ellen Hou Green I Legislative Director

10


11


12


13    From: Nan Zhong <nanzhong1@gmail.com> Tue, Jun 4, 2024 at 10:30 AM

14    To: "Green, Ellen" <Ellen.Green@asm.ca.gov>

15

16    Thank you very much!

17


18

19

20    From: Green, Ellen <Ellen.Green@asm.ca.gov>              Fri, Jul 26, 2024 at 5:07 PM

21    To: Nan Zhong <nanzhong1@gmail.com>

22


23    Hi Nan,




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 1


 2    I wanted to follow up and share the attached response letter from the State

 3    Auditor that we received in the mail this week. I will also let you know once my

 4    office receives a response from UC.

 5


 6    Thank you,

 1    Ellen Hou Green I Legislative Director

 8


 9


10

11    From: Nan Zhong <nanzhong1@gmail.com> Fri, Jul 26, 2024 at 11:30 PM

12 To: "Green, Ellen" <Ellen.Green@asm.ca.gov>

13

14    Hi Ellen,

15

16    Thank you very much for following up on this! Is it OK for me to share this letter

17 publicly?

18

19 Best,

20    Nan

21

22

23




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 1    From: Green, Ellen <Ellen.Green@asm.ca.gov> Thu, Aug 22, 2024 at 2:30 PM

 2    To: Nan Zhong <nanzhong 1@gmail.com>

 3


 4    Hi Nan,

 5


 6    Thank you for your patience during our busiest time of year.

 7


 a I reached out to the State Auditor's office inquiring whether this letter can be

 9    shared publicly. I just heard back that the information in the letter is available

10    publicly on their website, so this letter is a public document.

11


12    Thanks again,

13    Ellen Hou Green I Legislative Director

14


15

16

11 From: Nan Zhong <nanzhong1@gmail.com> Thu, Aug 22, 2024 at 2:54 PM

1a    To: "Green, Ellen" <Ellen.Green@asm.ca.gov>

19

20    Thank you!

21

22

23




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 1    From: Green, Ellen <Ellen.Green@asm.ca.gov> Fri, Sep 13, 2024 at 4:14 PM

 2   To: Nan Zhong <nanzhong1@gmail.com>

 3


 4    Hi Nan,

 5


 6    I wanted to follow up and share the attached response letter from UC that we

 1   received this week.

 8


 9   Thank you,

10   Ellen Hou Green I Legislative Director

11


12

13

14   From: Nan Zhong <nanzhong1@gmail.com> Tue, Sep 17, 2024 at 10:17 AM

1s   To: "Green, Ellen" <Ellen.Green@asm.ca.gov>

16   Cc: College Admission Transparency

11    <college-admission-transparency@googlegroups.com>

18

19    Hi Ellen,

20


21   Thank you and Asm Berman for following up on this matter!

22




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 1    Regardless of what UC claims in general, can you ask them to explain why all

 2   five UC campuses Stanley applied to rejected him? If they dodge specific

 3    questions and associated accountability, they can always claim one thing on

 4   paper while doing another in reality.

 5


 6    Best,

 1 Nan

 8


 9


10


11    From: Nan Zhong <nanzhong1@gmail.com> Tue, Sep 24, 2024 at 11:20 PM

12   To: "Green, Ellen" <Ellen.Green@asm.ca.gov>

13   Cc: College Admission Transparency

14    <college-admission-transparency@googlegroups.com>

15

16    Hi Ellen,

17


1a   What is the next step going to be? Since President Drake said he "will do

19   everything I can to ensure inappropriate admissions do not happen on any of

20   our campuses", can Mr Berman ask him to look into Stanley's case? Please

21   keep in mind that my communication with UC was cc'd to President Drake. So

22   far, he has been completely silent on this matter. Maybe Mr Berman can get him

23   to address it.




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 1


 2    I appreciate your continued efforts.

 3


 4    Best,

 s Nan

 6


 7


 8


 9    From: Green, Ellen <Ellen.Green@asm.ca.gov>              Tue, Oct 1, 2024 at 5:13 PM

10    To: Nan Zhong <nanzhong1@gmail.com>

11


12    Hi Nan,

13

14    For next steps, the State Auditor expects UC will submit further responses and

1s    any relevant documentation later this year noting their further progress in

16    implementing the two recommendations. The State Auditor's office will then

11    evaluate those responses and issue an updated determination as to the

1s    implementation status, which will be posted on their website. The State

19   Auditor's office said that they will keep my office updated on any developments

20   that may arise.

21

22   Thank you,

23    Ellen Hou Green I Legislative Director




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 1


 2


 3


 4    From: Nan Zhong <nanzhong1@gmail.com> Wed, Oct 2, 2024 at 8:47 AM

 s To: "Green, Ellen" <Ellen.Green@asm.ca.gov>

 6    Cc: College Admission Transparency

 1    <college-admission-transparency@googlegroups.com>,

 a assemblymember.berman@assembly.ca.gov

 9


10    Hi Ellen,

11


12    Thanks for following up on this matter. Can Asm Berman directly inquire to UC

13    about Stanley's case? Without specificity, there can hardly be accountability. UC

14    has been stonewalling Stanley's case for a year despite my repeated inquiries to

1s    the Board of Regents, the Admissions Office and the Departments of Computer

16    Science.

17

18    Best,

19    Nan

20

21

22

23    From: Nan Zhong <nanzhong1@gmail.com> Thu, Oct 3, 2024 at 8:10 PM




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 1    To: assemblymember.berman@assembly.ca.gov

 2    Cc: College Admission Transparency

 3    <college-admission-transparency@googlegroups.com>, "Green, Ellen"

 4    <ellen.green@asm.ca.gov>

 5


 6    Dear Asm Berman,

 7


 a I read the newsletter you issued today titled "17 for 17: the Governor signed

 9    every bill I sent to him". When it touted "no Gubernatorial vetoes" as an

10    achievement, I was very disappointed.

11


12    Here is some context. Given that Governor Newsom is an ex officio Regent of

13    UC, we sent a letter signed by 4000+ people to him last November regarding

14    UC admissions. However, he didn't respond at all. To me, his silence and

1s    indifference violated his basic duty as an elected official. As a voter that voted

16    for Obama, Clinton and Biden for President and Newsom for Governor multiple

11    times, I will never vote for Newsom again. I am pretty sure most of our grassroot

1a    organization members would share the same sentiment. I hope he is not running

19    for public office again. Otherwise, I feel obligated to share our story with other

20    voters.

21

22    With a governor that is failing his basic duty, I am not sure why alignment with

23    him is something to be proud of. I hope your priority is voter first, not governor




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 1    first or party line first. A concrete way to do that is by sponsoring legislation to

 2    increase UC admission transparency and hold UC accountable for their

 3    rejections of highly qualified applicants like Stanley.

 4


 s I look forward to your reply.

 6


 1    Best,

 a Nan

 9


10


11


12    From: Green, Ellen <Ellen.Green@asm.ca.gov>              Wed, Oct 9, 2024 at 12:02

13    PM

14   To: Nan Zhong <nanzhong1@gmail.com>

15

16    Hi Nan,

17

1a    Happy to share updates on any developments from the State Auditor's office on

19   this matter. Assemblymember Berman asked me to continue to monitor this and

20    UC admissions broadly. Unfortunately, our office does not pursue inquires on

21    individual admissions cases.

22


23   Thank you,




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 1    Ellen Hou Green I Legislative Director

 2


 3


 4


 s From: Nan Zhong <nanzhong1@gmail.com> Wed, Oct 9, 2024 at 12:06 PM

 6    To: "Green, Ellen" <Ellen.Green@asm.ca.gov>

 1    Cc: College Admission Transparency

 a <college-admission-transparency@googlegroups.com>

 9


10    Why not?

11


12

13

14    From: Nan Zhong <nanzhong1@gmail.com> Wed, Oct 9, 2024 at 11:55 PM

1s    To: assemblymember.berman@assembly.ca.gov

16    Cc: College Admission Transparency

11    <college-admission-transparency@googlegroups.com>, "Green, Ellen"

1s    <ellen.green@asm.ca.gov>

19

20    Dear Asm Berman,

21

22    Is there a law prohibiting your office from pursuing inquiries on individual

23    admissions cases? Or is your choice not to pursue it?




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 1


 2    Can I hear from you directly at least once?

 3


 4    Thanks,

 s Nan

 6


 7


 8


 9    From: Nan Zhong <nanzhong1@gmail.com> Thu, Oct 17, 2024 at 11:30 AM

10    To: assemblymember.berman@assembly.ca.gov

11    Cc: College Admission Transparency

12    <college-admission-transparency@googlegroups.com>, "Green, Ellen"

13    <ellen.green@asm.ca.gov>

14


1s    Dear Asm Berman,

16

11    It has been a week since my last email to you that asked for a response. I'd

1a    appreciate an indicator whether you plan to reply. It has been a year since I

19    initially contacted you about UC admissions. I never got anything from you

20    directly. I have been very disappointed at how little you've done over a year. To

21    be clear, UC admissions is an issue that a lot of your constituents care about

22   deeply. Among the 4000+ signatures on the letter we sent to Governor Newsom,

23   which he completely ignored, at least a few hundred were from Palo Alto and




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 1    the cities in District 23. You can disagree with us. But we won't accept being

 2    ignored. That is not how democracy works.

 3


 4    In my observation, there are two types of politicians, one to serve their

 s constituents and the other to serve their own political careers. Your action (or

 6    inaction) on this issue will tell us which type you are.

 7


 s Regards,

 9    Nan

10


11    PS. Circling back to your newsletter titled "17 for 17: the Governor signed every

12    bill I sent to him", here is a bit of history lesson. The makers of our Constitution

13    created three branches of government to ensure checks and balances. Each

14    branch was designed to be independent. Please keep that in mind.

15

16

17

1s    From: Assemblymember Berman

19    <Assemblymember.Berman@assembly.ca.gov>                  Tue, Nov 5, 2024 at 4:00 PM

20    To: Nan Zhong <nanzhong1@gmail.com>

21


22    Dear Mr. Zhong,

23




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 1    Thank you for reaching out to my office and sharing your concerns regarding UC

 2    admissions. I appreciate you working with my staff since your first meeting last

 3    December. Since that initial meeting, my staff has corresponded with you on

 4    numerous occasions throughout the past year. During this time, I also personally

 s sent letters to both the California State Auditor and the University of California

 6    (UC) to inquire on the status of the 2020 audit recommendations and emphasize

 1    the importance of following through on fully implementing the recommendations

 a with fidelity to ensure that UC maintains a fair, consistent, and unbiased

 9    admissions process. My staff also followed up with you and shared the

10    responses from both the California State Auditor and UC President Drake.

11


12   Additionally, my staff shared that the State Auditor's office expects UC will

13    submit further responses and any relevant documentation later this year noting

14   their further progress in implementing the two recommendations and that the

1s    State Auditor's office will then evaluate those responses and issue an updated

16   determination as to the implementation status, which will be posted on their

11   website. The State Auditor's office also said that they will keep my office

1a    updated on any developments that may arise and my staff is happy to share

19   those updates with you.

20

21    I have instructed my staff to continue to monitor this and UC admissions broadly.

22    Given all of the above, I was disappointed to read your email and accusation

23   about how little I have done over this time. My office does not pursue inquires on




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 1    individual admissions cases. If we did, UC would invoke privacy laws that would

 2    prevent them from commenting on an individual case.

 3


4     I understand your frustration with UC admissions and support advocating for

 s more transparency, which is why I took action and sent those letters. In your first

 6    meeting with my staff, as well as your correspondence with the UC Board of

 1    Regents that you shared with my office, you emphasized that you are

 a advocating for the need for more transparency in UC admissions. I took you at

 9    your word, and my office has been assisting you in that effort for the last year.

10    However, if you are now only interested in your son's individual case, I am

11    unable to assist you on that matter.

12


13    Regards,

14    Marc Berman

1s    Assemblymember, 23rd District

16


17

18


19    From: Nan Zhong <nanzhong1@gmail.com> Tue, Nov 5, 2024 at 6:17 PM

20    To: Assemblymember Berman <Assemblymember.Berman@assembly.ca.gov>

21    Cc: College Admission Transparency

22    <college-admission-transparency@googlegroups.com>, "Green, Ellen"

23    <ellen.green@asm.ca.gov>




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 1


 2    Dear Mr Berman,

 3


 4    I am glad to finally hear from you directly. Like I said, without specificity, it is

 s easy for UC to dodge accountability. Transparency and specificity aren't

 6    mutually exclusive. In fact, they go hand in hand.

 7


 a You don't have to worry about how UC is going to respond to your inquiries.

 9    Whatever response they come up with, we will deal with it. But if you choose not

10    to send the inquiry, the responsibility is on you. I am not just speaking for myself.

11    I am speaking on behalf of hundreds of your constituents.

12

13    Best,

14    Nan

15

16

17


1a   As of the filing of the lawsuit, there has been no reply from Mr. Berman after the

19    email on Nov 5, 2024.




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 1                                        EXHIBIT 77

 2    LETTER TO GOVERNOR NEWSOM (AN EX OFFICIO REGENT OF THE UC) IN NOVEMBER 2023.


 3                                       HE NEVER REPLIED.


 4    Dear Governor Newsom,

 5

 6    On behalf of thousands of Californians, I am writing to you to address a matter of great

 1 importance - the need for more transparency in college admission. To begin, let me

 a share my son Stanley's college application story. It is so bizarre that it was reported by
 9    ABC, CBS, CNBC, USA Today, and other media channels. It was also presented at a

10 congressional hearing on September 28.

11

12    In addition to an excellent academic record and strong leadership both in and out of his

13    school, as a high schooler, Stanley achieved multiple recognitions that made him stand

14 out even among professional software developers around the world. For example,

15 •         He advanced to the Google Code Jam Coding Contest semi-final.

16    •      His e-signing startup is featured in an Amazon Web Services case study, an

11    honor received by only a handful startups in the world.

1a •         He won 2nd place in MIT Battlecode's high school division.

19 In 2019, not knowing he was only 13 years old, Google invited him to interview for a

20    full-time job. Shortly after turning 18, in September 2023, he was hired by Google as an

21    L4 software engineer, a position that typically requires either a Ph.D degree in computer

22    science or multiple years of professional experience plus a Bachelor/Master's degree.

23

24    In contrast, despite citing the awards above (and a lot more, including the Gold Level

25    President's Volunteer Service Award), his college application was rejected by all five UC




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 1    schools he applied to, namely UC Davis, UC Santa Barbara, UC San Diego, UCLA and

 2    UC Berkeley. As a taxpayer, I was rattled by the fact that he had no UC schools to

 3    choose from. After Stanley's story went public, I received numerous emails,

 4    complaining about similarly unfathomable application results with the UC schools. So

 5    Stanley's case is not alone.

 6


 1 The Varsity Blues scandal already eroded public trust in college admissions. The 2020

 a audit report by the California State Auditor further underscored deficiencies in UC's
 9    admissions practices. Its summary says,

10

11          "The university has also failed to ensure that campuses fairly and consistently

12          treat the thousands of prospective students who apply each year. Neither UC

13          Berkeley nor UCLA have developed methodologies for how they determine which

14          applicants to admit. Nevertheless, both of those campuses admitted thousands

15          of applicants whose records demonstrated that they were less qualified than

16          other applicants who were denied admission. Applicants' chances of admission

11          were also unfairly affected by UC Berkeley's, UCLA's, and UC San Diego's

1s          failures to properly train and monitor the staff who review and rate applications.

19          We found that staff were sometimes overly strict or overly lenient in their review

20          of applications, thereby making the applicants' chances of admission unduly

21          dependent on the individual staff who rated them rather than on the students'

22          qualifications."

23


24    UCLA's late distinguished sociologist, Prof Robert D. Mare also documented anti-Asian

25    bias in UCLA's admissions process in his report titled "Holistic Review in Freshman




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 1    Admissions at the University of California-Los Angeles 2009-2011 Update." Its

 2    summary says,

 3

 4          "In both Final and Supplemental Review, African American applicants receive

 5          somewhat more favorable and 'North Asian' (Chinese, Japanese, Korean,

 6          Indian/Pakistani American) applicants receive somewhat less favorable holistic

 1          read scores than applicants in other ethnic identity groups who are otherwise

 a          similar in measured academic qualifications, personal characteristics, and

 9          measured challenges and hardships."

10

11    In line with the reports by the California State Auditor and Prof Mare, as students and

12    parents, we are seeing nonsensical admission results again and again.

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14 On November 16, representing thousands of Californians, I delivered a public statement

15 during the UC Board of Regents meeting, urging them to increase transparency in UC

16 admissions. Unfortunately, UC's admission office's response was a boilerplate without

11    much meaningful information.

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19 As a basic democratic principle, we should have checks and balances for every power,

20    including the power of the admission offices. Holistic reviews should not be construed

21    as black box reviews. I think college admission transparency is not a blue/red issue. It's

22    a common sense issue about the next generation's education and their mental health.

23    It's a common sense issue about America's competitiveness in the global economy. It's

24    also a common sense issue about UC's reputation.

25




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 1 I respectfully seek your support and advocacy for greater transparency in college

 2    admission. Your leadership as the Governor and an ex officio Regent can not only

 3    significantly impact the lives of countless students and their families but also strengthen

 4    our communities and our state as a whole.

 5


 6    With your leadership, we can transcend political pettiness. Let's create a partnership

 1    across students, parents, colleges, governments, education and legal experts. Let's

 a work together to increase transparency in college admissions in a judicious, systematic,
 9    cost-effective, and privacy-preserving manner.

10

11    Let's do something for our kids.

12

13    Sincerely,

14    Nan Zhong

15




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 1                                        EXHIBIT 78

 2    LETTER TO LT GOVERNOR KOUNALAKIS (AN EX OFFICIO REGENT OF THE UC) IN NOVEMBER


 3                                    2023. SHE NEVER REPLIED.

 4    Dear Lt. Governor Kounalakis,

 5


 6    On behalf of thousands of Californians, I am writing to you to address a matter of great

 1    importance - the need for more transparency in college admission. To begin, let me

 s share my son Stanley's college application story. It is so bizarre that it was reported by

 9    ABC, CBS, CNBC, USA Today, and other media channels. It was also presented at a

10    congressional hearing on September 28.

11

12    In addition to an excellent academic record and strong leadership both in and out of his

13    school, as a high schooler, Stanley achieved multiple recognitions that made him stand

14    out even among professional software developers around the world. For example,

15    •      He advanced to the Google Code Jam Coding Contest semi-final.

16    •      His e-signing startup is featured in an Amazon Web Services case study, an

11    honor received by only a handful startups in the world.

1a    •      He won 2nd place in MIT Battlecode's high school division.

19 In 2019, not knowing he was only 13 years old, Google invited him to interview for a

20    full-time job. Shortly after turning 18, in September 2023, he was hired by Google as an

21    L4 software engineer, a position that typically requires either a Ph.D degree in computer

22    science or multiple years of professional experience plus a bachelor/master's degree.

23

24    In contrast, despite citing the awards above (and a lot more, including the Gold Level

25    President's Volunteer Service Award), his college application was rejected by all five UC




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 1    schools he applied to, namely UC Davis, UC Santa Barbara, UC San Diego, UCLA and

 2    UC Berkeley. As a taxpayer, I was rattled by the fact that he had no UC schools to

 3    choose from. After Stanley's story went public, I received numerous emails,

 4    complaining about similarly unfathomable application results with the UC schools. So

 5    Stanley's case is not alone.

 6


 1    The Varsity Blues scandal already eroded public trust in college admissions. The 2020

 a audit report by the California State Auditor further underscored deficiencies in UC's

 9    admissions practices. Its summary says,

10

11          'The university has also failed to ensure that campuses fairly and consistently
                                                       '
12          treat the thousands of prospective students who apply each year. Neither UC

13          Berkeley nor UCLA have developed methodologies for how they determine which

14          applicants to admit. Nevertheless, both of those campuses admitted thousands

15          of applicants whose records demonstrated that they were less qualified than

16          other applicants who were denied admission. Applicants' chances of admission

11          were also unfairly affected by UC Berkeley's, UCLA's, and UC San Diego's

1s          failures to properly train and monitor the staff who review and rate applications.

19          We found that staff were sometimes overly strict or overly lenient in their review

20          of applications, thereby making the applicants' chances of admission unduly

21          dependent on the individual staff who rated them rather than on the students'

22          qualifications."

23


24    UCLA's late distinguished sociologist, Prof Robert D. Mare also documented anti-Asian

25    bias in UCLA's admissions process in his report titled "Holistic Review in Freshman




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 1    Admissions at the University of California-Los Angeles 2009-2011 Update." Its

 2    summary says,

 3


 4          "In both Final and Supplemental Review, African American applicants receive

 5          somewhat more favorable and 'North Asian' (Chinese, Japanese, Korean,

 6          Indian/Pakistani American) applicants receive somewhat less favorable holistic

 1          read scores than applicants in other ethnic identity groups who are otherwise

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 1                          CORPORATE DISCLOSURE STATEMENT

 2



 a Pursuant to Rule 7 .1 of the Federal Rules of Civil Procedure, Co-Plaintiff Students

4    Who Oppose Racial Discrimination ("SWORD") makes the following disclosures:


 s   1.     SWORD was incorporated under the laws of the state of California, with no

 6   parent corporation, subsidiaries, or corporate affiliates.

 1   2.     SWORD is a nonprofit organization that advocates for equal educational

 a opportunities. Its mission is to stop racial discrimination in college admissions.

 9   3.     SWORD has no shareholders or equity interests.

10   4.     SWORD does not issue stock, and no publicly held corporation owns 10% or

11   more of any interest in SWORD.


12   Respectfully submitted,
                         "'"'?




13   --~


14   Nan Zhong (Pro Se)

1s   211 Hope St #390755

16   Mountain View, CA 94039

11   nanzhong1@gmail.com


1a   Dated: February 7, 2025
